   !
     Case 2:14-md-02592-EEF-MBN
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

         ______________________________________
                                               )   MDL No. 2592
         IN RE: XARELTO (RIVAROXABAN)          )
         PRODUCTS LIABILITY LITIGATION         )   Judge Eldon E. Fallon
         ______________________________________)




                    Expert Report of Jan Rosing, Ph.D.




   By:                                                    Date: October 09, 2016
         Jan Rosing, Ph.D.




                                                                               USCA5 4162
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     Case 2:14-md-02592-EEF-MBN
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                                                                             USCA5 4163
     Case 2:14-md-02592-EEF-MBN
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   #!$%&'!('')!%*+',!-.!/'&0'1!234-054'!2%-'/0%4*6!%2.)7*-!.-$'/*8!940)09%4!*-3,:!/'5./-*8!
   0)-'/)%4!%),!';-'/)%4!9.//'*5.),')9'!%),!9.223)09%-0.)*!('-1'')!<%:'/!%),!.-$'/*8!
   5%5'/*!53(40*$',!0)!40-'/%-3/'8!/'734%-./:!,.932')-*8!%),!.-$'/!2%-'/0%4*!%),!,.932')-*!
   =>55'),0;!>?!/'4'&%)-!-.!@%/'4-.!=/0&%/.;%(%)?8!%!,0/'9-!A%9-./!@%!0)$0(0-./8!1$09$!0*!-$'!,/37!
   %-!0**3'!0)!-$0*!40-07%-0.)B!C./'!*5'90A09%44:8!#!$%&'!('')!/'D3'*-',!-.!/'),'/!%!/'5./-!,'-%040)7!
   -$'!5$%/2%9.+0)'-09*!%),!5$%/2%9.,:)%209*!.A!/0&%/.;%(%)!%),!9.22')-!35.)!-$'!025%9-!
   .A!/0&%/.;%(%)!.)!-$'!94.--0)7!*:*-'28!%*!1'44!%*!.)!94.--0)7!%**%:*!%),!-$'!%**.90%-',!
   (')'A0-*!=*-/.+'!5/.-'9-0.)?!%),!%,&'/*'!*0,'!'AA'9-*!=2%E./!(4'',0)7?B!F$'!.50)0.)*!
   ';5/'**',!10-$0)!-$0*!/'&0'18!1$09$!%/'!(%*',!.)!2:!',39%-0.)8!';5'/0')9'!%),!-/%0)0)7!0)!
   -$'!A0'4,*!.A!(0.9$'20*-/:!%),!.A!-$/.2(.*0*!%),!$%'2.*-%*0*8!%/'!10-$!%!/'%*.)%(4'!,'7/''!
   .A!*90')-0A09!9'/-%0)-:B!#!/'*'/&'!-$'!/07$-!-.!*3554'2')-!2:!.50)0.)*!%),!-$0*!/'5./-8!*3(E'9-!
   -.!.)7.0)7!2',09%4!%),!*90')-0A09!*-3,:!%),!-$'!9.)-0)30)7!/'&0'1!.A!%,,0-0.)%4!0)A./2%-0.)!
   5/.,39',!A/.2!-$0*!40-07%-0.)B!!
   !
   >"?@A(>"ABC#'DE.("E.(FD"%@G@A"&@'E?(
   #!1%*!(./)!.)                  !0)!K72.),!%%)!,')!L.'A8!F$'!M'-$'/4%),*B!#!*-3,0',!9$'20*-/:!
   %-!-$'!N)0&'/*0-:!.A!>2*-'/,%28!%),!7/%,3%-',!0)!GHOP8!10-$!%!*5'90%4-:!0)!(0.9$'20*-/:B!#)!
   GHOI!#!5/'*')-',!%!Q$R!-$'*0*!%-!-$'!*%2'!3)0&'/*0-:8!')-0-4',!ST-3,0'*!.)!-$'/2.,:)%209*!
   %),!2'9$%)0*2!.A!.;0,%-0&'!5$.*5$./:4%-0.)U8!*35'/&0*',!(:!Q/.A'**./!KBVB!T4%-'/B!
   T3(*'D3')-4:8!#!1./+',!%*!%!5.*-W,.9-./%4!/'*'%/9$!A'44.1!0)!-$'!4%(./%-./:!.A!-$'!M.('4!
   Q/0X'!10))'/!Q/.A'**./!QBRB!<.:'/!%-!-$'!N)0&'/*0-:!.A!V%40A./)0%8!Y.*!>)7'4'*B!#)!GHOJ8!#!1%*!
   %55.0)-',!/'*'%/9$!%**.90%-'!%-!-$'!C%%*-/09$-!N)0&'/*0-:!1$'/'!#!('9%2'!0)&.4&',!0)!
   /'*'%/9$!A.93*',!.)!(0.9$'209%4!%*5'9-*!.A!(4..,!9.%734%-0.)B!#)!GHHZ8!#!1%*!%55.0)-',!%*!
   9$%0/2%)!.A!-$'!R'5%/-2')-!.A!<0.9$'20*-/:!.A!-$'!3)0&'/*0-:!%),!0)!GHHO!('9%2'!Q/.A'**./!
   .A!K)X:2.4.7:!.A!F$/.2(.*0*!%),!L%'2.*-%*0*B!#)!"PP"8!#!1%*!%55.0)-',!%*!Q/.A'**./!.A!
   <0.9$'20*-/:!%-!-$'!C',09%4![%934-:!.A!C%%*-/09$-!N)0&'/*0-:B!#!/'-0/',!0)!"PGG!%),!-$')!
   ('9%2'!K2'/0-3*!Q/.A'**./!.A!<0.9$'20*-/:!%-!-$'!*%2'!3)0&'/*0-:B!
   !
   #!$%&'!('')!%)!',0-./!.A!-$'!\.3/)%4!Q%-$.5$:*0.4.7:!.A!L%'2.*-%*0*!%),!F$/.2(.*0*8!
   2'2('/!.A!-$'!',0-./0%4!(.%/,*!.A!V.253-'/*!0)!<0.4.7:!%),!C',090)'8!%),!.A!F$'!\.3/)%4!.A!
   F$/.2(.*0*!%),!L%'2.*-%*0*B!#)!"PPP8!#!1%*!'4'9-',!-.!-$'!V.3)904!.A!-$'!#)-'/)%-0.)%4!
   T.90'-:!.)!F$/.2(.*0*!%),!L%'2.*-%*0*!%),!('9%2'!%!2'2('/!.A!-$'!R%04:!<.%/,!.A!-$'!
   V%/,0.&%*934%/!]'*'%/9$!#)*-0-3-'!C%%*-/09$-!=V>]#C?B!!
   !
   #)!-$'!('70))0)7!.A!2:!/'*'%/9$!9%/''/!0)!-$/.2(.*0*!%),!$%'2.*-%*0*8!1$09$!*-%/-',!0)!
   GHOJ8!#!*-3,0',!-$'!(%*09!(0.9$'209%4!2'9$%)0*2*!.A!9.%734%-0.)!A%9-./!%9-0&%-0.)B!Y%-'/!#!
   ('9%2'!0)&.4&',!0)!/'*'%/9$!.)!-$'!2'9$%)0*2!.A!/'734%-0.)!.A!-$/.2(0)!A./2%-0.)!(:!
   %)-09.%734%)-!5/.-'0)*!%),!,'&'4.5',!5%/-0934%/!0)-'/'*-!0)!-$'!'AA'9-*!.A!A'2%4'!*';!*-'/.0,!
   $./2.)'*8!!"#"8$./%4!9.)-/%9'5-0&'*!.)!(4..,!9.%734%-0.)B!^3/!/'*'%/9$!.)!-$'!'AA'9-!.A!
   $./2.)'*!.)!9.%734%-0.)!4',!-.!-$'!,'&'4.52')-!.A!%**%:*!1$09$!7%&'!0)*07$-!0)-.!-$'!
   2.4'934%/!(%*0*!.A!(.-$!-$/.2(.-09!%),!(4'',0)7!,0*./,'/*!%),!1$09$!')%(4',!3*!-.!*-3,:!
   -$'!2.,'!.A!%9-0.)!.A!,/37*!.)!(4..,!9.%734%-0.)B!#!%2!93//')-4:!*-044!%9-0&'!0)!/'*'%/9$!
   5/.E'9-*!-$%-!9.)9'/)_!G?!-$'!,'&'4.52')-!.A!%**%:*!-.!2'%*3/'!A3)9-0.)%4!%9-0&0-0'*!.A!
   9.%734%-0.)!5/.-'0)*!0)!54%*2%6!%),!"?!*-3,:0)7!2'9$%)0*2*!(:!1$09$!%)-09.%734%)-!
   5'5-0,'*!0)$0(0-!(4..,!9.%734%-0.)!%),!%AA'9-!-$'!0),0&0,3%4!/'%9-0.)*!.A!-$'!(4..,!
   9.%734%-0.)!9%*9%,'B!


                                                                                               USCA5 4164
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   #!$%&'!53(40*$',!2./'!-$%)!"PP!5%5'/*!0)!5''/W/'&0'1',!E.3/)%4*!%),!IP!/'&0'1!5%5'/*B!C:!
   D3%40A09%-0.)*!%),!53(409%-0.)!$0*-./:!%/'!A3/-$'/!*'-!A./-$!0)!2:!93//093432!&0-%'!1$09$!0*!
   %))';',!$'/'-.!%*!>55'),0;!<B!>!40*-!.A!5/0./!-'*-02.):!0*!%--%9$',!%*!>55'),0;!V!%),!2:!A''!
   *9$',34'!0*!%--%9$',!%*!>55'),0;!RB




                                                                                          USCA5 4165
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   ?DHH"#I("E.(A'EA%D?@'E?(
   GB   ]0&%/.;%(%)!=-/%,'!)%2'!@%/'4-.?!0*!%!,0/'9-!A%9-./!@%!=[@%?!0)$0(0-./!-$%-!0*!3*',!A./!-$'!
        5/'&')-0.)!.A!*-/.+'!0)!5%-0')-*!10-$!%-/0%4!A0(/044%-0.)!=>[?8!A./!-$'!-/'%-2')-!.A!,''5!
        &').3*!-$/.2(.*0*!=RaF?8!%),!-$'!5/.5$:4%;0*!.A!RaF!0)!5%-0')-*!3),'/7.0)7!+)''!./!
        $05!/'54%9'2')-!*3/7'/:B!

   "B   ]0&%/.;%(%)!0*!%!5.-')-![@%!0)$0(0-./!-$%-!(0),*!10-$!%!$07$!%AA0)0-:!-.![@%8!%),!%A-'/!
        (0),0)7!0)$0(0-*![@%W9%-%4:X',!-$/.2(0)!A./2%-0.)B!F$'!/',39',!-$/.2(0)!7')'/%-0.)!
        *3(*'D3')-4:!5/'&')-*!3)1%)-',!94.-!A./2%-0.)B!

   `B   Y0+'!A./!%44!.-$'/!%)-09.%734%)-!,/37*8!-$'!2.*-!*'/0.3*!*0,'!'AA'9-!.A!-/'%-2')-!10-$!
        /0&%/.;%(%)!0*!(4'',0)7B!<4'',0)7!,3/0)7!%)-09.%734%)-!-/'%-2')-!5%/-0934%/4:!.993/*!0)!
        5%-0')-*!/'9'0&0)7!%)!.&'/,.*'!.A!,/37B!

   IB   ]0&%/.;%(%)8!1$09$!0*!%(*./(',!0)!-$'!7%*-/.W0)-'*-0)%4!-/%9-8!$%*!%!$07$!(0.%&%04%(040-:!
        =bPWGPPc?8!2'%)0)7!-$%-!%!2%E./!A/%9-0.)!.A!/0&%/.;%(%)!5/'*')-!0)!-$'!@%/'4-.!-%(4'-*!
        -%+')!(:!5%-0')-*!')-'/*!-$'!(4..,-!

   ZB   N5!-.!`Zc!.A!/0&%/.;%(%)!-$%-!')-'/*!-$'!90/934%-0.)!0*!94'%/',!(:!-$'!+0,)':*B!>*!%!
        /'*34-!5%-0')-*!10-$!%)!025%0/',!/')%4!A3)9-0.)!%/'!';5.*',!-.!$07$!/0&%/.;%(%)!4'&'4*!
        %),!%/'!-/'%-',!10-$!4.1'/!,.*'*!.A!/0&%/.;%(%)B!

   JB   F$'!$%4AW40A'!.A!/0&%/.;%(%)8!%"!"8!-$'!-02'!/'D30/',!-.!'4020)%-'!ZPc!.A!-$'!/0&%/.;%(%)!
        -$%-!')-'/',!-$'!(4..,!*-/'%2!%A-'/!,.*0)78!0*!OWGG!$.3/*!0)!%&'/%7'!5%-0')-*!=JP!:/*B?!
        %),!GGWG`!$.3/*!0)!'4,'/4:!5'.54'B!

   OB   Q$%/2%9.+0)'-09!*-3,0'*!0),09%-'!-$%-!/0&%/.;%(%)!-/'%-2')-!/'*34-*!0)!%!/%-$'/!10,'!
        0)-'/W0),0&0,3%4!54%*2%!9.)9')-/%-0.)!/%)7'!%),!0)!%!2./'!-$%)!ZWA.4,!%9/.**W,%:!
        &%/0%-0.)!0)!54%*2%!/0&%/.;%(%)!4'&'4*!0)!%)!0),0&0,3%4!5%-0')-!-/'%-',!10-$!"P!27!.,B!

   bB   F$'!10,'!&%/0%-0.)!.A!/0&%/.;%(%)!4'&'4*!0*!*$.1)!0)!-$'!]^VdKF!*-3,:!0)!1$09$!Zc!.A!
        -$'!5%-0')-*!-/'%-',!10-$!"P!27!/0&%/.;%(%)!^R!$%,!%!/0&%/.;%(%)!4'&'4!%-!-/.37$!('4.1!
        G"!µ7eY!%),!Zc!$%,!%!/0&%/.;%(%)!-/.37$!4'&'4!$07$'/!-$%)!G`O!µ7eYB!

   HB   ]0&%/.;%(%)!54%*2%!4'&'4*!$07$'/!-$%)!JZ!µ7eY!=GZP!)C?!';9'',!-$'!54%*2%![@!
        9.)9')-/%-0.)B!V.)*0,'/0)7!-$'!5.-')9:!.A![@%!0)$0(0-0.)!(:!/0&%/.;%(%)8!*39$!
        /0&%/.;%(%)!4'&'4*!9%)!/%50,4:!0)$0(0-!'&'/:![@%!2.4'934'!-$%-!9%)!('!7')'/%-',!0)!
        54%*2%8!%),!%*!%!9.)*'D3')9'!9%)!A344:!0)$0(0-!94.-!A./2%-0.)B!

   GPB Q4%*2%!/0&%/.;%(%)!4'&'4*!9%)!('!,'-'/20)',!10-$!$07$!5'/A./2%)9'!40D30,!
       9$/.2%-.7/%5$:!-%),'2!2%**!*5'9-/.2'-/:!=LQYVWCTeCT?8!%!5$:*09.W9$'209%4!
       -'9$)0D3'!-$%-!0*!).-!%&%04%(4'!0)!'&'/:!$.*50-%4!4%(./%-./:B!

   GGB >)-0W[@%!%**%:*!40+'!<#^QLKM!R0@%W#f8!<#^QLKM!L'5%/0)!Y]Ff!%),!TF>fWY0D30,!>)-0W
       @%!9%)!('!3*',!-.!2'%*3/'!54%*2%!/0&%/.;%(%)!9.)9')-/%-0.)*!%),!/'*34-!0)!4'&'4*!-$%-!
       9.//'4%-'!&'/:!1'44!10-$!LQYVWCTWCT!D3%)-0A09%-0.)B!




                                                                                              USCA5 4166
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   G"B C'%*3/'2')-!.A!-$'!5/.-$/.2(0)!-02'!=QF?!.A!54%*2%!A/.2!5%-0')-*!-/'%-',!10-$!
       /0&%/.;%(%)!*$.1*!%!40)'%/!/'4%-0.)*$05!('-1'')!-$'!QF!%),!-$'!54%*2%!/0&%/.;%(%)!
       4'&'4B!

   G`B <4'',0)7!/0*+*!.A!5%-0')-*!-/'%-',!10-$!/0&%/.;%(%)!0)9/'%*'!%-!0)9/'%*0)7!QF!&%43'*!
       1$04'!-$'!*-/.+'!/0*+!0*!9.)*-%)-!%-!0)9/'%*0)7!QF!&%43'*B!

   GIB ]0&%/.;%(%)W-/'%-',!5%-0')-*!10-$!QF!&%43'*!g!"P!*'9!,'-'/20)',!10-$!-$'!QF!%**%:!
       3*',!0)!-$'!]^VdKF!%-!hGI!$.3/*!%A-'/!-$'!4%*-!/0&%/.;%(%)!,.*'!1044!('!';5.*',!-.!%!
       $07$'/!/0*+!.A!2%E./!(4'',0)7!-$%)!5%-0')-*!10-$!QF!&%43'*!i!"P!*'9!1$04'!-$'0/!*-/.+'!
       /0*+!0*!).-!A3/-$'/!,'9/'%*',B!

   GZB F$'!2%)3A%9-3/'/*!.A!/0&%/.;%(%)!$%&'!).-!*3AA090')-4:!0,')-0A0',!-$'!4.1'*-!'AA'9-0&'!
       ,.*'!.A!/0&%/.;%(%)!0)!%44!%55/.&',!0),09%-0.)*B!!

   GJB V.)*0,'/0)7!-$'!4%/7'!&%/0%-0.)*!.A!5'%+!%),!-/.37$!/0&%/.;%(%)!4'&'4*!('-1'')!5%-0')-*!
       %),!-$'!4%/7'!%9/.**W,%:!&%/0%-0.)!0)!0),0&0,3%4!5%-0')-*8!,.*'WA0),0)7!('A./'!-/'%-2')-!
       %),!-109'!,%04:!,.*0)7!=<#R?!10-$!%!/',39-0.)!.A!-$'!-.-%4!,%04:!,.*'!0)*-'%,!.A!%!.)9'!
       ,%04:!,.*0)7!/'702')!=^R?8!1044!/',39'!2%E./!(4'',0)7!1$04'!2%0)-%0)0)7!0*9$'209!
       *-/.+'!5/.-'9-0.)B




                                                                                           USCA5 4167
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   @E&#'.DA&@'E(&'(E'J$%(.@#$A&('#"%("E&@A'"CD%"E&?(K.'"A0L(
   >-/0%4!A0(/044%-0.)!=>[?!0*!1./4,10,'!-$'!2.*-!9.22.)!$'%/-!/$:-$2!,0*./,'/B!#)!>[8!-$'!4%9+!
   .A!%)!./7%)0X',!%-/0%4!9.)-/%9-0.)!9%)!/'*34-!0)!-$'!*-%7)%-0.)!.A!(4..,!A4.1!0)!-$'!4'A-!%-/032!
   ./!-$'!4'A-!%-/0%4!%55'),%7'!1$09$!2%:!*3(*'D3')-4:!4'%,!-.!-$'!94.--0)7!.A!(4..,!%),!-$'!
   A./2%-0.)!.A!%!(4..,!94.-!=-$/.2(3*?B!!
   !
   <4..,!94.-*!A./2',!0)!-$'!$'%/-!,3/0)7!>[!2%:!('9.2'!2.(04'!%),!('!9%//0',!%1%:!0)-.!-$'!
   (4..,!90/934%-0.)B!j$')!-$'!(4..,!94.-!-/%&'4*!-.!-$'!(/%0)8!%),!(4.9+*!-$'!(4..,!A4.1!-.!5%/-*!
   .A!-$'!(/%0)8!%!*.W9%44',!0*9$%'209!*-/.+'!.993/*!1$09$8!,'5'),0)7!.)!-$'!';-')-!.A!(/%0)!
   -0**3'!,%2%7'8!2%:!('!2./'!./!4'**!*'/0.3*!%),!'&')!4'%,!-.!,'%-$B!
   !
   #)!5%-0')-*!10-$!>[8!-$'!/0*+!.A!*-/.+'!0*!0)9/'%*',!&$'($)*+,(-.!,'5'),0)7!.)!.-$'/!5%-0')-!
   9$%/%9-'/0*-09*!40+'!%7'8!$:5'/-')*0.)!%),!,0%('-'*B!F.!,'9/'%*'!-$'!/0*+!.A!*-/.+'8!>[!
   5%-0')-*!%/'!-/'%-',!10-$!*.W9%44',!%)-09.%734%)-*8!1$09$!%/'!,/37*!-$%-!0)$0(0-!-$'!94.--0)7!.A!
   (4..,B!L0*-./09%44:!*.W9%44',!&0-%20)!d!%)-%7.)0*-*8!!"#"8!1%/A%/0)!%/'!/'9.22'),',!-.!/',39'!
   -$'!/0*+!.A!*-/.+'!0)!5%-0')-*!10-$!>[B!^)'!.A!-$'!,0*%,&%)-%7'*!.A!&0-%20)!d!%)-%7.)0*-*!0*!
   -$%-!-$':!$%&'!234-054'!0)-'/%9-0.)*!10-$!A..,!%),!.-$'/!,/37*!%),!-$%-!5%-0')-*!-/'%-',!10-$!
   &0-%20)!d!%)-%7.)0*-*!/'D30/'!A/'D3')-!4%(./%-./:!2.)0-./0)7B!
   !
   N)1%)-',!94.-!A./2%-0.)!2%:!%4*.!.993/!0)!&'0)*B!j$')!94.-*!%/'!A./2',!0)!,''5!&'0)*!.A!-$'!
   (.,:!=.A-')!0)!4'7*?!.)'!*5'%+*!.A!,''5!&'0)!-$/.2(.*0*!./!,''5!&').3*!-$/.2(.*0*!=RaF?8!%!
   9.),0-0.)!-$%-!2%:!('9.2'!5%/-0934%/4:!*'/0.3*!1$')!-$'!(4..,!94.-!7'-*!4..*'!='2(.40*'*?!
   %),!-/%&'4*!-.!-$'!43)7*!1$'/'!0-!2%:!9%3*'!5342.)%/:!'2(.40*2!=QK?B!F/%,0-0.)%44:8!&').3*!
   -$/.2(.*0*!=aF?!0*!-/'%-',!10-$!&0-%20)!d!%)-%7.)0*-*!./!10-$!$'5%/0)!./!$'5%/0)W40+'!
   2.4'934'*B!
   !
   ]'9')-4:8!%!)'1!94%**!.A!%)-09.%734%)-!,/37*!$%*!')-'/',!-$'!2%/+'-B!F$'*'!*.W9%44',!)'1!
   ./%4!%)-09.%734%)-*!=M^>V*?8!).1%,%:*!%4*.!9%44',!,0/'9-!./%4!%)-09.%734%)-*!=R^>V*?8!
   ,0/'9-4:!%),!*5'90A09%44:!-%/7'-!%9-0&%-',!94.--0)7!A%9-./*8!-$'/'(:!0)$0(0-0)7!94.-!A./2%-0.)B!
   V3//')-4:8!-$'/'!%/'!*'&'/%4!R^>V*!1$09$!9%)!('!,0*-0)730*$',!.)!-$'!(%*0*!.A!-$'!%9-0&%-',!
   94.--0)7!A%9-./!-$':!0)$0(0-B!]0&%/.;%(%)!=-/%,'!)%2'!@%/'4-.?!%),!%50;%(%)!=-/%,'!)%2'!
   K40D30*?!-%/7'-!%9-0&%-',!A%9-./!@!=[@%?8!%),!,%(07%-/%)!=-/%,'!)%2'!Q/%,%;%?!0*!%!,0/'9-!
   -$/.2(0)!0)$0(0-./!=RF#?B!]0&%/.;%(%)8!%50;%(%)!%),!,%(07%-/%)!%/'!%55/.&',!(:!-$'![R>!
   A./!3*'!%*!%)-09.%734%)-*!0)!-$'!-/'%-2')-!.A!>[!5%-0')-*!%),!.A!5%-0')-*!3),'/7.0)7!
   $05e+)''!/'54%9'2')-!*3/7'/:!%),!-$.*'!1$.!$%&'!*3AA'/',!%)!%93-'!RaFeQK!./!/'D30/'!
   5/'&')-0.)!.A!/'93//')-!RaFeQKB!
   $
   [./!%44!%)-09.%734%)-!,/37*!-$'!2.*-!*'/0.3*!*0,'!'AA'9-!0*!(4'',0)7B!>)!.&'/,.*'!.A!,/37!
   5/'&')-*!-$'!94.--0)7!.A!(4..,!%),!*3(*-%)-0%44:!0)9/'%*'*!-$'!(4'',0)7!/0*+B![./!%44!
   %)-09.%734%)-!,/37*!0-!%4*.!%5540'*!-$%-!-/'%-2')-!10-$!-..!4.1!.A!%!,.*'!/'*34-*!0)!
   *3(.5-02%4!*-/.+'!5/.-'9-0.)B!L')9'8!40+'!A./!%42.*-!%44!,/37*8!-$'/'!0*!%4*.!%!-/'%-2')-!
   /'702')!A./!%)-09.%734%)-*!1$09$!:0'4,*!,/37!4'&'4*!0)!-$'!(4..,8!-$'!*.W9%44',!-$'/%5'3-09!
   /%)7'8!-$%-!$%*!%)!.5-02%4!/0*+W(')'A0-!/%-0.8!%"!"8!5/.&0,'*!.5-02%4!*-/.+'!5/.-'9-0.)!%),!%!
   4.1!(4'',0)7!/0*+B!
   !
   <'9%3*'!&0-%20)!d!%)-%7.)0*-*!$%&'!234-054'!0)-'/%9-0.)*!10-$!A..,!%),!.-$'/!,/37*8!-$'0/!
   %9-0&0-0'*!$%&'!-.!('!A/'D3')-4:!2.)0-./',!(:!(4..,!-'*-0)7!-.!')*3/'!-$%-!%,'D3%-'!%),!*%A'!

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   ,.*'*!%/'!-%+')B!#)!9.)-/%*-8!-$'!9.25%)0'*!-$%-!2%/+'-!R^>V*!*-%-'!-$%-!-$'*'!
   %)-09.%734%)-*!$%&'!%!10,'!-$'/%5'3-09!/%)7'8!1$09$!')%(4'*!A0;',!,.*0)7!10-$.3-!-$'!)'',!
   A./!4%(./%-./:!2.)0-./0)7!./!,.*'!%,E3*-2')-*BGWJ!L.1'&'/8!*0)9'!-$'!0)-/.,39-0.)!.A!-$'!
   R^>V*8!0-!('9%2'!94'%/!-$%-!2%E./!(4'',0)7!0*!%!*'/0.3*!*0,'!'AA'9-!.A!R^>V!-/'%-2')-!%),!
   $')9'8!%!*3(*-%)-0%4!)32('/!.A!5%-0')-*!-/'%-',!10-$!R^>V*!1044!(')'A0-!A/.2!2.)0-./0)7!%),!
   ,.*'!%,E3*-2')-*BOWGG




                                                                                        USCA5 4169
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   #@J"#'!">"E(K!"#$%&'L(H'%$AD%"#()#')$#&@$?$
   /(01(23.$/45657'!6%8'%78G"9$]0&%/.;%(%)!=ZW9$4./.WMWkk=ZT?W"W.;.W`WkIW=`W.;.2./5$.40)WIW
   :4?5$'):4lWG8`W.;%X.40,0)WZW:4l2'-$:4l-$0.5$')'W"W9%/(.;%20,'?!0*!%!4.1W2.4'934%/!1'07$-!
   0)$0(0-./!=C/m!I`J!7e2.4?!.A!-$'!%9-0&%-',!A./2!.A!(4..,!9.%734%-0.)!A%9-./!@!=A%9-./!@%?B!<:!
   0)$0(0-0)7!A%9-./!@%!=[@%?8!/0&%/.;%(%)!0)$0(0-*!-$'![@%W9%-%4:X',!9.)&'/*0.)!.A!5/.-$/.2(0)!
   -.!-$/.2(0)!%),!(:!(4.9+0)7!-$/.2(0)!7')'/%-0.)8!/0&%/.;%(%)!0),0/'9-4:!5/'&')-*!-$'!
   A./2%-0.)!.A!A0(/0)!%),!3)1%)-',!(4..,!94.-*B!]0&%/.;%(%)!0*!5/%9-09%44:!0)*.43(4'!0)!1%-'/B!
   #)!$32%)*!H"cnHZc!.A!-$'!90/934%-0)7!/0&%/.;%(%)!0*!(.3),!-.!54%*2%!5/.-'0)*!.A!1$09$!
   %4(320)!0*!-$'!2%0)!(0),0)7!9.25.)')-B!
   (
   (
   )M"#H"A'B@E$&@A?('G(#@J"#'!">"E(
   F$'!,.*0)7!.A!/0&%/.;%(%)!&%/0'*!('-1'')!5%-0')-*BG`!>[!5%-0')-*!10-$!*-/.+'!/0*+!%/'!-/'%-',!
   10-$!"P!27!^R!=9/'%-0)0)'!94'%/%)9'!=V/V4?!o!ZP!2Ye20)?!./!GZ!27!^R!=V/V4!i!ZP!2Ye20)?B!
   RaF!%),!QK!5%-0')-*!%/'!-/'%-',!10-$!GZ!27!<#R!0)!-$'!A0/*-!"G!,%:*!%A-'/!-$'!.993//')9'!.A!
   -$/.2(.*0*!%),!"P!27!^R!%A-'/1%/,*B![./!-$'!5/.5$:4%;0*!.A!RaF!A.44.10)7!$05W!./!+)''!
   /'54%9'2')-!*3/7'/:8!5%-0')-*!%/'!-/'%-',!10-$!GP!27!^RB!
   !
   >)!';9'44')-!.&'/&0'1!.A!-$'!5$%/2%9.+0)'-09*!.A!/0&%/.;%(%)!0*!70&')!0)!%!/'&0'1!5%5'/!.A!
   C3'9+!'-!%4BGI!T-3,0'*!0)!$'%4-$:!0),0&0,3%4*!*$.1',!-$%-!/0&%/.;%(%)!0*!/%50,4:!%(*./(',!
   %),!-$%-!2%;0232!9.)9')-/%-0.)*!0)!54%*2%!%/'!/'%9$',!"WI!$.3/*!%A-'/!-%(4'-!0)-%+'B!^/%4!
   (0.%&%04%(040-:!A./!-$'!"PW27!,.*'!0*!$07$!=bPcnGPPc?!1$')!/0&%/.;%(%)!-%(4'-*!%/'!-%+')!
   -.7'-$'/!10-$!A..,B!F$'!'4020)%-0.)!.A!/0&%/.;%(%)!A/.2!54%*2%!0*!/%50,!10-$!%!$%4AW40A'!.A!OW
   GG!$.3/*!%A-'/!,.*0)7!0)!-:509%4!5%-0')-*!=JP!:'%/*8!bP!+7?8!%),!GGWG`!$.3/*!0)!'4,'/4:!
   5'.54'BGI!V4'%/%)9'!A/.2!54%*2%!.993//',!&0%!/')%4!%),!A'9%4e(040%/:!/.3-'*B!>55/.;02%-'4:!
   JPc!.A!-$'!%,20)0*-'/',!,.*'!0*!2'-%(.40X',!-.!0)%9-0&'!2'-%(.40-'*8!.A!1$09$!$%4A!0*!
   *3(*'D3')-4:!'4020)%-',!/')%44:!%),!-$'!.-$'/!$%4A!&0%!-$'!A'9%4!/.3-'B!F$'!/'2%0)0)7!.)'W
   -$0/,!.A!-$'!%,20)0*-'/',!,.*'!3),'/7.'*!,0/'9-!/')%4!';9/'-0.)!%*!3)9$%)7',!%9-0&'!
   *3(*-%)9'!0)!-$'!3/0)'BGZ!T0)9'!/0&%/.;%(%)!0*!2'-%(.40X',!(:!%!)32('/!.A!0),'5'),')-!
   2'-%(.409!5%-$1%:*!1$09$!0)&.4&'!,0AA'/')-!94%**'*!.A!')X:2'*8!/0&%/.;%(%)!*$.34,!('!4'**!
   5/.)'!-.!,/37W,/37!0)-'/%9-0.)*B!!
   !
   C3'9+!'-!%4BGI!*322%/0X',!5$%/2%9.+0)'-09!,%-%!=54%*2%!9.)9')-/%-0.)*?!.A!/0&%/.;%(%)!0)!
   ,0AA'/')-!5%-0')-!5.534%-0.)*B!j0-$!/'*5'9-!-.!>[!5%-0')-*!-$'!5$%/2%9.+0)'-09!,%-%!1'/'!
   .(-%0)',!A/.2!-$'!]^VdKF!>[!*-3,:GJ8GO!1$09$!*$.1*!-$%-!0)!5%-0')-*!10-$!%!V/V4!gZP!
   2Ye20)!-$'!2'%)!/0&%/.;%(%)!9.)9')-/%-0.)!%-!-/.37$!="PW"b!$.3/*!%A-'/!,.*0)7?!0*!II!
   µ7eY!=Z-$WHZ-$!5'/9')-04'!m!G"WG`O!µ7eY?8!1$04'!-$'!V!2%;8!-$%-!0*!-$'!5'%+!&%43'!.A!-$'!
   /0&%/.;%(%)!9.)9')-/%-0.)!0)!54%*2%!="WI!$.3/*!%A-'/!,.*0)7?8!1%*!"IH!µ7eY!=Z-$WHZ-$!
   5'/9')-04'!GbIW`I"!µ7eY?B!
   !
   N*0)7!-$'!2.4'934%/!1'07$-!.A!/0&%/.;%(%)!=I`J!7e2.4?8!-$0*!'D3%4*!IIeI`J!m!PBGPG!µC!m!
   GPG!)C!/0&%/.;%(%)!%-!-/.37$!%),!"IHeI`J!m!PBZOG!µC!m!ZOG!)C!/0&%/.;%(%)!%-!5'%+B!!
   V.)*0,'/0)7!-$'!Z-$WHZ-$!5'/9')-04'*!70&')!(:!C3'9+!'-!%4B8GI!Zc!.A!-$'!5%-0')-*!$%,!%!
   /0&%/.;%(%)!9.)9')-/%-0.)!$07$'/!-$%)!G`O!µ7eY!=`GI!)C?!%-!-/.37$!%),!$07$'/!-$%)!`I`!



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   µ7eY!=ObO!)C?!%-!5'%+B!!
   [/.2!-$'!Z-$WHZ-$!5'/9')-04'*!/'5./-',!(:!C3'9+!'-!%4B8GI!.)'!9%)!%4*.!9%4934%-'!-$%-!HZc!.A!
   5%-0')-*!$%,!%!/0&%/.;%(%)!9.)9')-/%-0.)!%-!5'%+!gGbI!µ7eY!=I""!)C?8!1$09$!0*!`!-02'*!
   %(.&'!-$'!2%;02%4![@%!9.)9')-/%-0.)!=GIP!)C?!-$%-!9%)!('!A./2',!0)!(4..,B!
   !
   &N7(OP5P(O104Q007O(P6+R79(SN14N(10(0QTTP*1U7O(12(&P6V7(<9(12O14P57(5NP5(12(P(
   4+201O7*P6V7(2QT67*(+,(WP517250(OQ*123(P(4+201O7*P6V7(W7*1+O(+,(51T7(5N7(*1RP*+XP6P2(
   4+24725*P51+2(10(N13N7*(5NP2(5N7(TPX1TPV(G!P(4+24725*P51+2(5NP5(4P2(67(3727*P57O(12(
   WVP0TP-(&NQ09(12(5N707(WP517250(5N7*7(10(0Q,,141725(*1RP*+XP6P2(41*4QVP5123(12(WVP0TP(5+(
   12N1615(7R7*Y(G!P(T+V74QV7(5NP5(10(,+*T7O9(SN14N(4*7P570(P(4+2O151+2(SN7*7(5N7(WP51725(
   10(7XW+07O(5+(P(N13N(6V77O123(*10Z-(
   (
   &P6V7(<-(#1RP*+XP6P2(WVP0TP(V7R7V0(12("G(WP517250((
   (
   Q%-0')-!5.534%-0.)!                          ]0&%/.;%(%)!      V-/.37$!       V2%;!         V-/.37$!      V2%;!
   !                                                ,.*'!        =µ7eY?!
                                                                 =µ7eY?         =µ7eY?!
                                                                                =µ7eY?         =)C?!
                                                                                               =)C?         =)C?!
                                                                                                            =)C?
   !
   >[!5%-0')-*!                                    "P!27!.,!    II!µ7eY%!      "IH!µ7eY%!     GPG!)C%!     ZOG!)C%!
   !                                                   !       =G"WG`O?(!     =GbIW`I`?!(!   ="bW`GI?(!   =I""WObO?(!
   !
   Zc!.A!>[!5%-0')-*!                              "P!27!.,!   o!G`O!µ7eY!    o!`I`!µ7eY!    o!`GI!)C!    o!ObO!)C!

   HZc!.A!>[!5%-0')-*!         "P!27!.,!       :$)&$µ#;<!     o!GbI!µ7eY!        :$&=$3>!         o!I""!)C!
   !
   ?5'5$,6(0$>2!7@$!'$5-")A$,(6$15'%!3'8$B%'4$5$76!5'%3%3!$7-!56537!$C/</6D$:EF$0<;0%3"$/'6(2#49$8501-!8$
   7(--!7'!.$&FG&=$4$5,'!6$.(8%3#"$/05H9$8501-!8$7(--!7'!.$&GA$4$5,'!6$.(8%3#"$5#!(0!'6%7$0!538I$JE'4GKE'4$
   1!67!3'%-!$653#!"$
   $
   !
   )M"#H"A'.IE"H@A?('G(#@J"#'!">"E(
   Q$%/2%9.,:)%209*!0)&.4&'*!-$'!*-3,:!.A!-$'!(0.9$'209%4!%),!5$:*0.4.709%4!'AA'9-*!.A!,/37*!
   0)!-$'!(.,:8!0)943,0)7!-$'!/'4%-0.)*$05!('-1'')!-$'0/!9$'209%4!*-/39-3/'!%),!-$'0/!2.,'!.A!
   %9-0.)B!
   !
   !"#$%$&$'"(')(*+,-(]0&%/.;%(%)!=<>p!ZHWOH`H!0)!.4,'/!5%5'/*Gb?!0*!%!5.-')-![@%!0)$0(0-./!
   1$09$!/%50,4:!=%**.90%-0.)!/%-'!9.)*-%)-!k+.)l8!GBOqGPO!2.4eYrG!*rG?!%),!/'&'/*0(4:!
   =,0**.90%-0.)!/%-'!9.)*-%)-!k+.AAl8!ZqGPr`!*rG?!0)$0(0-*!$32%)![@%GH!10-$!%!d0G!.A!PBI!)CBGb!
   R'-%04',!+0)'-09!%)%4:*'*!*$.1',!-$%-!0-!0*!%!9.25'-0-0&'!0)$0(0-./!.A!-$'!%20,.4:-09!%9-0&0-:!
   .A![@%B!]0&%/.;%(%)!9.)9')-/%-0.)*!%*!$07$!%*!"P!µC!,0,!).-!%AA'9-!.-$'/!*'/0)'!5/.-'%*'*!
   0)&.4&',!0)!$%'2.*-%*0*!0),09%-0)7!-$%-!-$'!*'4'9-0&0-:!.A!/0&%/.;%(%)!A./![@%!0*!2./'!-$%)!
   GP8PPPWA.4,!7/'%-'/!-$%)!-$%-!A./!-$'!.-$'/!*'/0)'!5/.-'%*'*!-'*-',BGb!]0&%/.;%(%)!0)$0(0-',!
   [@%W9%-%4:X',!5/.-$/.2(0)!%9-0&%-0.)!(:!-$'!5/.-$/.2(0)%*'!9.254';!=[@%W[a%WV%"sW
   54%-'4'-*?!10-$!%)!#VZP!.A!"BG!t!PBI!)CBGb!
   !
   !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
   G!d !0*!-$'!9.)9')-/%-0.)!0)$0(0-./!/'D30/',!-.!.(-%0)!ZPc!0)$0(0-0.)B!
        0




                                                                                                               USCA5 4171
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   !                                                          GP!


   F$'!d0!.A!0)$0(0-0.)!.A![@%!(:!/0&%/.;%(%)!=PBI!)C?!%),!-$'!%**.90%-0.)!/%-'!9.)*-%)-!.A!
   (0),0)7!.A!/0&%/.;%(%)!-.![@%!=+.)mGBOqGPO!2.4eYrG!*rG?!%/'!025./-%)-!5%/%2'-'/*!-.!
   %55/'90%-'!-$'!'AA09%9:!(:!1$09$!/0&%/.;%(%)!0)$0(0-*![@%B!N*0)7!(%*09!+0)'-09!'D3%-0.)*8!0-!
   9%)!('!9%4934%-',!-$%-!%-!IPP!)C!/0&%/.;%(%)8!%!9.)9')-/%-0.)!-$%-!0*!4.1'/!-$%)!-$%-!/'%9$',!
   %-!5'%+!0)!HZc!.A!5%-0')-*!-/'%-',!10-$!/0&%/.;%(%)!k*''!%(.&'!%),!/'AB!GIl8!2./'!-$%)!HHc!
   .A!-$'![@%!5/'*')-!./!A./2',!0)!(4..,!1044!('!0)$0(0-',!10-$0)!G!*'9.),"B(
   !"#$%$&$'"(')(.#/'0%$"(12"2/,&$'"-$L3$M%'6(!*-3,0'*!0)!54%-'4'-W/09$!54%*2%!,'2.)*-/%-',!
   -$%-!/0&%/.;%(%)!5/.4.)7',!-$'!0)0-0%-0.)!5$%*'!.A!-$/.2(0)!7')'/%-0.)!%),!/',39',!-$'!
   -$/.2(0)!(3/*-!5/.,39',!0)!-$'!5/.5%7%-0.)!5$%*'8"P!%),!-$%-!-$/.2(0)!7')'/%-0.)!0*!%42.*-!
   9.254'-'4:!0)$0(0-',!%-!%!54%*2%!/0&%/.;%(%)!9.)9')-/%-0.)!.A!GPP!)C!=I`BJ!µ7eY?8!1$09$!0*!
   94.*'!-.!-$'![@!9.)9')-/%-0.)!5/'*')-!0)!54%*2%!=GPPWGIP!)C!"G8""?B!#)!-$'!*'9-0.)!.)!
   5$%/2%9.+0)'-09*!.A!/0&%/.;%(%)!5/'*')-',!0)!-$0*!/'5./-!=5B!b8!H?8!0-!0*!,'*9/0(',!-$%-!HZ!c!
   .A!>[!5%-0')-*!-/'%-',!10-$!"P!27!/0&%/.;%(%)!^R!$%,!%!5'%+!&%43'!="WI!$.3/*!%A-'/!,.*0)7?!
   g!I""!)C!=GbI!µ7eY?!/0&%/.;%(%)!0)!54%*2%B!V.25%/0*.)!10-$!-$'!%3$M%'6(!-$/.2(0)!
   7')'/%-0.)!,%-%!.A!u'/.-X0%A%*!'-!%4B"P!*377'*-*!-$%-!HZc!.A!-$'!5%-0')-*!/'9'0&0)7!"P!27!
   /0&%/.;%(%)!%/'!"WI!$.3/*!4%-'/!';5.*',!-.!/0&%/.;%(%)!4'&'4*!-$%-!9.254'-'4:!0)$0(0-!
   -$/.2(0)!7')'/%-0.)B!
   L.1'&'/8!0-!*$.34,!('!2')-0.)',!-$%-!0)!.-$'/!5%5'/*!-$/.2(0)!7')'/%-0.)!A.44.1',!10-$!
   -$'!9%40(/%-',!%3-.2%-',!-$/.2(.7/%2!=V>F?!%**%:!1%*!4'**!*3*9'5-0(4'!-.!0)$0(0-0.)!(:!
   /0&%/.;%(%)B"`W"Z!j.)7!'-!%4B"I!*$.1',!-$%-!-$/.2(0)!7')'/%-0.)!1%*!A344:!0)$0(0-',!(:!`PPP!
   )C!/0&%/.;%(%)!%),!d/'2'/*!'-!%4B"Z!.(*'/&',!-$%-!IPP!)C!/0&%/.;%(%)!1%*!/'D30/',!-.!
   5/.4.)7!-$'!4%7!-02'!.A!-$/.2(0)!7')'/%-0.)!ZWA.4,!%),!-.!/',39'!-$'!-$/.2(0)!5'%+!%),!-$'!
   '),.7').3*!-$/.2(0)!5.-')-0%4!10-$!bPc!%),!ZZc8!/'*5'9-0&'4:B!
   !
   F$'!,0AA'/')9'*!0)!*')*0-0&0-:!.A!-$/.2(0)!7')'/%-0.)!A./!/0&%/.;%(%)!/'5./-',!0)!40-'/%-3/'!
   %/'!40+'4:!';54%0)',!(:!,0AA'/')-!9.),0-0.)*!%-!1$09$!-$'!V>F!%**%:!0*!5'/A./2',8!%"!"8!%-!%!4.1!
   -0**3'!A%9-./!9.)9')-/%-0.)!10-$!(4..,!54%-'4'-*!%*!5/.9.%734%)-!*3/A%9'"P!./!%!$07$!-0**3'!
   A%9-./!9.)9')-/%-0.)!%),!%/-0A090%4!5$.*5$.4050,!&'*094'*!%*!5/.9.%734%)-!*3/A%9'B"`W"Z!#-!
   %55'%/*!-$%-!-$'!'AA09%9:!10-$!1$09$!/0&%/.;%(%)!0)$0(0-*!-$/.2(0)!7')'/%-0.)!0*!,'5'),')-!
   .)!-$'!*-/')7-$!.A!-$'!9.%734%-0.)!-/077'/!=-0**3'!A%9-./!9.)9')-/%-0.)!%),!D3%40-:!.A!
   5/.9.%734%)-!5$.*5$.4050,!*3/A%9'?B!F$0*!0*!0443*-/%-',!0)!-$'!2.,'40)7!*-3,:!.A!\.3/,0!'-!%4B"`!
   1$09$!*$.1',!-$%-!%!A0;',!/0&%/.;%(%)!9.)9')-/%-0.)!=I`P!)C?!-$/.2(0)!7')'/%-0.)!0*!2./'!
   *')*0-0&'!A./!/0&%/.;%(%)!%-!4.1!-$%)!%-!$07$!-0**3'!A%9-./!9.)9')-/%-0.)B!
   !
   F$'!025./-%)9'!.A!-$'!5/.9.%734%)-!*3/A%9'!=(4..,!54%-'4'-*!M8"!%/-0A090%4!5$.*5$.4050,!
   *3/A%9'*?!%),!-$'!-0**3'!A%9-./!9.)9')-/%-0.)!0)!-$/.2(0)!7')'/%-0.)!';5'/02')-*!0*!%4*.!
   ,'2.)*-/%-',!(:!u/%A!'-!%4B"J8"O!u/%A!'-!%4B!*-3,0',!-$'!'AA'9-!.A!/0&%/.;%(%)!.)!-$/.2(0)!
   7')'/%-0.)!0)!$'%4-$:!2%4'!*3(E'9-*!1$.!1'/'!70&')!%!54%9'(.8!./!*0)74'!,.*'*!.A!Z!27!
   /0&%/.;%(%)!./!`P!27!/0&%/.;%(%)B!V.%734%-0.)!5%/%2'-'/*!=!"#"8!-$/.2(0)!7')'/%-0.)8![07B!
   G><?!%),!/0&%/.;%(%)!9.)9')-/%-0.)*!=LQYVWCTWCT!D3%)-0A09%-0.)8!*''!5B!G"?!1'/'!
   ,'-'/20)',!0)!(4..,!*%254'*!-%+')!%-!&%/0.3*!-02'*!%A-'/!,.*0)7B!^A!5%/-0934%/!0)-'/'*-!0*![07B!
   G<8!1$09$!*$.1*!-$%-!0)!*'&'/%4!*3(E'9-*!-$/.2(0)!7')'/%-0.)!1%*!=%42.*-?!A344:!0)$0(0-',!%-!
   54%*2%!/0&%/.;%(%)!9.)9')-/%-0.)*!%(.&'!ZP!µ7eYB!
   !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
   "!-Ge"!m!=4)!"?e+!m!PBJHe+!m!PBJHeGBOqGPO!q!IPPqGPWH!m!PBJHeJbP!qGPW"!m!PBJHeJBb!m!PBG!*'9!%-!IPP!)CB!




                                                                                                     USCA5 4172
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                                                                       Page  12 of 66
   !                                               GG!


   F$'!,%-%!5/'*')-',!0)![07B!G<!*-/.)74:!*377'*-!-$%-!54%*2%!/0&%/.;%(%)!9.)9')-/%-0.)*!
   %(.&'!GPP!µ7eY!1044!).-!/'*34-!0)!A3/-$'/!*-/.+'!5/.-'9-0.)!(3-!1044!0)9/'%*'!-$'!(4'',0)7!/0*+!
   .A!5%-0')-*B!!




                                                                                                     !
   N%#"$)"$COD$P,,!7'$(,$1-57!J(Q$E$0#$6%M56(H5J53$53.$RF$0#$6%M56(H5J53$(3$'46(0J%3$#!3!65'%(3$C1!5@$
   !3.(#!3(28$'46(0J%3$1('!3'%5-Q$PST+1!5@D$5,'!6$1-5'!-!'$57'%M5'%(3$B%'4$7(--5#!3$CE$#;0<D$%3$1-5805$
   8501-!8$'5@!3$,6(0$M(-23'!!68$5'$M56%(28$'%0!8$5,'!6$5$8%3#-!$.(8!$(,$6%M56(H5J53"$?5'5$56!$0!53$
   6!-5'%M!$7453#!$,6(0$J58!-%3!$U$V?"$CWD$/(66!-5'%(3$J!'B!!3$6%M56(H5J53$1-5805$7(37!3'65'%(38$53.
   thrombin generation (PST+1!5@Q$7453#!$,6(0$J58!-%3!D"&XQ&*$
   !
   3))24&(')(/$5,/'6,%,"('"(47'&&$"8(&29&9-!!]0&%/.;%(%)!0)$0(0-*!%44!94.--0)7!-'*-*!-$%-!,'5'),!
   .)![@%!./!.)!-$'!7')'/%-0.)!.A![@%8!!"#"8!-$'!5/.-$/.2(0)!-02'!=QF?8!]3**'44!&05'/!&').2!
   -02'!=]aaF?W(%*',!%**%:*8!-$'!%9-0&%-',!5%/-0%4!-$/.2(.54%*-0)!-02'!=%QFF?!%),!%)-0W[@%!
   9$/.2.7')09!%**%:*B"bW`"!#)!.)'!.A!-$'!A0/*-!5%5'/*!0)!1$09$!-$'!0)$0(0-./:!5/.5'/-0'*!.A!
   /0&%/.;%(%)!=<>p!ZHWOH`H?!1'/'!,'*9/0(',Gb!0-!1%*!/'5./-',!-$%-!-$'!/0&%/.;%(%)!
   9.)9')-/%-0.)*!/'D30/',!-.!,.3(4'!-$'!QF!%),!-$'!%QFF!1'/'!"`P!)C!%),!JHP!)C8!
   /'*5'9-0&'4:B!F$'*'!9.)9')-/%-0.)*!1'/'!9.)*0,'/%(4:!$07$'/!-$%)!-$'!d0!.A!/0&%/.;%(%)!A./!
   [@%!0)$0(0-0.)!=PBI!)C?!./!5/.-$/.2(0)%*'!0)$0(0-0.)!="BG!)C?B!F$0*!0*!40+'4:!';54%0)',!(:!-$'!
   A./2%-0.)!.A!%)!';9'**0&'!%2.3)-!.A![@%!10-$0)!%!&'/:!*$./-!-02'!5'/0.,!%*!%!/'*34-!.A!-$'!
   $07$!9.)9')-/%-0.)!.A!-/077'/!-$%-!0*!3*',!-.!*-%/-!-$'!94.--0)7!.A!54%*2%!0)!-$'!QF!%),!-$'!
   %QFFB![./!0)*-%)9'!-$'!%2.3)-!.A!-0**3'!A%9-./!=-$/.2(.54%*-0)?!3*',!0)!-$'!QF!%**%:!0*!GP!
   )C"`!1$09$!0*!*.2'!GPPPWA.4,!$07$'/!-$%)!-$'!-0**3'!A%9-./!9.)9')-/%-0.)!9.22.)4:!3*',!0)!
   -$'!-$/.2(0)!7')'/%-0.)!%**%:B``8`I!F$'!'AA'9-*!.A!/0&%/.;%(%)!.)!/.3-0)'!94.--0)7!-'*-*!9%)!
   ('!!3*',!-.!,'-'/20)'!-$'!/0&%/.;%(%)!4'&'4!0)!54%*2%!.A!5%-0')-*!,3/0)7!-/'%-2')-!=*''!
   ('4.1?B!
   !
   H'E@&'#@EC[.$&$#H@E@EC(#@J"#'!">"E(%$J$%?(@E()%"?H"('G()"&@$E&?(
   :,%'/,&'/;(02,9</202"&(')(/$5,/'6,%,"($"(=7,90,(9,0=729-!!F$'!,'&'4.52')-!.A!R^>V*!
   (:!-$'!5$%/2%9'3-09%4!0),3*-/:!1%*!,/0&')!(:!-$'!)'',!-.!5/.,39'!%)!%)-09.%734%)-!A./!-$'!
   -/'%-2')-!.A!-$/.2(.-09!,0*./,'/*!-$%-!$%*!%!10,'!-$'/%5'3-09!/%)7'!0)!9.2(0)%-0.)!10-$!
   5/',09-%(4'!5$%/2%9.+0)'-09*!%),!5$%/2%9.,:)%209*8!-$'!54%*2%!4'&'4*!.A!1$09$!%/'!).-!
   %AA'9-',!(:!.-$'/!,/37*!./!,0'-!%),!$')9'!,.!).-!/'D30/'!/'734%/!2.)0-./0)7!.A!-/'%-',!
   5%-0')-*B!
   (



                                                                                                 USCA5 4173
     Case 2:14-md-02592-EEF-MBN
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   !                                             G"!


   >4-$.37$!0-!0*!*-%-',!0)!,.932')-%-0.)!5/.&0,',!(:!-$'!5$%/2%9'3-09%4!9.25%):!-$%-!
   2%/+'-*!/0&%/.;%(%)!=@%/'4-.?"!%*!1'44!%*!0)!*'&'/%4!*90')-0A09!53(409%-0.)*`ZWIP!-$%-!/.3-0)'!
   4%(./%-./:!2.)0-./0)7!.A!9.%734%-0.)!0*!).-!/'D30/',!1$')!5%-0')-*!%/'!-/'%-',!10-$!
   /0&%/.;%(%)8!-$'/'!%/'!*'&'/%4!*0-3%-0.)*!0)!1$09$!5%-0')-*!1044!(')'A0-!A/.2!2.)0-./0)7B!#-!0*!
   7')'/%44:!%99'5-',!-$%-!940)09%4!9.),0-0.)*!-$%-!/'D30/'!2.)0-./0)7!.A!R^>V*!40+'!
   /0&%/.;%(%)!0)943,'!5%-0')-*!10-$!(4'',0)7!./!-$/.2(.*0*8IGWII!5%-0')-*!/'D30/0)7!'2'/7')9:!
   *3/7'/:!1$04'!3*0)7!R^>V*8`Z8IGWII!./!-.!9.)A0/2!.&'/,.*%7'!%),!0)-.;09%-0.)B`Z8IGWII!
   L.1'&'/8!-$'/'!%/'!*90')-0*-*!1$.!7.!A3/-$'/!%),!9$%44')7'!-$'!v.)'!,.*'!A0-*!%44v!9.)9'5-!!A./!
   -/'%-2')-!10-$!R^>V*BOWGG!V.)*0,'/0)7!-$'!4%/7'!&%/0%(040-:!0)!54%*2%!9.)9')-/%-0.)*!.A!
   R^>V*!0)!9.2(0)%-0.)!10-$!%)!0)-/0)*09!)%//.1!-$'/%5'3-09!0),';8!0-!$%*!('')!5/.5.*',!-$%-!
   0),0&0,3%40X',!R^>V!,.*0)7!2%:!('!(')'A090%4!%),!025/.&'!5%-0')-!*%A'-:B!F$3*8!,.*'!A0),0)7!
   (%*',!.)!/0&%/.;%(%)!';5.*3/'!0)!0),0&0,3%4!5%-0')-*!0*!%!5/.20*0)7!%55/.%9$!-.!/',39'!
   2%E./!(4'',0)7!'&')-*!1$04'!2%0)-%0)0)7!*-/.+'!5/.-'9-0.)B!
   !
   R.*0)7!./!2.)0-./0)7!.A!/0&%/.;%(%)!/'D30/'*!-$'!%&%04%(040-:!.A!-'*-*!-.!,'-'/20)'!-$'!
   54%*2%!4'&'4!.A!/0&%/.;%(%)!0)!5%-0')-*B!V3//')-4:8!/0&%/.;%(%)!9.)9')-/%-0.)*!0)!54%*2%!9%)!
   ('!2'%*3/',!10-$!%!10,'!&%/0'-:!.A!4%(./%-./:!2'-$.,*B!L07$!5'/A./2%)9'!40D30,!
   9$/.2%-.7/%5$:!0)!9.2(0)%-0.)!10-$!-%),'2!2%**!*5'9-/.2'-/:!=LQYVWCTeCT?!0*!-$'!
   7.4,')!*-%),%/,!-.!,'-'/20)'!-$'!/0&%/.;%(%)!4'&'4!0)!54%*2%!10-$!';9'44')-!%993/%9:!%),!
   5/'90*0.)!.&'/!%!10,'!9.)9')-/%-0.)!/%)7'IZ8IJB!L.1'&'/8!-$0*!-'9$).4.7:!0*!).-!10,'4:!
   %&%04%(4'!0)!/.3-0)'!940)09%4!4%(./%-./0'*!%),!$')9'8!*'&'/%4!2./'!%99'**0(4'!94.--0)7W(%*',!
   -'*-*!1'/'!,'&'4.5',!-.!D3%)-0A:!/0&%/.;%(%)!0)!54%*2%!.A!5%-0')-*B!
   !
   j0-$!/'*5'9-!-.!2'%*3/0)7!-$'!54%*2%!/0&%/.;%(%)!9.)9')-/%-0.)!.)'!*$.34,!,0*-0)730*$_!!
   %?! -'*-*!-$%-!D3%)-0A:!/0&%/.;%(%)!0)!,043-',!5%-0')-!54%*2%8!!"#"8!%)-0W[@%!%**%:*!40+'!TF>fW
        Y0D30,!>)-0W@%8`P8IO8IH8ZG!<#^QLKM!R0@%W#f`P8IbWZG!%),!<#^QLKM!L'5%/0)!Y]FfIH!
   (?! -'*-*!-$%-!2'%*3/'!-$'!'AA'9-!.A!/0&%/.;%(%)!.)!-$'!94.--0)7!.A!3),043-',!54%*2%!.A!-$'!
        5%-0')-8!!"#"8!-$'!10,'4:!%&%04%(4'!/.3-0)'!94.--0)7!%**%:*!40+'!-$'!5/.-$/.2(0)!-02'!
        =QF?"bW`P8`"8!ZG8Z"!%),!-$'!%9-0&%-',!5%/-0%4!-$/.2(.54%*-0)!-02'!=%QFF!?"bW`P8!`"!%),!2./'!
        *5'90%40X',!%**%:*!40+'!-$'!]3**'44!&05'/!&').2!-02'!=]aaF?8"b8!Z`!-$'!5/.-$/.2(0)%*'!
        0),39',!94.--0)7!-02'!=Q0VF?"b8!`P!%),!-$'!-$/.2(0)!7')'/%-0.)!%**%:B"I8"J8"b8`P8IO!
   !
   >)-0W[@%!%**%:*!70&'!%)!%993/%-'!)32('/!A./!-$'!/0&%/.;%(%)!9.)9')-/%-0.)!0)!54%*2%!-$%-!
   9.//'4%-'*!1'44!10-$!D3%)-0A09%-0.)!.A!/0&%/.;%(%)!10-$!LQYVWCTeCT`P8IOWZG!=[07B!"?8!(3-!,.!
   ).-!5/.&0,'!0)A./2%-0.)!.)!-$'!'AA'9-!-$%-!-$%-!/0&%/.;%(%)!4'&'4!$%*!.)!-$'!94.--0)7!.A!(4..,!
   .A!-$%-!5%/-0934%/!5%-0')-B!F$'!/'%*.)!A./!-$0*!0*!-$%-!-$'!'AA'9-!.A!%!70&')!%2.3)-!.A!
   /0&%/.;%(%)!.)!-$'!94.--0)7!.A!(4..,!2%:!&%/:!('-1'')!5%-0')-*B!
   !
   ].3-0)'!4%(./%-./:!%**%:*!-$%-!9%)!('!3*',!-.!,'-'/20)'!-$'!'AA'9-!.A!/0&%/.;%(%)!.)!-$'!
   94.--0)7!.A!3),043-',!54%*2%!0)943,'!-$'!5/.-$/.2(0)!-02'!=QF?"bW`P8`"8ZG!!%),!-$'!%9-0&%-',!
   5%/-0%4!-$/.2(.54%*-0)!-02'!=%QFF?B"bW`P8`"!
   $
   j$')!%!9.)-/.4!54%*2%!0*!*50+',!10-$!+).1)!%2.3)-*!.A!/0&%/.;%(%)8!-$'/'!%55'%/*!-.!('!%!
   7..,!40)'%/!,.*'W/'*5.)*'!/'4%-0.)*$05!('-1'')!-$'!/0&%/.;%(%)!9.)9')-/%-0.)!0)!54%*2%!
   %),!-$'!94.--0)7!-02'!2'%*3/',!10-$!-$'!QF!=[07B!`>?"b8`P!%),!%!,.*'W,'5'),')-!5/.4.)7%-0.)!




                                                                                             USCA5 4174
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
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   !                                                G`!


   .A!-$'!%QFF!!=[07B!`<?B"b8`P!L.1'&'/8!1$')!-$'!*%2'!94.--0)7!%**%:*!%/'!5'/A./2',!0)!A344!
   54%*2%!.A!5%-0')-*!/'9'0&0)7!/0&%/.;%(%)8!-$'!9.//'4%-0.)!('-1'')!94.--0)7!-02'*!%),!
   /0&%/.;%(%)!4'&'4*!,'-'/20)',!10-$!LQYVWCTeCT!0*!239$!4'**!k9.25%/'![07B!`>!%),![07B!IlB!
   F$'!/'%*.)!A./!-$0*!0*!-$%-!-$'!94.--0)7!-02'!.A!%!70&')!54%*2%!*%254'!0*!).-!.)4:!,'-'/20)',!
   (:!-$'!/0&%/.;%(%)!9.)9')-/%-0.)!(3-!%4*.!(:!-$'!(%*%4!%9-0&0-:!.A!-$'!9.%734%-0.)!5%-$1%:B!
   T0)9'!-$'!(%*%4!%9-0&0-:!.A!-$'!9.%734%-0.)!5%-$1%:!,0AA'/*!('-1'')!0),0&0,3%4*!-$0*!1044!0)!%!
   5.534%-0.)!/'*34-!0)!,0AA'/')-!94.--0)7!-02'*!A./!%!70&')!/0&%/.;%(%)!9.)9')-/%-0.)!k[07B!IlZIB!
   L.1'&'/8!-$'!A%9-!-$%-!-$'!.3-9.2'!.A!/0&%/.;%(%)!-'*-0)7!0)!A344!54%*2%!.A!5%-0')-*!0*!
   2.,34%-',!(:!-$'!(%*%4!%9-0&0-:!.A!-$'!9.%734%-0.)!9%*9%,'!9%)!('!3*',!-.!,'-'/20)'!-$'!
   ,'7/''!.A!%)-09.%734%-0.)Z"8ZZ!!%),!$'45!-.!'*-02%-'!-$'!/0*+!.A!(4'',0)7!%),!*-/.+'!.A!%)!
   0),0&0,3%4!5%-0')-!=*''!('4.1!5B!GZW""?!
   !




                                                     !
   N%#"$&"$/(66!-5'%(3$J!'B!!3$6%M56(H5J53$-!M!-8$%3$1-5805$,6(0$15'%!3'8$.!'!60%3!.$B%'4$YT</+>V;>V$
   53.$'4!$VSO+<%Z2%.$O3'%+N[$5885\"$C]5'4J23$!'$5-"$/(0156%8(3$(,$0!'4(.8$'($.!'!60%3!$6%M56(H5J53$
   53'%+,57'(6$[5$57'%M%'\"$S46(0J$]!8"$&F)EI)REC&D9RKD"$
   !
   !




                                                                                                        !
   N%#"$ROW"$/(66!-5'%(3$J!'B!!3$'4!$TS$COD$53.$'4!$5TSS$CWD$53.$6%M56(H5J53$-!M!-8$%3$3(605-+1((-!.$
   1-5805$81%@!.$B%'4$@3(B3$50(23'8$(,$6%M56(H5J53"$CV50505$!'$5-"$O88!880!3'$(,$-5J(65'(6\$5885\8$'($
   0!5826!$6%M56(H5J53$G$53$(65-Q$.%6!7'$N57'(6$[5$%34%J%'(6"$S46(0J$Y5!0(8'$&F)FQ$)FR9$=)E+=&E$CN%#"$)$
   53.$N%#"$RDD"$$




                                                                                                  USCA5 4175
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Case 2:14-md-02592-EEF-MBN      Document
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   !                                                GI!




                                                                                  !
   N%#"$A$P,,!7'$(,$6%M56(H5J53$7(37!3'65'%(38$.!'!60%3!.$B%'4$YT</+>V;>V$(3$'4!$TS$C3$^$)EK&D$(,$
   4!5-'4\$05-!$82J_!7'8$'6!5'!.$B%'4$6%M56(H5J53"$TS$B58$.!'!60%3!.$B%'4$65JJ%'$J65%3$'46(0J(1-58'%3$
   B%'4$53$%3'!635'%(35-$8!38%'%M%'\$%3.!H$CLVLD$(,$)"&$C`!(1-58'%3$T-28I$](74!$?%5#3(8'%78Q$>5334!%0Q$
   a!6053\D"$=b2J%'c5$!'$5-"$V5,!'\Q$1456057(.\350%78Q$53.$1456057(@%3!'%78$(,$WOd$EK+*KRK++53$(65-Q$
   .%6!7'$N57'(6$[5$%34%J%'(6++5,'!6$02-'%1-!$.(8%3#$%3$4!5-'4\$05-!$82J_!7'8"$P26$e$/-%3$T456057(-"$
   &FFEIX)C)&D9=*R+=FDEA"$CWOd$EK+*KRK$^$6%M56(H5J53D"$
   !
   [/.2!-$'!,%-%!5/'*')-',!0)![07B!I!%)!'D3%-0.)!9%)!('!,'/0&',!-$%-!,'*9/0('*!-$'!/'4%-0.)!
   ('-1'')!-$'!54%*2%!/0&%/.;%(%)!9.)9')-/%-0.)!%),!-$'!5/.-$/.2(0)!-02'!=QF?B!>99./,0)7!-.!
   -$'!%3-$./!.A!-$0*!/'5./-!=\]?!-$'!QF!&%43'!10-$.3-!/0&%/.;%(%)!0*!G"BZ!*'9!%),!-$'!*4.5'!.A!
   -$'!40)'!0*!PBPIH"!:0'4,0)7!-$'!A.44.10)7!'D3%-0.)_!
   ]0&%/.;%(%)!=µ7eY?m!k=QF!WG"BZ?ePBPIH"l!                                               KD3%-0.)!G!
   !
   (
   .'?$\#"EC@EC(?&D.@$?(&'($!)%'#$($GG@A"AI("E.(?"G$&I('G(#@J"#'!">"E(@E(
   &M$(&#$"&H$E&("E.()#$J$E&@'E('G(J$E'D?(&M#'H>'?@?("E.(?&#'B$!
   [0&'!,.*'W/%)70)7!*-3,0'*!1'/'!5'/A./2',!-.!'&%43%-'!-$'!'AA09%9:!%),!*%A'-:!.A!/0&%/.;%(%)!
   0)!-$'!-/'%-2')-!.A!%93-'!%*:25-.2%-09!-$/.2(.*0*8ZJ!5/.;02%4!RaF8ZO!%),!0)!-$'!
   -$/.2(.5$:4%;0*8Zb!%),!5/'&')-0.)ZH8JP!.A!aFK!%A-'/!-.-%4!$05Zb8ZH!%),!-.-%4!+)''JP!
   /'54%9'2')-B!F$'!/0&%/.;%(%)!,.*'*!-'*-',!1'/'!"P8!`P8!IP!27!^R!0)!%93-'!%*:25-.2%-09!
   -$/.2(.*0*ZJ!%),!GP8!"P8!./!`P!27!<#R!./!IP!27!^R!0)!-$'!Q$%*'!##!-/0%4!0)!5%-0')-*!10-$!
   5/.;02%4!RaFBZO!#)!(.-$!*-3,0'*!-$'/'!1'/'!).!*07)0A09%)-!,0AA'/')9'*!0)!-$'!5/02%/:!'AA09%9:!
   .3-9.2'!=&').3*!-$/.2(.'2(.409!9.25409%-0.)*!%),e./!%*:25-.2%-09!,'-'/0./%-0.)!0)!
   -$/.2(.-09!(3/,')?!('-1'')!-$'!,0AA'/')-!,.*'*B!L')9'8!0-!1%*!*-%-',!0)!(.-$!5%5'/*ZJ8ZO!-$%-!
   0-!0*!5.**0(4'!-$%-!4.1'/!,.*'*!207$-!('!%*!'AA'9-0&'!%*!-$'!,.*'*!-$%-!1'/'!-'*-',!="P!27!
   ^ReGP!27!<#R?B!!
   !
   C39$!4.1'/!/0&%/.;%(%)!,.*'*!1'/'!-'*-',!0)!-$'!-$/.2(.5$:4%;0*!.A!aFK!%A-'/!-.-%4!$05!
   /'54%9'2')-Zb!=Z8!GP8!"P8!`P8!./!IP!27!^R?!%),!A./!-$'!5/'&')-0.)!.A!aFK!%A-'/!-.-%4!$05ZH!./!
   -.-%4!+)''!/'54%9'2')-JP!="BZ8!Z8!GP8!"P8!./!`P!27!(0,?B!>4*.!0)!-$'*'!-/0%4*!-$'/'!1'/'!).!
   *07)0A09%)-!,0AA'/')9'*!0)!'AA09%9:!('-1'')!-$'!,0AA'/')-!,.*'*8!(3-!0)!%44!*-3,0'*!-$'/'!1%*!%!
   *07)0A09%)-!0)9/'%*'!.A!2%E./!5.*-.5'/%-0&'!(4'',0)7!%-!0)9/'%*0)7!,.*'*B!
   ^)!-$'!(%*0*!.A!-$'*'!*-3,0'*8!Q$%*'!###!940)09%4!-/0%4*!1'/'!./7%)0X',!0)!1$09$!-$'!'AA09%9:!%),!




                                                                                                  USCA5 4176
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   !                                                GZ!


   *%A'-:!.A!/0&%/.;%(%)!1'/'!9.25%/',!10-$!.-$'/!%)-09.%734%)-*BJGWJI!#)!-$'*'!-/0%4*8!A0;',W
   ,.*'!/'702')*!1'/'!9$.*')8!%"!"8!GZ!27!-109'!,%04:!A./!`!1''+*8!A.44.1',!(:!"P!27!.)9'!,%04:!
   0)!5%-0')-*!10-$!*:25-.2%-09!QKJG!%),!*:25-.2%-09!aFKJ"!%),!GP!27!.A!./%4!/0&%/.;%(%)!
   .)9'!,%04:!A./!-$/.2(.5/.5$:4%;0*!%A-'/!$05!%/-$/.54%*-:J`!%),!%A-'/!-.-%4!+)''!
   %/-$/.54%*-:BJI!V.)*0,'/0)7!-$'!Q$%*'!##!,.*'!/%)70)7!*-3,0'*8ZJWJP!-$'!-/'%-2')-!/'702')!0)!
   -$'!Q$%*'!###!*-3,0'*8!1$09$!%/'!93//')-4:!%55/.&',!(:!/'734%-./:!%3-$./0-0'*8JZ8JJ!1'/'!).-!
   )'9'**%/04:!-$'!4.1'*-!'AA'9-0&'!,.*'*B!
   !
   #)!"PGP8!-$'!5/.-.9.4!.A!-$'!]^VdKF!>[!*-3,:8!-$'!%02!.A!1$09$!1%*!-.!9.25%/'!-$'!'AA09%9:!
   %),!*%A'-:!.A!/0&%/.;%(%)!%),!1%/A%/0)!A./!-$'!5/'&')-0.)!.A!-$/.2(.'2(.409!,0*./,'/*!=!"#"Q!
   *-/.+'!0)!5%-0')-*!10-$!>[?8!1%*!53(40*$',BJO!F$'!/'*34-*!.A!-$'!]^VdKF!>[!*-3,:!1'/'!
   5/'*')-',!.)'!:'%/!4%-'/!0)!-$'!`!B$P3#-53.$e(2635-$(,$>!.%7%3!BGJ!#)!-$'!9%*'!.A!*-/.+'!
   5/'&')-0.)!0)!>[!5%-0')-*!).!Q$%*'!##!,.*'W/%)70)7!*-3,:!1%*!5'/A./2',!%),!-$'!9$.09'!.A!
   /0&%/.;%(%)!0)!-$'!]^VdKF!*-3,:!="P!27!^R!./!GZ!27!^R!0)!5%-0')-*!10-$!%!V/V4!.A!`PWIH!
   24e20)?!1%*!(%*',!.)!-$'!-1.!Q$%*'!##!*-3,0'*!0)!1$09$!-$'!'AA09%9:!%),!*%A'-:!.A!,0AA'/')-!
   /0&%/.;%(%)!,.*'*!A./!-$'!-/'%-2')-!.A!aFK!1%*!,'-'/20)',BZJ8ZO!
   !
   !
   ?&#'B$()#'&$A&@'E9(>%$$.@EC(#"&$?9()#'&M#'H>@E(&@H$(J"%D$?("E.(
   #@J"#'!">"E()%"?H"(%$J$%?(
   F$'!>,&0*./:!V.220--''!</0'A0)7!R.932')-!v]0&%/.;%(%)!A./!-$'!Q/'&')-0.)!.A!T-/.+'!%),!
   M.)WV')-/%4!M'/&.3*!T:*-'2!=VMT?!T:*-'209!K2(.40*2!0)!Q%-0')-*!j0-$!>-/0%4![0(/044%-0.)8!
   \M\`HP`HP`H6!<>p!ZHWOH`H!=]0&%/.;%(%)?w!5/'5%/',!(:!-$'!*5.)*./Jb!5/.&0,'*!025./-%)-!
   0)A./2%-0.)!.)!-$'!'AA'9-!.A!/0&%/.;%(%)!';5.*3/'!.)!-$'!QFB!^)!5B!`J!.A!-$0*!,.932')-!0-!0*!
   /'5./-',!-$%-_!!
   !
           ]!82-'8$ (J'5%3!.$ ,6(0$ '4!$ 1(12-5'%(3$ Tb;T?$ 535-\8!8$ %3$ 5$ 82J8!'$ (,$ ON$ 15'%!3'8$ B%'4$
           05'74!.$ Tb;T?$ 6%74$ 8501-%3#$ C3^)X)D$ %3$ '4!$ T458!$ R$ ]f/bPS$ ON$ '6%5-Q$ 84(B!.$ '45'$
           6%M56(H5J53$ 1-5805$ 7(37!3'65'%(38$ !H4%J%'!.$ 5$ 7-(8!+'(+-%3!56$ 6!-5'%(384%1$ B%'4$ TS$
           CN%#26!$A+)D"$O'$8'!5.\+8'5'!Q$'4!$$J58!-%3!$TS$B58$!8'%05'!.$'($J!$))"A$8!7(3.8$53.$'4!$
           8-(1!$ (,$ '4!$ 7(66!-5'%(3$ J!'B!!3$ TS$ 53.$ 6%M56(H5J53$ 1-5805$ 7(37!3'65'%(38$ B58$ A"&X$
           8!7(3.8;)FF$g#;<"$S4!$6!8%.25-$M56%5J%-%'\$B58$-(B$C)&"=EhD"$
   !
   [/.2!-$'!0)A./2%-0.)!5/'*')-',!%(.&'!=(%*'40)'!QF!m!GGBI!*'96!*4.5'!m!IB"J!*'9eGPP!µ7eY!
   ]0&%/.;%(%)!m!PBPI"J!*'9eG!µ7eY!]0&%/.;%(%)?!.)'!9%)!.(-%0)!%)!'D3%-0.)!-$%-!,'*9/0('*!
   -$'!/'4%-0.)*$05!('-1'')!-$'!54%*2%!/0&%/.;%(%)!4'&'4!%),!-$'!5/.-$/.2(0)!-02'!=QF?_!
   QF!m!GGBI!s!PBPI"J!q!k]0&%/.;%(%)lB!
   \WWWg!]0&%/.;%(%)!=µ7eY?m!k=QF!WGGBI?ePBPI"Jl!!                                                KD3%-0.)!"(
   !
   F$0*!'D3%-0.)!94.*'4:!/'*'2(4'*!-$'!'D3%-0.)!('-1'')!/0&%/.;%(%)!4'&'4*!%),!QF!=KDB!G!5B!
   GI8!]0&%/.;%(%)!=µ7eY?m!k=QF!WG"BZ?ePBPIH"l?!-$%-!1%*!.(-%0)',!A/.2!%!5$%/2%9.+0)'-09!
   %),!5$%/2%9.,:)%209!*-3,:!5'/A./2',!0)!$'%4-$:!2%4'!*3(E'9-*BZI!




                                                                                                   USCA5 4177
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   !                                                 GJ!




                                                                                            !
                                                      !
   N%#"$E"$](7@!'$TS$'%0!$M8"$]%M56(H5J53$1-5805$7(37!3'65'%(3$C2#;<D"$TS$B58$0!5826!.$B%'4$
   `!(1-58'%3®.$C[56!-'($O./(00$V!1$=$&F))$V1(38(6$W6%!,%3#$?(7$i/>&*F*K*"1.,Q$1"$RXD"Jb$
   !
   ^)!5B!`b!.A!-$'![R>!R/%A-!</0'A0)7!R.932')-!A./!-$'!V%/,0.&%*934%/!%),!]')%4!R/37*!
   >,&0*./:!V.220--''!=T'5-B!b8!"PGG!W![R>!>,!V.22!</0'A0)7!R.932')-B5,A?8JH!%!*0204%/!,.*'W
   /'*5.)*'!/'4%-0.)*$05!=[07B!J?!0*!5/'*')-',!1$09$!5/'*32%(4:!9.)-%0)*!-$'!*%2'!,%-%!(3-!
   10-$!/',39',!A073/'!%;'*B!
   !




                                                                                                !
   !
   N%#"$X"$](7@!'$TS$58$5$,237'%(3$(,$'4!$6%M56(H5J53$1-5805$7(37!3'65'%(3"$CV!1'"$=Q$&F))$+$N?O$O.$/(00$
   W6%!,%3#$?(720!3'"1.,Q$1"$R=XK$53.$&F&ARKf6%#)8FFF/-%3T4560]+)"1.,Q$1"$&*D"*F$
   !
   !



                                                                                                    USCA5 4178
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   !                                                   GO!


   !
   ^)!5B!`H!=5,A!5B!IP?!.A!-$'!*%2'!,.932')-8JH!%!A073/'!0*!5/'*')-',!1$09$!*$.1*!-$'!
   5'/9')-%7'!.A!5%-0')-*!10-$!0*9$'209!*-/.+'!%*!%!A3)9-0.)!.A!-$'!QF!=,%-%!A/.2!OPPb!5%-0')-*!
   A/.2!-$'!]^VdKF!*-3,:?8!%),!1$09$!,'2.)*-/%-'*!-$%-!-$'!.993//')9'!.A!*-/.+'!1%*!
   0),'5'),')-!.A!-$'!QF!=[07B!O?B!!
   !
   !




                                                                                                    !
   N%#"$*"$](7@!'$15'%!3'8$B%'4$%874!0%7$8'6(@!$58$5$,237'%(3$(,$'4!$16('46(0J%3$'%0!$CTSD"$CV!1'"$=Q$&F))$+$
   N?O$O.$/(00$W6%!,%3#$?(720!3'"1.,Q$1"$RKD"JH!
   !
   #)!-$0*!A073/'!-$'!]^VdKF!5.534%-0.)!0*!,0&0,',!0)!D3%/-04'*!k9AB!5BIGJHl!10-$!QF!&%43'*!i!GIB"!
   *'98!GIB"WGJBJ!*'98!GJBJWGHBb!*'9!%),!o!GHBb!*'98!/'*5'9-0&'4:B!F$'!,%-%!5.0)-*!=:'44.1!
   ,0%2.),*?!0)!-$0*!A073/'!/'5/'*')-!-$'!5'/9')-%7'!.A!0*9$%'209!*-/.+'!%*!%!A3)9-0.)!.A!-$'!
   2',0%)!QF!.A!-$'!,0AA'/')-!D3%/-04'*B!F$'!2',0%)!QF!&%43'*!.A!-$'*'!D3%/-04'*!%),!
   9.//'*5.),0)7!*-/.+'!5'/9')-%7'*!9%)!('!9%4934%-',!A/.2!-$'!A073/'!=[07B!O?!%),!-$'!2',0%)!
   QF!&%43'*!9%)!('!*3(*'D3')-4:!9.)&'/-',!-.!2',0%)!/0&%/.;%(%)!9.)9')-/%-0.)*!3*0)7!
   KD3%-0.)!"!70&')!%-!5B!G`B!F$'!/'*34-*!.A!-$'*'!9%4934%-0.)*!%/'!*322%/0X',!0)!F%(4'!!"B!
   !
   &P6V7(:-(
   )&(*P237(]QP*51V7(       )&(KT7O1P2L(             ?5*+Z7(         )VP0TP(*1RP*+XP6P2(
   xG!i!GIB"!*'9!               G`!*'9!!              "BP!c!                `OBJ!µ7eY!
   x"!mGIB"WGJBJ!*'9!          GZB`!*'9!              GBb!c!                HGBZ!µ7eY!
   x`!mGJBJWGHBb!*'9!          GbBP!*'9!              "B"!c!               GZIBH!µ7eY!
   xI!!o!!GHBb!*'9!            "`BP!*'9!             GBHZ!c!               "O"B`!µ7eY!
   >!.%53$53.$1!67!3'$B%'4$%8745!0%7$8'6(@!$ChD$75-72-5'!.$,6(0$.5'5$1(%3'8$%3$N%#"$*"!                              !



                                                                                                        USCA5 4179
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   !                                                 Gb!


   ^)!5B!IP!=5,A!5B!IG?!.A!-$'![R>!>,!V.22!</0'A0)7!R.932')-8JH!%!*0204%/!A073/'!0*!5/'*')-',!
   1$09$!*$.1*!-$'!5'/9')-%7'!.A!]^VdKF!5%-0')-*!10-$!2%E./!(4'',*!%*!%!A3)9-0.)!.A!-$'!QF!
   %),!1$09$!,'2.)*-/%-'*!-$%-!-$'!.993//')9'!.A!2%E./!(4'',0)7!0)9/'%*',!10-$!0)9/'%*0)7!QF!
   =[07B!b?B!
   !




                                                                                                    !
   !
   N%#"$="$]f/bPS$15'%!3'8$B%'4$05_(6$J-!!.8$58$5$,237'%(3$(,$'4!$16('46(0J%3$'%0!$CTSD"$S5@!3$,6(09$1"$AF$
   V!1'"$=Q$&F))$+$N?O$O.$/(00$W6%!,%3#$?(720!3'"1.,"JH$
   !
   #)!-$0*!A073/'!-$'!]^VdKF!5.534%-0.)!0*!,0&0,',!0)!-$'!*%2'!D3%/-04'*!%*!0)![07B!O8!(3-!-$'!,%-%!
   5.0)-*!=:'44.1!,0%2.),*?!0)![07B!b!/'5/'*')-!-$'!5'/9')-%7'!.A!2%E./!(4'',0)7!%*!%!A3)9-0.)!
   .A!-$'!2',0%)!QF!.A!-$'!5%-0')-*!0)!-$'!,0AA'/')-!D3%/-04'*B!F$'!2',0%)*!.A!-$'!,0AA'/')-!
   D3%/-04'*!%),!9.//'*5.),0)7!*-/.+'!5'/9')-%7'*!1'/'!9%4934%-',!A/.2!-$0*!A073/'!%),!-$'!
   2',0%)!QF!&%43'*!1'/'!9.)&'/-',!-.!2',0%)!/0&%/.;%(%)!9.)9')-/%-0.)*!3*0)7!KD3%-0.)!"!
   70&')!%-!5B!G`B!F$'!/'*34-*!.A!-$'*'!9%4934%-0.)*!%/'!*322%/0X',!0)!F%(4'!`B!
   !
   &P6V7(^(
   )&(*P237(]QP*51V7(       )&(KT7O1P2L(       HP_+*(>V77O123( )VP0TP(*1RP*+XP6P2!
   !                                !                   !                    !
   xG!i!GIB"!*'9!               G`!*'9!!            `BPZ!c!             h`b!µ7eY!
   x"!mGIB"WGJBJ!*'9!          GZB`!*'9!            IB`J!c!             hH"!µ7eY!
   x`!mGJBJWGHBb!*'9!          GbBP!*'9!             ZB"!c!            hGZZ!µ7eY!
   xI!!o!!GHBb!*'9!            "`BP!*'9!             OBG!c!            h"O"!µ7eY!
   >!.%53$53.$1!67!3'$B%'4$05_(6$J-!!.8$ChD$75-72-5'!.$,6(0$.5'5$1(%3'8$%3$N%#"$="!
   !
   !
   !



                                                                                                    USCA5 4180
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   !                                                GH!


   F$'!,%-%!5/'*')-',!0)!F%(4'!"!%),!F%(4'!`!%/'!*322%/0X',!0)!-$'!A073/'*!5/'*')-',!('4.1!
   1$09$!*$.1!%!40)'!A073/'!=[07!H>?!%),!%!(%/!,0%7/%2!=[07B!H<?!.A!-$'!*-/.+'!%),!2%E./!
   (4'',0)7!0)90,')9'!=(.-$!0)!c?!%*!%!A3)9-0.)!.A!-$'!2',0%)!54%*2%!/0&%/.;%(%)!
   9.)9')-/%-0.)*!0)!5%-0')-*!0)!-$'!]^VdKF!*-3,:B!
   !




   N%#"$KOW"$V'6(@!$53.$05_(6$J-!!.%3#$CJ('4$%3$hD$%3$'4!$]f/bPS$15'%!3'$1(12-5'%(3$5'$.%,,!6!3'$1-5805$
   6%M56(H5J53$7(37!3'65'%(38$75-72-5'!.$,6(0$TS$M5-2!8"$N%#26!8$B!6!$16!156!.$28%3#$.5'5$16!8!3'!.$%3$
   S5J-!$&$53.$S5J-!$R"$
   !
   [07B!H><!0),09%-'*!-$%-!/%-$'/!4.1!54%*2%!/0&%/.;%(%)!9.)9')-/%-0.)*!=i!GPP!µ7eY?!%/'!
   *3AA090')-!A./!*-/.+'!5/.-'9-0.)!%),!-$%-!$07$'/!/0&%/.;%(%)!9.)9')-/%-0.)*!,.!).-!A3/-$'/!
   5/.-'9-!%7%0)*-!*-/.+'8!(3-!*3(*-%)-0%44:!0)9/'%*'!-$'!2%E./!(4'',0)7!/0*+B!!
   !
   F$'!D3'*-0.)!0*!1$'-$'/!-$'*'!,%-%!%/'!0),09%-0&'!.A!%!-$'/%5'3-09!/%)7'!%),!*355./-!
   2.)0-./0)7!./!,.*'WA0),0)7!%),!%!-109'!,%04:!,.*0)7!/'702')!.A!>[!5%-0')-*!-$%-!%/'!
   5/'*9/0(',!/0&%/.;%(%)!A./!*-/.+'!5/.-'9-0.)B!j0-$!/'*5'9-!-.!-$0*!0-!0*!025./-%)-!-.!
   '25$%*0X'!-$%-!/0&%/.;%(%)!$%*!%!/%-$'/!*$./-!$%4AW40A'!.A!ZnH!$.3/*!0)!$'%4-$:!:.3)7!
   *3(E'9-*!%),!GGnG`!$.3/*!0)!'4,'/4:!*3(E'9-*8GI!%),!-$%-!5'%+!54%*2%!/0&%/.;%(%)!
   9.)9')-/%-0.)*!%/'!hJ!-02'*!$07$'/!-$%)!-/.37$!9.)9')-/%-0.)*GI!=F%(4'!G8!5B!H?B!L')9'8!0-!0*!
   025./-%)-!-.!+).1!%-!1$09$!-02'!%A-'/!,.*0)7!10-$!/0&%/.;%(%)!-$'!(4..,!*%254'*!A./!QF!
   %)%4:*0*!0)!]^VdKF!1'/'!-.!('!.(-%0)',B!#)!-$'![R>!>,!V.22!</0'A0)7!R.932')-JH!0-!0*!
   ,'*9/0(',!.)!5B!II!-$%-!54%*2%!*%254'*!1'/'!-%+')!%-!-$'!j''+!G"!%),!j''+!"I!&0*0-*!%),!
   1'/'!9.44'9-',!2.*-4:!G"W"I!$.3/*!5.*-!/0&%/.;%(%)!,.*'!=[07B!GP?B!F$0*!A073/'!*$.1*!-$%-!
   -$'!2%E./0-:!.A!QF!&%43'*!=hOPc?!.A!5%-0')-*!5/'*')-',!0)![07*B!OWH!1'/'!.(-%0)',!%-!h!GI!
   $.3/*!=G"WGJ!$.3/*?!%A-'/!,.*0)7!1$09$!0*!94.*'!-.!-$'!$%4AW40A'!&%43'!=-y?!.A!/0&%/.;%(%)!
   '4020)%-0.)!A/.2!54%*2%8!-$%-!0*!-$'!-02'!%-!1$09$!54%*2%!/0&%/.;%(%)!4'&'4*!%/'!h!ZPc!.A!
   -$'!5'%+!&%43'B!




                                                                                                   USCA5 4181
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   !                                                 "P!




                                                                                       !
   N%#"$)F"$?%8'6%J2'%(3$(,$TS$8501-%3#$'%0!8$%3$TS+L874!0%7$8'6(@!$82J8!'$C3$X)KRD"$>5_(6%'\$(,$'4!$TS$
   8501-!8$B!6!$7(--!7'!.$.26%3#$'4!$)&+&A$4(268$1(8'$.(8!$B%3.(B"$C1"$&*$CN%#26!$AD$(,$]PN$*F"$O$8%0%-56$
   ,%#26!$%8$16!8!3'!.$(3$1"$AA$CN%#26!$)&D$(,$]PN$XKD"$
   !
   [07B!H><!*377'*-*!-$%-!/0&%/.;%(%)!%-!9.)9')-/%-0.)*!.A!GPP!µ7e2Y8!5/'*')-!0)!(4..,!%-!hGI!
   $.3/*!%A-'/!/'9'0&0)7!-$'!4%*-!,.*'8!5/.&0,'*!.5-02%4!5/.-'9-0.)!%7%0)*-!*-/.+'!0)!>[!5%-0')-*!
   %),!20)020X'*!(4'',0)7!/0*+B!L07$'/!/0&%/.;%(%)!9.)9')-/%-0.)*!.AA'/!).!A3/-$'/!%,&%)-%7'!
   A./!*-/.+'!5/.-'9-0.)!(3-!%/'!%**.90%-',!10-$!*3(*-%)-0%44:!$07$'/!/%-'*!.A!2%E./!(4'',0)7B!
   F$3*8!>[!5%-0')-*!1044!40+'4:!(')'A0-!A/.2!,.*0)7!-.!/0&%/.;%(%)!4'&'4*!('4.1!GPP!µ7eY!0)!
   54%*2%!=h!GI!$.3/*!5.*-!/0&%/.;%(%)!,.*'?B!!
   !
   F$'!,%-%!%),!5/.5.*0-0.)*!5/'*')-',!%(.&'!%/'!*355./-',!(:!-$'!5$%/2%9.+0)'-09!%),!
   5$%/2%9.,:)%209!*-3,:!.A!u/%A!'-!%4B"J8"O!0)!1$09$!0-!1%*!,'2.)*-/%-',!-$%-!0)!$'%4-$:!2%4'!
   &.43)-''/*!1$.!/'9'0&',!%!*0)74'!,.*'!.A!/0&%/.;%(%)8!-$/.2(0)!7')'/%-0.)!1%*!A344:!./!
   %42.*-!A344:!0)$0(0-',!%-!54%*2%!/0&%/.;%(%)!9.)9')-/%-0.)*!';9'',0)7!GPPµ7eY!=*''![07B!G!
   .)!5B!GG?B!
   !
   R.*0)7!.)!-$'!(%*0*!.A!/0&%/.;%(%)!4'&'4*!5/'*')-!0)!-$'!54%*2%!.A!%!5%-0')-!9%)!('!,.)'!10-$!
   LQYVeCTWCT!./!10-$!%)-0W[@%!%**%:*!9%//0',!.3-!10-$!,043-',!5%-0')-!54%*2%B!>4-$.37$!(.-$!
   -'9$)0D3'*!%993/%-'4:!,'-'/20)'!-$'!54%*2%!9.)9')-/%-0.)!.A!/0&%/.;%(%)8!-$':!9%//:!-1.!
   ,0*%,&%)-%7'*B!#)!-$'!A0/*-!54%9'8!-$'!5'/A./2%)9'!.A!(.-$!%**%:*!/'D30/'*!*5'90%4!';5'/-0*'!
   %),!-$'!2'-$.,.4.70'*!%/'!.)4:!%&%04%(4'!0)!%!4020-',!)32('/!.A!/.3-0)'!940)09%4!4%(./%-./0'*B!
   #)!%,,0-0.)8!+).14',7'!.A!-$'!%(*.43-'!54%*2%!/0&%/.;%(%)!9.)9')-/%-0.)!0)!(4..,!.A!%!
   5%-0')-!,.'*!).-!5/.&0,'!0)A./2%-0.)!.)!-$'!'AA'9-!-$%-!-$%-!/0&%/.;%(%)!9.)9')-/%-0.)!$%*!
   .)!-$'!94.--0)7!.A!(4..,!.A!-$'!5%-0')-B!
   !
   T0)9'!%!5%/-0934%/!/0&%/.;%(%)!9.)9')-/%-0.)!2%:!,0AA'/')-0%44:!%AA'9-!-$'!94.--0)7!*:*-'2*!.A!
   ,0AA'/')-!0),0&0,3%4*8!%"!"8!/'*34-!0)!,0AA'/')-!0)-')*0-0'*!.A!0)$0(0-0.)!.A!94.-!A./2%-0.)Z"8ZZ8!
   ,.*0)7e2.)0-./0)7!.A!%)!%)-09.%734%)-!,/37!*$.34,!('!5/'A'/')-0%44:!730,',!(:!%!A3)9-0.)%4!
   %**%:8!-$'!.3-9.2'!.A!1$09$!5/',09-*!*-/.+'!%*!1'44!%*!(4'',0)7!/0*+!.A!-$'!0),0&0,3%4!5%-0')-B!
   >4-$.37$!*'&'/%4!/.3-0)'!94.--0)7!%**%:*!%/'!*')*0-0&'!A./!-$'!5/'*')9'!.A!/0&%/.;%(%)"bW
   `P8`"8ZGWZ`!!%),!2'%*3/'!-$'!'AA'9-!.A!90/934%-0)7!/0&%/.;%(%)!.)!-$'!94.--0)7!.A!54%*2%!A/.2!%)!




                                                                                                    USCA5 4182
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   !                                              "G!


   0),0&0,3%4!5%-0')-8!-$'!94%**09%4!QF!%**%:!0*!7')'/%44:!9.)*0,'/',!-.!('!-$'!('*-!A344!54%*2%W
   94.--0)7!-'*-!-.!D3%)-0A:!-$'!%9-0&0-:!.A!/0&%/.;%(%)!0)!5%-0')-!54%*2%B"bW`P8`"8!ZG8Z"!F$'!,%-%!
   5/'*')-',!0)!-$'![R>!>,!V.22!</0'A0)7!R.932')-JH!%),!*$.1)!%*![07B!O!%),![07B!b!0)!-$0*!
   /'5./-!9%)!('!3*',!-.!730,'!QFW(%*',!,.*0)7!0)!5%-0')-*!-/'%-',!10-$!/0&%/.;%(%)B!!
   >!9.)*'/&%-0&'!93-W.AA!1.34,!('!-$'!4.1'*-!QF!&%43'!.A!-$'!4%*-!D3%/-04'!=GHBb!*'9?!1$09$!
   1.34,!2'%)!-$%-!0)!5%-0')-*!10-$!QF!&%43'*!g!GHBb!*'98!,'-'/20)',!hGI!$.3/*!%A-'/!
   /0&%/.;%(%)!%,20)0*-/%-0.)8!'0-$'/!-$'!,.*'!.A!/0&%/.;%(%)!$%*!-.!('!/',39',!-.!%--%0)!%!QF!
   &%43'!0)!-$'!/%)7'!.A!-$%-!.(*'/&',!0)!5%-0')-!D3%/-04'*!10-$!4.1'/!(4'',0)7!/0*+*!=!"#"8!%!QF!.A!
   GZB`!*'9!1$09$!0*!-$'!2',0%)!QF!.A!-$'!*'9.),!D3%/-04'?8!./!-$'!/0&%/.;%(%)!23*-!('!
   ,0*9.)-0)3',B!#)!*$./-8!-$'!QF!93-W.AA!&%43'!%44.1*!%!940)090%)!-.!2%+'!%55/.5/0%-'!
   %,E3*-2')-*!0)!-$'/%5:!%),!5/.-'9-!5%-0')-*!A/.2!('0)7!';5.*',!-.!%)!';9'**0&'!(4'',0)7!
   /0*+B!
   !
   F$'!%55409%(040-:!.A!-$'!QF!%**%:!-.!*9/'')!5%-0')-*!A./!(4'',0)7!/0*+!,3/0)7!/0&%/.;%(%)!
   -/'%-2')-!0*!%4*.!*355./-',!(:!v/'%4W40A'!.(*'/&%-0.)*v!.A!M%+%).!'-!%4BOG!1$.!/'4%-',!QF!
   &%43'*!10-$!.3-9.2'!'&')-*!=*-/.+'8!'2(.40*2!%),!(4'',0)7?!0)!%!7/.35!.A!>[!5%-0')-*!
   -/'%-',!10-$!/0&%/.;%(%)B!F$':!.(*'/&',!-$%-!5%-0')-*!1$.!$%,!5'%+!QF*!o"P!*'9!
   ';5'/0')9',!*07)0A09%)-4:!2./'!(4'',0)7!'&')-*!-$%)!5%-0')-*!10-$!QF!i!"P!*'9B!!
   !
   #-!*$.34,!('!'25$%*0X',!-$%-!-$'!93-W.AA!QF!5/.5.*',!%(.&'8!1$09$!0*!(%*',!.)!2%E./!
   (4'',0)7!%),!*-/.+'!0)90,')9'!0)!]^VdKF!5%-0')-*8!.)4:!$.4,*!A./!%!QF!%**%:!5'/A./2',!10-$!
   %!-$/.2(.54%*-0)!5/'5%/%-0.)!%*!1%*!3*',!0)!-$'!]^VdKF!*-3,:!=M'.54%*-0)`?B!!>4-$.37$!
   -$'!QF!40)'%/4:!9.//'4%-'*!10-$!/0&%/.;%(%)!54%*2%!9.)9')-/%-0.)*!A./!-$/.2(.54%*-0)!
   5/'5%/%-0.)*!A/.2!,0AA'/')-!2%)3A%9-3/'/*8"b8!`P8!Z"8O"8O`!-$'!,'5'),')9:!.A!-$'!QF!%*!A3)9-0.)!
   .A!-$'!54%*2%!/0&%/.;%(%)!9.)9')-/%-0.)8!%"!"8!-$'!*4.5'!.A!-$'!/0&%/.;%(%)!M8"!QF!54.-8!
   ,'5'),*!.)!-$'!-$/.2(.54%*-0)!5/'5%/%-0.)!-$%-!0*!3*',!0)!-$'!QF!%**%:B"b8!`P8!Z"8O"8O`!
   !
   V.)*0,'/0)7!-$'!,%:W-.W,%:!&%/0%-0.)!.A!-$'!QF!%**%:!%),!(%-9$W-.W(%-9$!&%/0%-0.)*!.A!-$'!
   /'%7')-*8!!"#"8!-$'!-:5'!.A!-$/.2(.54%*-0)!/'%7')-!3*',!0)!-$'!%**%:8!0-!0*!-.!('!';5'9-',!-$%-!
   %)!'&')!2./'!/'40%(4'!0,')-0A09%-0.)!.A!5%-0')-*!';5.*',!-.!%)!';9'**0&'!%)-09.%734%)-!'AA'9-!
   .A!/0&%/.;%(%)!1044!('!.(-%0)',!.)!-$'!(%*0*!.A!%)!#M]!&%43'!3*0)7!%)!#T#!A./!-$'!
   -$/.2(.54%*-0)!5/'5%/%-0.)!-$%-!0*!*5'90A09%44:!,'-'/20)',!A./!/0&%/.;%(%)BO`8OI!
   !
   [0)%44:8!-$'!5$%/2%9.+0)'-09!%),!5$%/2%9.,:)%209!5/.5'/-0'*!.A!/0&%/.;%(%)!*377'*-!-$%-!%!
   -109'!,%04:!/'702')!1044!/'*34-!0)!4.1'/!5'%+!-.!-/.37$!/%-0.*!0)!QF!%),!4.1'/!/0&%/.;%(%)!
   4'&'4*!9.25%/',!-.!.)9'!,%04:!,.*0)7!=[07B!GG!-%+')!A/.2!]K[!JH8OP?B!L')9'8!%!9.2(0)%-0.)!
   .A!-109'!,%04:!,.*0)7!%),!%!/',39-0.)!0)!-$'!-.-%4!,%04:!,.*'!1044!40+'4:!/'*34-!0)!%!4.1'/!
   (4'',0)7!/0*+!10-$.3-!%AA'9-0)7!-$'!*-/.+'!/0*+B!#),'',![R>!/'&0'1'/*OP8OZ!.A!-$'!*5.)*./!
   (/0'A0)7!,.932')-Jb!%*!1'44!%*!2'2('/*!.A!-$'!V%/,0.&%*934%/!z!]')%4!R/37*!>,&0*./:!
   V.220--''OZ!).-',!-$%-!-109'!,%04:!,.*0)7!207$-!$%&'!('')!2./'!*%A'!%),!'AA'9-0&'!-$%)!%!
   .)9'!,%04:!,.*0)7!/'702')B!#)!-$0*!/'*5'9-!0-!0*!%4*.!025./-%)-!-.!2')-0.)!-$%-!A./!-1.!.-$'/!
   R^>V*!=,%(07%-/%)!%),!%50;%(%)?!-$%-!%/'!5/'*9/0(',!A./!*-/.+'!5/.-'9-0.)!0)!>[!5%-0')-*8!
   %),!1$09$!$%&'!%!*0204%/!./!4.)7'/!$%4AW40A'!=-y?!%*!/0&%/.;%(%)OJ8!%!-109'!,%04:!,.*0)7!
   /'702')!1%*!9$.*')BOO8Ob!!
   #)!%!/'9')-!5%5'/!u/%$%2!%),!9.1./+'/*OH!/'5./-',!-$%-!-/'%-2')-!.A!5%-0')-*!10-$!
   ).)&%4&34%/!>[!10-$!/0&%/.;%(%)!"P!27!^R!1%*!%**.90%-',!10-$!%!*07)0A09%)-!0)9/'%*'!0)!



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   !                                                   ""!


   (4'',0)7!9.25%/',!10-$!,%(07%-/%)!GZP!27!%,20)0*-'/',!-109'!,%04:B!
   F$'!%3-$./*!$:5.-$'*0X',!-$%-!-$'!2./'!5/.).3)9',!%)-09.%734%)-!'AA'9-!.(*'/&',!,3/0)7!
   -/'%-2')-!10-$!/0&%/.;%(%)!2%:!('!,3'!-.!-$'!A%9-!-$%-!%!$07$'/!/0&%/.;%(%)!,.*'!0*!
   /'D30/',!A./!.)9'W,%04:!,.*0)7!9.25%/',!10-$!,%(07%-/%)!1$09$!$%*!%!*0204%/!$%4AW40A'OJ8!(3-!
   1$09$!0*!,.*',!-109'!,%04:B!F$':!A3/-$'/!*377'*-',!-$%-!%!/',39-0.)!.A!-$'!,%04:!/0&%/.;%(%)!
   ,.*'!./!%!-109'W,%04:!,.*0)7!/'702')!207$-!/',39'!-$'!(4'',0)7!/0*+B!
   !




                                                                                   !
   N%#26!$))"$V%02-5'!.$TS+'%0!$7(268!$,(6$'4!$Tb+T?$82J8!'$%3$]f/bPS+ON$,(6$5$'('5-$.5%-\$.(8!$(,$&F$0#$
   6%M56(H5J53Q$#%M!3$58$(37!$.5%-\$C6!.+.584!.$-%3!D$(6$58$'B%7!$.5%-\$CJ-2!+8(-%.$-%3!D"$S4!$8%02-5'%(38$
   B!6!$J58!.$(3$6%M56(H5J53$Tb$0(.!-$53.$6%M56(H5J53$Tb+TS$6!-5'%(384%1$16!8!3'!.$%3$N%#26!$XQ$(3$
   1")X$(,$'4%8$6!1(6'"$S4%8$,%#26!$%8$16!8!3'!.$58$N%#26!$)$5'$1.,$15#!$&E$(,$]PN$*F$53.$58$N%#26!$R$5'$1"$RA$
   (,$]PN$XK"$
   !
   !
   ]K[K]KMVKT!
   GB!! $--5*_ee111B5/%,%;%B9.2e1$%-W0*W5/%,%;%e5/%,%;%W&*W1%/A%/0)B$-24!>**'**',!G"!>373*-!
         "PGJ!
   "B!! $--5_ee111B;%/'4-.W0)A.B9.B3+e*-%-09e)'1e*0-'W/'*.3/9'*e5,A*e5/'*9/0(0)7W0)A./2%-0.)B5,A!
         >**'**',!G"!>373*-!"PGJ!
   `B!! $--5*_ee111B'40D30*B9.B3+e$95e'40D30*W0)W)&%A!>**'**',!G"!>373*-!"PGJ!
   IB!! <%3'/!d>B!Q/.*!%),!9.)*!.A!)'1!./%4!%)-09.%734%)-*B!L'2%-.4.7:!>2!T.9!L'2%-.4!K,39!Q/.7/%2B!
         "PG`6"PG`_IJIWOPB!
   ZB! F3/50'!>uB!]0&%/.;%(%)!%*!%)!./%4!%)-09.%734%)-!A./!*-/.+'!5/'&')-0.)!0)!%-/0%4!A0(/044%-0.)B!F$'/!
         V40)!]0*+!C%)%7B!"PGI6GP_GHOW"PZB!
   JB!! T9$342%)!TB!>,&%)-%7'*!%),!4020-%-0.)*!.A!-$'!M'1!%)-09.%734%)-*!\B!#)-B!C',B!"PGI6"OZ_GWGG!
   OB! Q.*)'/!\B!^5-020X0)7!-$'!,.*'!.A!,%(07%-/%)!'-';04%-'B!</!\!V40)!Q$%/2%9.4B!"PG"6OI=Z?_OIGW`B!!
   bB! F')!V%-'!LB!M'1!./%4!%)-09.%734%)-*_!,0*93**0.)!.)!2.)0-./0)7!%),!%,$'/')9'!*$.34,!*-%/-!).1{!
         F$/.2(!\B!"PG`6GG=G?_bB!
   HB!! [/':(3/7'/!u8!C%9.3044%/,!u8!Y%(/.39$'!T8!TX-%/+![B!V.%734%-0.)!5%/%2'-'/*!0)!5%-0')-*!/'9'0&0)7!
         ,%(07%-/%)!'-';04%-'!./!/0&%/.;%(%)_!F1.!.(*'/&%-0.)%4!*-3,0'*!0)!5%-0')-*!3),'/7.0)7!-.-%4!$05!
         ./!-.-%4!+)''!/'54%9'2')-B!F$/.2(.*0*!]'*'%/9$!"PGG6G"O_IZOnIJZB!
   GPB!! Q.1'44!\]B!>/'!)'1!./%4!%)-09.%734%)-!,.*0)7!/'9.22'),%-0.)*!.5-02%4!A./!%44!5%-0')-*|!\>C>B!
         "PGZ6`G`=GP?_GPG`WIB!
   GGB! C0*2'--0!Q8!Y%5./-'!TB!M'1!./%4!%)-0-$/.2(.-09*_!%!)'',!A./!4%(./%-./:!2.)0-./0)7B![./B!\!
         F$/.2(!L%'2.*-!"PGP6!b_!J"GnJB!
   G"B!! Q'/X(./)!K8!].'$/07!T8!T-/%3(!>8!d3(0-X%!R8!C3'9+!j8!Y%3;!aB!]0&%/.;%(%)_!%!)'1!./%4!A%9-./!@%!
         0)$0(0-./B!>/-'/0.*94'/!F$/.2(!a%*9!<0.4B!"PGP6`P=`?_`OJWbGB!
   !



                                                                                                         USCA5 4184
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   !                                                 "`!

   G`B! $--5*_ee111B;%/'4-.W3*B9.2e*$%/',e5/.,39-e;%/'4-.e5/'*9/0(0)7W0)A./2%-0.)B5,AB!>**'**',!Z!
         ^9-.('/!"PGJB!
   GIB!! C3'9+!j8!T-%25A3**!\8!d3(0-X%!R8!<'9+%!CB!V40)09%4!Q$%/2%9.+0)'-09!%),!Q$%/2%9.,:)%209!
         Q/.A04'!.A!]0&%/.;%(%)B!V40)B!Q$%/2%9.+0)'-B!"PGI6Z`_GnGJB!
   GZB!! j'0)X!V8!T9$1%/X!F8!d3(0-X%!R8!C3'9+!j8!Y%)7!RB!C'-%(.40*2!%),!';9/'-0.)!.A!/0&%/.;%(%)8!%)!
         ./%48!,0/'9-![%9-./!@%!0)$0(0-./8!0)!/%-*8!,.7*!%),!$32%)*B!R/37!C'-%(!R0*5.*B!"PPH6`O_GPZJ!n
         GPJIB!
   GJB!! Q%-'4!C]8!C%$%AA':!dj8!u%/7!\8!Q%)!u8!T0)7'/!RK8!L%9+'!j8!</'0-$%/,-!u8!L%45'/0)!\Y8!L%)+':!u\8!
         Q0990)0!\Q8!<'9+'/!]V8!M'**'4!VV8!Q%.40)0!\[8!<'/+.10-X!TR8![.;!d>8!V%40AA!]C6!]^VdKF!>[!
         #)&'*-07%-./*B!]0&%/.;%(%)!&'/*3*!1%/A%/0)!0)!).)&%4&34%/!%-/0%4!A0(/044%-0.)B!M!K)74!\!C',B!
         "PGG6`JZ=GP?_bb`WHGB!
   GOB!! u0/70*!#u8!Q%-'4!C]8!Q'-'/*!u]8!C../'!dF8!C%$%AA':!dj8!M'**'4!VV8!L%45'/0)!\Y8!V%40AA!]C8![.;!d>8!
         <'9+'/!]VB!Q.534%-0.)!5$%/2%9.+0)'-09*!%),!5$%/2%9.,:)%209*!.A!/0&%/.;%(%)!0)!5%-0')-*!10-$!
         ).)W&%4&34%/!%-/0%4!A0(/044%-0.)_!/'*34-*!A/.2!]^VdKF!>[B!\!V40)!Q$%/2%9.4B!"PGI6ZI=b?_HGOW"OB!!
   GbB!! Q'/X(./)!K8!T-/%**(3/7'/!\8!j042')!>8!Q.$42%))!\8!].'$/07!T8!T9$4'22'/!dWL8!T-/%3(!>B!#)!&0-/.!
         %),!0)!&0&.!*-3,0'*!.A!-$'!).&'4!%)-0-$/.2(.-09!%7')-!<>p!ZHWOH`H}%)!./%48!,0/'9-![%9-./!@%!
         0)$0(0-./B!\!F$/.2(!L%'2.*-!"PPZ6!`_!ZGIn"GB!
   GHB!! F'/*-''7')!>8!T9$20,-!T8!<3/+$%/,-!MB!]0&%/.;%(%)}%)!./%48!,0/'9-![%9-./!@%!0)$0(0-./}!(0),*!
         /%50,4:!-.![%9-./!@%B!\!F$/.2(!L%'2.*-B!"PPO6Z=T3554!"?_>(*-/%9-!QWjWJZGB!
   "PB!! u'/.-X0%A%*!uF8!K4%4%2:!#8!R'5%**'![8!Q'/X(./)!K8!T%2%2%!CCB!#)!&0-/.!0)$0(0-0.)!.A!-$/.2(0)!
         7')'/%-0.)8!%A-'/!-0**3'!A%9-./!5%-$1%:!%9-0&%-0.)8!(:!-$'!./%48!,0/'9-![%9-./!@%!0)$0(0-./!
         /0&%/.;%(%)B!\!F$/.2(!L%'2.*-B!"PPO6Z_bbJnbbbB!
   "GB!! M'3')*9$1%),'/!Q[8!<0%)9.W[0*$'/!K8!]'X%0'!>]8!C.//0**':!\LB!Q$.*5$%-0,:4'-$%).4%20)'!
         %372')-*!A%9-./!a##%W-0**3'!A%9-./!%9-0&0-:_!')$%)9'2')-!.A!*')*0-0&0-:!-.!5$.*5$%-0,:4*'/0)'B!
         <0.9$'20*-/:B!GHHZ!^9-!`G6`I=I`?_G`HbbWH`B!
   ""B! d'/*9$(%32'/!]\8!]0',/09$!d8!d/%4!C8!a%/%,0!d8!R./)'/![8!].*0)7!\8!T9$'0A40)7'/![B!>)!%)-0(.,:!
         *5'90A09!A./!9.%734%-0.)!A%9-./!#@!')$%)9'*!-$'!%9-0&0-:!.A!-$'!0)-/0)*09!A%9-./!@W%9-0&%-0)7!
         9.254';B!\!<0.4!V$'2B!"PPI6"OH=`H?_IPIIZWZPB!
   "`B! \.3/,0!u8!T073/'-!a8!C%/-0)!>V8!u.42%/,!\Y8!u.,0'/!>8!T%2%2%!VC8!u%3**'2!Q8!u.30)WF$0(%34-!#8!
         Y'!<.))0'9!<B!>**.90%-0.)!/%-'!9.)*-%)-*!/%-0.)%40*'!-$'!5$%/2%9.,:)%209*!.A!%50;%(%)!%),!
         /0&%/.;%(%)B!F$/.2(!L%'2.*-B!"PGZ6GGI=G?_ObWbJB!
   "IB!! j.)7!QV8!j$0-'!>8!Y3'--7')!\B!#)$0(0-./:!'AA'9-!.A!%50;%(%)!9.25%/',!10-$!/0&%/.;%(%)!%),!
         ,%(07%-/%)!.)!-$/.2(0)!7')'/%-0.)!%**%:B!L.*5!Q/%9-!"PG`6!IG_!GHn"ZB!
   "ZB!! d/'2'/*!]Cj8!Q'-'/*!FV8!j%7')&../,!]\8!L'2+'/!LVB!F$'!(%4%)9'!.A!5/.W!%),!%)-09.%734%)-!
         5/.9'**'*!3),'/4:0)7!-$/.2(0)!7')'/%-0.)B!\!F$/.2(!L%'2.*-!"PGZ6!G`_!I`OnIOB!
   "JB! u/%AA!\8!&.)!L')-07!M8!C0**'410-X![8!d3(0-X%!R8!<'9+%!C8!</',,0)!Ld8!L%/,'/!TB!KAA'9-*!.A!-$'!./%48!
         ,0/'9-!A%9-./!;%!0)$0(0-./!/0&%/.;%(%)!.)!54%-'4'-W0),39',!-$/.2(0)!7')'/%-0.)!%),!
         5/.-$/.2(0)%*'!%9-0&0-:B!\!V40)!Q$%/2%9.4B!"PPO6IO=GG?_G`HbWIPOB!
   "OB! u/%AA!\8!&.)!L')-07!M8!C0**'410-X![8!d3(0-X%!R8!<'9+%!C8!</',,0)!Ld8!L%/,'/!TB!KAA'9-*!.A!-$'!./%48!
         ,0/'9-!A%9-./!@%!0)$0(0-./!/0&%/.;%(%)!.)!54%-'4'-W0),39',!-$/.2(0)!7')'/%-0.)!%),!
         5/.-$/.2(0)%*'!%9-0&0-:_!K//%-%B!\!V40)!Q$%/2%9.4B!"PPb6Ib=GG?_G`JbB!
   "bB!! T%2%2%!CC8!C%/-0).40!\Y8!Y'![4'2!Y8!u30)'-!V8!Q43W<3/'%3!u8!R'5%**'![8!Q'/X(./)!KB!>**'**2')-!
         .A!4%(./%-./:!%**%:*!-.!2'%*3/'!/0&%/.;%(%)!n!%)!./%48!,0/'9-![%9-./!@%!0)$0(0-./B!F$/.2(!
         L%'2.*-!"PGP6GP`_!bGZWb"ZB!
   "HB!! L044%/5!>8!<%7$%'0![8![%7'/('/7!<40;-'/!#8!u3*-%A**.)!dC8!T-07'),%4!Y8!T-')WY0),'/!C8!T-/%),('/7!
         d8!Y0),%$4!FYB!KAA'9-*!.A!-$'!./%48!,0/'9-!A%9-./!@%!0)$0(0-./!/0&%/.;%(%)!.)!9.22.)4:!3*',!
         9.%734%-0.)!%**%:*B!\!F$/.2(!L%'2.*-!"PGG6!H_!G``nHB!
   `PB! R.3;A04*!\8!C3440'/![8!Y..*')!V8!V$%-'4%0)!V8!V$%-'4%0)!<8!R.7)~!\CB!>**'**2')-!.A!-$'!025%9-!.A!
         /0&%/.;%(%)!.)!9.%734%-0.)!%**%:*_!4%(./%-./:!/'9.22'),%-0.)*!A./!-$'!2.)0-./0)7!.A!
         /0&%/.;%(%)!%),!/'&0'1!.A!-$'!40-'/%-3/'B!F$/.2(!]'*B!"PG"6G`P=J?_HZJWJJB!



                                                                                                     USCA5 4185
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   `GB! [/%)9%/-!T\8!L%1'*!KC8!R'%4!>C8!>,9.9+!RC8!u.**'40)!]8!\'%))'/'-!V8![/0',2%)!dR8!C.44!TB!
         Q'/A./2%)9'!.A!9.%734%-0.)!-'*-*!0)!5%-0')-*!.)!-$'/%5'3-09!,.*'*!.A!/0&%/.;%(%)B!>!9/.**W
         *'9-0.)%4!5$%/2%9.,:)%209!*-3,:!(%*',!.)!5'%+!%),!-/.37$!54%*2%!4'&'4*B!F$/.2(!L%'2.*-B!
         "PGI6GGG=J?_GG``WIPB!
   `"B!! a%)!<4'/+!C8!<%044'34!K8!V$%-'4%0)!<8!R'234,'/!>8!R'&/''*'!d8!R.3;A04*!\8!\.9$2%)*!d8!C3440'/![8!
         j0E)*!j8!T.32%40!C]8!V.39+'!j8!a'/)'4')!d8!a%)!,'!j%44'!QB!#)A43')9'!.A!,%(07%-/%)!%),!
         /0&%/.;%(%)!.)!/.3-0)'!9.%734%-0.)!%**%:*B!>!)%-0.)10,'!<'470%)!*3/&':B!F$/.2(!L%'2.*-B!
         "PGZ6GG`=G?_GZIWJIB!
   ``B!! u'/.-X0%A%*!uF8!R'5%**'![8!<3**.)!\8!Y'A4'2!Y8!K4%4%2:!#8!T%2%2%!CCB!F.1%/,*!%!
         *-%),%/,0X%-0.)!.A!-$/.2(0)!7')'/%-0.)!%**'**2')-_!-$'!0)A43')9'!.A!-0**3'!A%9-./8!54%-'4'-*!%),!
         5$.*5$.4050,*!9.)9')-/%-0.)!.)!-$'!)./2%4!&%43'*!.A!F$/.2(.7/%2WF$/.2(0).*9.5'!%**%:B!
         F$/.2(!\B!"PPZ6`_GJW"J!
   `IB!! Q0+'!uM8!V3220)7!>C8!L%:!V]8!<.4-.)WC%77*!QL8!<3/-$'2!\B!T%254'!9.),0-0.)*!,'-'/20)'!-$'!
         %(040-:!.A!-$/.2(0)!7')'/%-0.)!5%/%2'-'/*!-.!0,')-0A:!(4'',0)7!5$').-:5'!0)![@#!,'A090')9:B!
         <4..,B!"PGZ6G"J=`?_`HOWIPZB!
   `ZB!! <.3)%2'%3;!L8!]'('/!uB!M'1!./%4!%)-0-$/.2(.-09*_!%!)'',!A./!4%(./%-./:!2.)0-./0)7B!>7%0)*-B!\!
         F$/.2(!L%'2.*-B!"PGP6b=I?_J"OW`PB!!
   `JB! <%3'/!d>B!]'9')-!5/.7/'**!0)!%)-09.%734%)-!-$'/%5:_!./%4!,0/'9-!0)$0(0-./*!.A!-$/.2(0)!%),!
         A%9-./!@%B!\!F$/.2(!L%'2.*-B!"PGG6H!T3554!G_G"WHB!
   `OB!! T.(0'/%EWF'%73'!C8!^•R.))'44!C8!K0+'4(..2B!\BM'1!%)-09.%734%)-*!A./!%-/0%4!A0(/044%-0.)B!T'20)!
         F$/.2(!L'2.*-B!"PPH6`Z=Z?_ZGZW"IB!
   `bB! <'9%--0)0!V8!>7)'440!uB!F/'%-2')-!.A!a').3*!F$/.2(.'2(.40*2!j0-$!M'1!>)-09.%734%)-!>7')-*B!\!
         >2!V.44!V%/,0.4B!"PGJ6JO=GJ?_GHIGWZZB!
   `HB! p'$!VL8!L.77!d8!j'0-X!\#B!^&'/&0'1!.A!-$'!)'1!./%4!%)-09.%734%)-*_!.55./-3)0-0'*!%),!9$%44')7'*B!
         >/-'/0.*94'/!F$/.2(!a%*9!<0.4B!"PGZ6`Z=Z?_GPZJWJZB!!
   IPB! T5')9'/!]\8!>2'/')%!\aB!]0&%/.;%(%)!0)!-$'!Q/'&')-0.)!.A!T-/.+'!%),!T:*-'209!K2(.40*2!0)!
         Q%-0')-*!10-$!M.)Wa%4&34%/!>-/0%4![0(/044%-0.)_!V40)09%4!#25409%-0.)*!.A!-$'!]^VdKF!>[!F/0%4!%),!
         #-*!T3(%)%4:*'*B!>2!\!V%/,0.&%*9!R/37*B!"PGZ6GZ=J?_`HZWIPGB!
   IGB!! Y0550!u8![%&%4./.!K\B!]'9')-!730,'40)'*!%),!/'9.22'),%-0.)*!A./!4%(./%-./:!%**'**2')-!.A!-$'!
         ,0/'9-!./%4!%)-09.%734%)-*!=R^>V*?_!0*!-$'/'!9.)*')*3*|!V40)!V$'2!Y%(!C',B!"PGZ6Z`="?_GbZWHOB!
   I"B! T%2%2%!CC8!>20/%4!\8!u30)'-!V8!Y'![4'2!Y8!T'7$%-9$0%)!\B!C.)0-./0)7!54%*2%!4'&'4*!.A!A%9-./!@%!
         0)$0(0-./*_!$.18!1$:!%),!1$')|!K;5'/-!]'&!L'2%-.4B!"PG`6J="?_GZZWJIB!!
   I`B! Y0),$.AAWY%*-!KG8!>)*'44!\8!T50/.!F8!T%2%2%!CCB!Y%(./%-./:!-'*-0)7!.A!/0&%/.;%(%)!0)!/.3-0)'!
         940)09%4!5/%9-09'_!1$')8!$.18!%),!1$09$!%**%:*B!>))!C',B!"PG`6IZ=ZWJ?_I"`WHB!!
   IIB! Q.44%9+!Va!\/B!V.%734%-0.)!%**'**2')-!10-$!-$'!)'1!7')'/%-0.)!.A!./%4!%)-09.%734%)-*B!K2'/7!
         C',!\B!"PGJ6``=J?_I"`W`PB!
   IZB! ].$,'!uB!R'-'/20)%-0.)!.A!/0&%/.;%(%)WW%!).&'48!./%48!,0/'9-![%9-./!@%!0)$0(0-./WW0)!$32%)!
         54%*2%!(:!$07$W5'/A./2%)9'!40D30,!9$/.2%-.7/%5$:W-%),'2!2%**!*5'9-/.2'-/:B!\!V$/.2%-.7/!
         <!>)%4:-!F'9$).4!<0.2',!Y0A'!T90B!"PPb6bO"=GW"?_I`WZPB!
   IJB! #D(%4!C8!d$%404!Mp8!#2%2![8!d$%40,!>)1'/!CB!>!&%40,%-',!$07$W-$/.37$53-!NLQYVWCTeCT!%**%:!
         A./!%993/%-'!,'-'/20)%-0.)!.A!/0&%/.;%(%)!0)!54%*2%!*%254'B!\!F$/.2(!F$/.2(.4:*0*B!
         "PGZ6`H=G?_OHWbbB!!
   IOB! ]%-$(3)!T8!F%A3/!>8!u/%)-!]8!K*2.)!M8!C%3'/!d8!C%/4%/!]>B!V.25%/0*.)!.A!2'-$.,*!-.!,'-'/20)'!
         /0&%/.;%(%)!%)-0WA%9-./!@%!%9-0&0-:B!F$/.2(!]'*B!"PGZ6G`Z="?_`HIWOB!
   IbB! d€)07*(/•77'!^8!x3'$')('/7'/!Q8!<'40+!T8!j'07'4!u8!T'7'/!V8!u/0'*2%9$'/!>8!Q%(0)7'/!#8!>:!VB!
         >)-0W9.%734%-0.)!%**'**2')-!10-$!5/.-$/.2(0)!-02'!%),!%)-0W@%!%**%:*!0)!/'%4W1./4,!5%-0')-*!.)!
         -/'%-2')-!10-$!/0&%/.;%(%)B!>))!L'2%-.4B!"PGZ6HI=H?_GIJ`WOGB!!
   IHB! T9$20-X!KC8!<..)')!d8!&%)!,')!L'3&'4!R\8!&%)!R.)7')!\Y8!T9$'440)7*!Cj8!K22')!\C8!&%)!,'/!
         u/%%A![8!</3)*&'4,!Y8!&%)!,'!d'/+$.A!RB!R'-'/20)%-0.)!.A!,%(07%-/%)8!/0&%/.;%(%)!%),!%50;%(%)!
         (:!34-/%W5'/A./2%)9'!40D30,!9$/.2%-.7/%5$:!W!-%),'2!2%**!*5'9-/.2'-/:!=NQYVWCTeCT?!%),!



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         9.%734%-0.)!%**%:*!A./!-$'/%5:!2.)0-./0)7!.A!).&'4!,0/'9-!./%4!%)-09.%734%)-*B!\!F$/.2(!
         L%'2.*-B!"PGI6G"=GP?_GJ`JWIJB!
   ZPB! R.3;A04*!\8!F%207)0%3!>8!V$%-'4%0)!<8!V$%-'4%0)!V8!j%44'2%9D!Q8!R.7)~!\C8!C3440'/![BV.25%/0*.)!
         .A!9%40(/%-',!9$/.2.7')09!%)-0W@%!%**%:!%),!QF!-'*-*!10-$!YVWCTeCT!A./!-$'!-$'/%5'3-09!
         2.)0-./0)7!.A!5%-0')-*!-/'%-',!10-$!/0&%/.;%(%)B!F$/.2(!L%'2.*-B!"PG`6GGP=I?_O"`W`GB!
   ZGB! [/%)9%/-!T\8!L%1'*!KC8!R'%4!>C8!>,9.9+!RC8!u.**'40)!]8!\'%))'/'-!V8![/0',2%)!dR8!C.44!TB!
         Q'/A./2%)9'!.A!9.%734%-0.)!-'*-*!0)!5%-0')-*!.)!-$'/%5'3-09!,.*'*!.A!/0&%/.;%(%)B!>!9/.**W
         *'9-0.)%4!5$%/2%9.,:)%209!*-3,:!(%*',!.)!5'%+!%),!-/.37$!54%*2%!4'&'4*B!F$/.2(!L%'2.*-B!
         "PGI6GGG=J?_GG``WIPB!
   Z"B! F/05.,0!>B!j$09$!-'*-!-.!3*'!-.!2'%*3/'!-$'!%)-09.%734%)-!'AA'9-!.A!/0&%/.;%(%)_!-$'!5/.-$/.2(0)!
         -02'!-'*-B!\!F$/.2(!L%'2.*-B!"PG`6GG_ZOJnbB!
   Z`B! K;)'/!F8!K441..,!Y8!]3(0'!\8!<%/%)9'109X!>B!F'*-0)7!A./!)'1!./%4!%)-09.%734%)-*!10-$!Y>!/'*0*-%)-!
         /3**'44*!&05'/!&').2!/'%7')-*B!%)!0)!&0-/.!*-3,:B!F$/.2(!L%'2.*-B!"PG`6GPH_OJ"nZB!
   ZIB!! d3(0-X%!R8!<'9+%!C8!j')*0)7!u8!a.0-$!<8!‚3'$4*,./A!CB!T%A'-:8!5$%/2%9.,:)%209*8!%),!
         5$%/2%9.+0)'-09*!.A!<>p!ZHWOH`HWW%)!./%48!,0/'9-![%9-./!@%!0)$0(0-./WW%A-'/!234-054'!,.*0)7!0)!
         $'%4-$:!2%4'!*3(E'9-*B!K3/!\!V40)!Q$%/2%9.4B!"PPZ6JG=G"?_bO`WbPB!
   ZZB!! <%740)!F8!L044%/5!>8!F/05.,0!>8!K4%4%2:!#8!<344'/!L8!>7').!jB!C'%*3/0)7!./%4!,0/'9-!0)$0(0-./*!.A!
         -$/.2(0)!%),!A%9-./!@%_!%!/'9.22'),%-0.)!A/.2!-$'!T3(9.220--''!.)!V.)-/.4!.A!
         >)-09.%734%-0.)!.A!-$'!T90')-0A09!%),!T-%),%/,0X%-0.)!V.220--''!.A!-$'!#)-'/)%-0.)%4!T.90'-:!.)!
         F$/.2(.*0*!%),!L%'2.*-%*0*B!\!F$/.2(!L%'2.*-!"PG`6GG_OZJnJPB!
   ZJB! <344'/!L]8!Y')*0)7!>j8!Q/0)*!CL8!>7)'440!u8!V.$')!>8!u%443*!>T8!C0**'410-X![8!]%*+.(!u8!
         T9$'44.)7!T8!T'7'/*!>8!K0)*-'0)WRaF!R.*'W]%)70)7!T-3,:!0)&'*-07%-./*B!>!,.*'W/%)70)7!*-3,:!
         '&%43%-0)7!.)9'W,%04:!./%4!%,20)0*-/%-0.)!.A!-$'!A%9-./!@%!0)$0(0-./!/0&%/.;%(%)!0)!-$'!-/'%-2')-!
         .A!5%-0')-*!10-$!%93-'!*:25-.2%-09!,''5!&'0)!-$/.2(.*0*_!-$'!K0)*-'0)WRaF!R.*'W]%)70)7!
         T-3,:B!<4..,B!"PPb6GG"=J?_""I"WOB!
   ZOB!! >7)'440!u8!u%443*!>8!u.4,$%('/!T‚8!L%%*!T8!L30*2%)!Ca8!L344!]R8!d%++%/!>d8!C0**'410-X![8!
         T9$'44.)7!T6!^R#@%WRaF!T-3,:!#)&'*-07%-./*B!F/'%-2')-!.A!5/.;02%4!,''5W&'0)!-$/.2(.*0*!10-$!
         -$'!./%4!,0/'9-!A%9-./!@%!0)$0(0-./!/0&%/.;%(%)!=<>p!ZHWOH`H?_!-$'!^R#@%WRaF!=^/%4!R0/'9-!
         [%9-./!@%!#)$0(0-./!<>p!ZHWOH`H!0)!Q%-0')-*!j0-$!>93-'!T:25-.2%-09!R''5Wa'0)!F$/.2(.*0*?!
         *-3,:B!V0/934%-0.)B!"PPO6GGJ="?_GbPWOB!
   ZbB!! K/0+**.)!<#8!<.//0*!YV8!R%$4!^K8!L%%*!T8!L30*2%)!Ca8!d%++%/!>d8!C3'$4$.A'/!K8!R0'/07!V8!
         C0**'410-X![8!dƒ4'(.!Q6!^R#@%WL#Q!T-3,:!#)&'*-07%-./*B!>!.)9'W,%04:8!./%48!,0/'9-![%9-./!@%!
         0)$0(0-./8!/0&%/.;%(%)!=<>p!ZHWOH`H?8!A./!-$/.2(.5/.5$:4%;0*!%A-'/!-.-%4!$05!/'54%9'2')-B!
         V0/934%-0.)!"PPJ6GGI=""?_"`OIWbGB!
   ZHB!! K/0+**.)!<#8!<.//0*!Y8!R%$4!^K8!L%%*!T8!L30*2%)!Ca8!d%++%/!>d8!C0**'410-X![8!dƒ4'(.!Q6!^R#@%W
         L#Q!T-3,:!#)&'*-07%-./*B!^/%48!,0/'9-![%9-./!@%!0)$0(0-0.)!10-$!<>p!ZHWOH`H!A./!-$'!5/'&')-0.)!.A!
         &').3*!-$/.2(.'2(.40*2!%A-'/!-.-%4!$05!/'54%9'2')-B!\!F$/.2(!L%'2.*-B!"PPJ6I=G?_G"GWbB!
   JPB!! F3/50'!>u8![0*$'/!jR8!<%3'/!d>8!d1.)7!YC8!#/10)!Cj8!dƒ4'(.!Q8!C0**'410-X![8!u')-!C6!^,0@%W
         d)''!T-3,:!u/.35B!<>p!ZHWOH`H_!%)!./%48!,0/'9-!A%9-./!@%!0)$0(0-./!A./!-$'!5/'&')-0.)!.A!&').3*!
         -$/.2(.'2(.40*2!0)!5%-0')-*!%A-'/!-.-%4!+)''!/'54%9'2')-B!>!5$%*'!##!,.*'W/%)70)7!*-3,:B!\!
         F$/.2(!L%'2.*-B!"PPZ6`=GG?_"IOHWbJB!
   JGB! K#MTFK#MnQK!#)&'*-07%-./*8!<•44'/!L]8!Q/0)*!CL8!Y')*0)!>j8!R'9.3*3*!L8!\%9.(*.)!<[8!C0)%/!K8!
         V$432*+:!\8!a'/$%22'!Q8!j'44*!Q8!>7)'440!u8!V.$')!>8!<'/+.10-X!TR8!<.3)%2'%3;!L8!R%&0,*.)!
         <Y8!C0**'410-X![8!u%443*!>T8!]%*+.(!uK8!T9$'44.)7!T8!T'7'/*!>B!^/%4!/0&%/.;%(%)!A./!-$'!-/'%-2')-!
         .A!*:25-.2%-09!5342.)%/:!'2(.40*2B!M!K)74!\!C',B!"PG"6`JJ=GI?_G"bOWHOB!
   J"B! K#MTFK#M!#)&'*-07%-./*8!<%3'/*%9$*!]8!<'/+.10-X!TR8!</'))'/!<8!<344'/!L]8!R'9.3*3*!L8!u%443*!
         >T8!Y')*0)7!>j8!C0**'410-X![8!Q/0)*!CL8!]%*+.(!uK8!T'7'/*!>8!a'/$%22'!Q8!j'44*!Q8!>7)'440!u8!
         <.3)%2'%3;!L8!V.$')!>8!R%&0,*.)!<Y8!Q0.&'44%![8!T9$'44.)7!TB!^/%4!/0&%/.;%(%)!A./!*:25-.2%-09!
         &').3*!-$/.2(.'2(.40*2B!M!K)74!\!C',B!"PGP6`J`="J?_"IHHWZGPB!
   !



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   J`B! K/0+**.)!<#8!<.//0*!YV8![/0',2%)!]\8!L%%*!T8!L30*2%)!Ca8!d%++%/!>d8!<%),'4!F\8!<'9+2%))!L8!
         C3'$4$.A'/!K8!C0**'410-X![8!u''/-*!j6!]KV^]RG!T-3,:!u/.35B]0&%/.;%(%)!&'/*3*!').;%5%/0)!
         A./!-$/.2(.5/.5$:4%;0*!%A-'/!$05!%/-$/.54%*-:B!M!K)74!\!C',B!"PPb6`Zb="J?_"OJZWOZB!
   JIB! Y%**')!C]8!>7').!j8!<.//0*!YV8!Y0'('/2%)!\]8!].*')9$'/!M8!<%),'4!F\8!C0**'410-X![8!F3/50'!>u6!
         ]KV^]R`!#)&'*-07%-./*B!]0&%/.;%(%)!&'/*3*!').;%5%/0)!A./!-$/.2(.5/.5$:4%;0*!%A-'/!-.-%4!+)''!
         %/-$/.54%*-:B!M!K)74!\!C',B!"PPb6`Zb="J?_"OOJWbJB!
   JZB! $--5_ee111B%99'**,%-%BA,%B7.&e,/37*%-A,%r,.9*e4%('4e"PGIeP""IPJ*PGZ4(4B5,AB!>**'**',!
         ^9-.('/!b8!"PGJB!
   JJB! $--5_ee111B'2%B'3/.5%B'3e,.9*e')ru<e,.932')-r40(/%/:eKQ>]rW
         rT322%/:rA./r-$'r53(409e$32%)ePPPHIIejVZPPPZOGPHB5,A!>**'**',!^9-.('/!b8!"PGJB!
   JOB! ]^VdKF!>[!T-3,:!#)&'*-07%-./*B!]0&%/.;%(%)W.)9'!,%04:8!./%48!,0/'9-!A%9-./!@%!0)$0(0-0.)!
         9.25%/',!10-$!&0-%20)!d!%)-%7.)0*2!A./!5/'&')-0.)!.A!*-/.+'!%),!K2(.40*2!F/0%4!0)!>-/0%4!
         [0(/044%-0.)_!/%-0.)%4'!%),!,'*07)!.A!-$'!]^VdKF!>[!*-3,:B!>2!L'%/-!\B!"PGP6GZH=`?_`IPW`IOB!
   JbB!! @%/'4-.!>,V.22!T'5!b!"PGG!T5.)*./!</0'A0)7!R.9!NVC"OPOHOB5,AB!
   JHB!! T'5-B!b8!"PGG!W![R>!>,!V.22!</0'A0)7!R.932')-B5,AB!
   OPB!! "P"I`H^/07G*PPPV40)Q$%/2]WGB5,AB!
   OGB! M%+%).!p8!d.),.!F8!^*%)%0!L8!C3/%*'!p8!M%+%*$02%!p8!>*%).!L8!>E0.+%!C8!T%+%0!d8!#),')!p8!
         C3/.$%/%!FB!V40)09%4!3*'A34)'**!.A!2'%*3/0)7!5/.-$/.2(0)!-02'!%),!*.43(4'!A0(/0)!4'&'4*!0)!
         \%5%)'*'!5%-0')-*!10-$!%-/0%4!A0(/044%-0.)!/'9'0&0)7!/0&%/.;%(%)B!\!V%/,0.4B!"PGZ6JZ=`?_GbZWHPB!
   O"B! Y0550!u8!>/,0**0).!R8!x30)-%&%44%!]8!V'/&'440)!uB!N/7')-!2.)0-./0)7!.A!,0/'9-!./%4!%)-09.%734%)-*!
         0)!5%-0')-*!10-$!%-/0%4!A0(/044%-0.)_!%!-')-%-0&'!%55/.%9$!(%*',!.)!/.3-0)'!4%(./%-./:!-'*-*B!\!
         F$/.2(!F$/.2(.4:*0*B!"PGI6`b="?_"JHWOIB!!
   O`B! F/05.,0!>8!V$%)-%/%)7+34!a8!u30)'-!V8!T%2%2%!CCB!F$'!#)-'/)%-0.)%4!M./2%40X',!]%-0.!
         9%40(/%-',!A./!/0&%/.;%(%)!$%*!-$'!5.-')-0%4!-.!)./2%40X'!5/.-$/.2(0)!-02'!/'*34-*!A./!
         /0&%/.;%(%)W-/'%-',!5%-0')-*B!/'*34-*!.A!%)!0)!&0-/.!*-3,:B!\!F$/.2(!L%'2.*-!"PGG6H_""JnbB!
   OIB! L%/')('/7!\8!C%/;!T8!d/ƒ2'/!]8!u0'*'!V8!j'0**!VB!R'-'/20)%-0.)!.A!%)!0)-'/)%-0.)%4!*')*0-0&0-:!
         0),';!.A!-$/.2(.54%*-0)!/'%7')-*!3*0)7!%!jL^!-$/.2(.54%*-0)!%*!9%40(/%-./!A./!54%*2%!*50+',!
         10-$!/0&%/.;%(%)B!<4..,!V.%734![0(/0).4:*0*B!"PGG6""=b?_J`OWIGB!
   OZB!! @%/'4-.!>,V.22!T'5!b!"PGG!F/%)*9/05-!NVC"OOZbbB5,A!5B!GbH8!=/'&0'1'/?!5B!"HG8!IGZ!
   OJB! u.)7!#p8!d02!]<B!#25./-%)9'!.A!5$%/2%9.+0)'-09!5/.A04'!%),!&%/0%(040-:!%*!,'-'/20)%)-*!.A!,.*'!
         %),!/'*5.)*'!-.!,%(07%-/%)8!/0&%/.;%(%)8!%),!%50;%(%)B!V%)!\!V%/,0.4B!"PG`6"H=O!T3554?_T"IW``B!
   OOB! $--5_ee111B%99'**,%-%BA,%B7.&e,/37*%-A,%r,.9*e4%('4e"PG"eP""ZG"*PPH4(4B5,A!=%**'**',!
         ^9-.('/!b8!"PGJ?B!
   ObB! $--5_ee111B%99'**,%-%BA,%B7.&e,/37*%-A,%r,.9*e4%('4e"PG"e"P"GZZ*PPP4(4B5,A!=%**'**',!
         ^9-.('/!b8!"PGJ?B!
   OHB! u/%$%2!R\8!]'09$2%)!CK8!j'/)'9+'!C8!L*3'$!pL8!#X'2!]8!T.3-$1./-$!C]8!j'0!p8!Y0%.!\8!
         u.34,0)7!C]8!C.--!d8!V$044%/07'!p8!C%V3/,:!FK8!j.//%44!V8!d'42%)!\>B!T-/.+'8!(4'',0)78!%),!
         2./-%40-:!/0*+*!0)!'4,'/4:!2',09%/'!(')'A090%/0'*!-/'%-',!10-$!,%(07%-/%)!./!/0&%/.;%(%)!A./!
         ).)&%4&34%/!%-/0%4!A0(/044%-0.)B!\>C>!#)-'/)!C',B!"PGJ!^9-!`B!,.0_!
         GPBGPPGeE%2%0)-'/)2',B"PGJBZHZIB!
   (




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                                APPENDIX A




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                                         0DWHULDOV5HOLHG2Q5HYLHZHGDQGRU&RQVLGHUHGE\-DQ5RVLQJ3K'

 $OOPDWHULDOVUHIHUHQFHGDQGRUGLVFXVVHGZLWKLQWKHUHSRUWDUHLQFRUSRUDWHG,QDGGLWLRQWRWKHPDWHULDOVVSHFLILFDOO\UHIHUHQFHGZLWKLQWKHUHSRUW
                                      WKHRWKHUPDWHULDOVUHOLHGRQUHYLHZHGDQGRUFRQVLGHUHGDUHDVIROORZV

3URGXFW/DEHOV
;DUHOWR63& (0$
;DUHOWR/DEHO 

/LWHUDWXUH
$GFRFN'0DQG*RVVHOLQ5'LUHFW2UDO$QWLFRDJXODQWV '2$&V LQWKH/DERUDWRU\5HYLHZ7KURPE5HV
$JDUZDO6HWDOCurrent Trial-Associated Outcomes With Warfarin in Prevention of Stroke in Patients with Nonvalvular Atrial Fibrillation: A Meta-
analysis. $UFK,QWHUQ0HG  
$JHQR:HWDOOral Anticoagulant Therapy: Antithrombotic Therapy and Prevention of Thrombosis, 9 ed: American College of Chest Physicians
                                                                                                             th

Evidence-Based Clinical Practice Guidelines. &+(67  
$JQHOOL*HWDOTreatment of Proximal Deep-Vein Thrombosis With the Oral Direct Factor Xa Inhibitor Rivaroxaban (BAY 59-7939) &LUFXODWLRQ

$O$LHVK\)HWDOClinical evaluation of laboratory methods to monitor exposure of rivaroxaban at trough and peak in patients with atrial fibrillation (XU-
&OLQ3KDUPDFRO  
$OTXZDL]DQL0HWDOAnticoagulants: A Review of the Pharmacology, Dosing and Complications. &XUU(PHUJ+RVS0HG5HS  
$QVHOO-Should Newer Oral Anticoagulants Be Used as First-Line Agents to Prevent Thromboembolism in Patients With Atrial Fibrillation and Risk
Factors for Stroke or Thromboembolism? New Oral Anticoagulants Should Not Be Used as First-Line Agents to Prevent Thromboembolism in Patients with
Atrial Fibrillation. &LUFXODWLRQ  
$QVHOO-Warfarin Versus New Agents: Interpreting the Data. +HPDWRORJ\  
$UPEUXVWHU'$DQG3U\7Limit of Blank, Limit of Detection and Limit of Quantitation &OLQ%LRFKHP5HY9RO L  
$VPLV/0HWDORivaroxaban: Quantification by anti-FXa assay and influence on coagulation tests: A study in 9 Swiss laboratories 7KURPE5HV

%DJOLQ7The role of the laboratory in treatment with new oral anticoagulants -7KURPEDQG+DHPRVW 6XSSO 
%DJOLQ7HWDOMeasuring oral direct inhibitors of thrombin and factor Xa: a recommendation from the Subcommittee on Control of Anticoagulation of the
Scientific and Standardization Committee of the International Society on Thrombosis and Haemostasis -7KURPEDQG+DHPRVW
%DUFR6HWDOHome treatment of patients with low-risk pulmonary embolism with the oral factor Xa inhibitor rivaroxaban: Rationale and design of the HoT-
PE Trial 7KURPE+DHPRVW LQFOXGLQJ6XSSOHPHQWDU\0DWHULDOV 
%DUFR6HWDONew oral anticoagulants in elderly patients. %HVW3UDFWLFH 5HVHDUFK&OLQLFDO+DHPDWRORJ\  
%DUG\*HWDOIs anti-factor Xa chromogenic assay for Rivaroxaban appropriate in clinical practice? Advantages and comparative drawbacks 7KURPE5HV

%DVLOL6HWDOAtrial fibrillation is not associated with increased risk of venous thromboembolism: Results from ARAPACIS study 7KURPE+DHPRVW
%DXHU.$Pros and cons of new oral anticoagulants $6+(GXFDWLRQ%RRN  




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%DXHU.$HWDODabigatran, ROCKET Atrial Fibrillation, and Beyond 6WURNH>VXSSO@66
%HFDWWLQL&HWDOOld and new oral anticoagulants for venous thromboembolism and atrial fibrillation: A review of the literature. 7KURPERVLV5HVHDUFK
  
%HOO6HWDONew antithrombotic drugs for atrial fibrillation: caution is needed. 7KH/DQFHW  H
%HUJH(HWDOThe Factor V Leiden, Prothrombin Gene 20210GA, Methylenetetrahydrofolate Reductase 677CT and Platelet Glycoprotein IIIa 1565TC
Mutations in Patients With Acute Ischemic Stroke and Atrial Fibrillation 6WURNH
%H\HU:HVWHQGRUI-DQG*HKULVFK6Pharmacokinetics of rivaroxaban in adolescents +DPRVWDVHRORJLH
%H\HU:HVWHQGRUI-DQG6LHJHUW*Of men and meals -7KURPEDQG+DHPRVW
%ORHPHQ6HWDOLarge inter-individual variation of the pharmacodynamic effect of anticoagulant drugs on thrombin generation +DHPDWRORJLFD
%UHNHOPDQV03$HWDOClinical impact and course of major bleeding with edoxaban versus vitamin K antagonists 7KURPE+DHPRVW
%URZQ$Vantage Point – As Eliquis limps on Xarelto dominates oral blood thinners. (39DQWDJH  
%XOOHU+5HWDOA dose-ranging study evaluating once-daily oral administration of the factor Xa inhibitor rivaroxaban in the treatment of patients with
acute symptomatic deep vein thrombosis: the EINSTEIN-DVT Dose-Ranging Study %/22'6HSW9RO  
%XUJKDXV5HWDOEvaluation of the Efficacy and Safety of Rivaroxaban Using a Computer Model for Blood Coagulation 3OR621($SU  H
%XUQV0Janssen, Forest Labs dominate top five in spent advertising. 'UXJVFRP  
&DLUQV-$Which Oral Anticoagulant for Which Atrial Fibrillation Patient: Recent Clinical Trials and Evidence-Based Choices. &DQDGLDQ-RXUQDORI
&DUGLRORJ\  
&DPP$-HWDOXANTUS: a real-world, prospective, observational study of patients treated with rivaroxaban for stroke prevention in atrial fibrillation 
(XU+HDUW-
&DSRGDQQR'HWDONovel oral anticoagulants versus warfarin in non-valvular atrial fibrillation: A meta-analysis of 50,578 patients. ,QWHUQDWLRQDO-RXUQDO
RI&DUGLRORJ\  
&DSUDQ]DQR3HWDOPersonalizing oral anticoagulant treatment in patients with atrial fibrillation ([SHUW5HY&DUGLRYDVF7KHU  
&DVWHOOXFFL/$HWDOClinical and Safety Outcomes Associated With Treatment of Acute Venous Thromboembolism: A Systematic Review and Meta-
analysis -$0$  
&KDQ1&HWDONew oral anticoagulants for stroke prevention in atrial fibrillation: impact of study design, double counting and unexpected findings on
interpretation of study results and conclusions 7KURPE+DHPRVW
&KDQ1&HWDOReal-world variability in dabigatran levels in patients with atrial fibrillation -7KURPE+DHPRVW
&KDQJ-%HWDOA novel, rapid method to compare the therapeutic windows of oral anticoagulants using the Hill coefficient 6FLHQWLILF5HSRUWV
&KRL-&HWDOSurvey of the use of warfarin and the newer anticoagulant dabigatran in patients with atrial fibrillation. 'RYH3UHVV  
&RSSHQV0HWDOStroke prevention in older adults with atrial fibrillation. &0$-  
&XNHU$HWDOLaboratory Measurement of the Anticoagulant Activity of Non-Vitamin K Oral Anticoagulants. -RXUQDORIWKH$PHULFDQ&ROOHJHRI
&DUGLRORJ\  
'H&DWHULQD5HWDONew Oral Anticoagulants in Atrial Fibrillation and Acute Coronary Syndromes: ECS Working Group on Thrombosis – Task Force on
Anticoagulants in Heart Disease Position Paper. -RXUQDORIWKH$PHULFDQ&ROOHJHRI&DUGLRORJ\  
'H&UHDP1HWDOAbnormal uterine bleeding in VTE patients treated with rivaroxaban compared to vitamin K antagonists 7KURPE5HV  
'HHGZDQLD3&HWDONew Oral Anticoagulants in Elderly Patients with Atrial Fibrillation. 7KH$PHULFDQ-RXUQDORI0HGLFLQH  
GHO=RSSR*-HWDONew Options in Anticoagulation for Atrial Fibrillation. 1(-0  




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'HPSIOH&DUO(ULNDirect Oral Anticoagulants – Pharmacology, Drug Interactions, and Side Effects 6HPLQ+HPDWRO
'L1LVLR0HWDORisk of major bleeding in patients with venous thromboembolism treated with rivaroxaban or with heparin and vitamin K antagonists 
7KURPE+DHPRVW LQFOXGLQJ6XSSOHPHQWDU\0DWHULDOV 
'RX[ILOV-HWDOAssessment of the impact of rivaroxaban on coagulation assays: Laboratory recommendations for the monitoring of rivaroxaban and
review of the literature 7KURPE5HV
'RX[ILOV-HWDOEdoxaban: Impact on routine and specific coagulation assays 7KURPE+DHPRVW LQFOXGLQJ6XSSOHPHQWDU\0DWHULDOV 
'RX[ILOV-HWDOImpact of apixaban on routine and specific coagulation assays: a practical laboratory guide 7KURPE+DHPRVW
(EQHU0HWDOPoint-of-Care Testing of Coagulation in Patients Treated With Non-Vitamin K Antagonist Oral Anticoagulants 6WURNH
(,167(,1,QYHVWLJDWRUV7KHOral Rivaroxaban for Symptomatic Venous Thromboembolism 1(QJO-0HG
(,167(,13(,QYHVWLJDWRUV7KHOral Rivaroxaban for the Treatment of Symptomatic Pulmonary Embolism 1(QJO-0HG
(OOLV0+HWDOBleeding in patients with atrial fibrillation treated with dabigatran, rivaroxaban or warfarin: A retrospective population-based cohort
study (XURSHDQ-RXUQDORI,QWHUQDO0HGLFLQH  
(ULNVVRQ%,HWDOA Once-Daily, Oral Direct Factor Xa Inhibitor, Rivaroxaban (BAY 59-7939), for Thromboprophylaxis After Total Hip Replacement 
&LUFXODWLRQ
(ULNVVRQ%,HWDOOral, director Factor Xa inhibition with BAY 59-7939 for the prevention of venous thromboembolism after total hip replacement -
7KURPE+DHPRVW
(ULNVVRQ%,HWDORivaroxaban versus Enoxaparin for Thromboprophylaxis after Hip Arthroplasty 1(QJO-0HG
(VPRQ&7HWDOTargeting factor Xa and thrombin: impact on coagulation and beyond 7KURPE+DHPRVW
([HFXWLYH6WHHULQJ&RPPLWWHHRQEHKDOIRIWKH52&.(7$)6WXG\,QYHVWLJDWRUV7KHRivaroxaban – Once daily, oral, direct factor Xa inhibition
Compared with vitamin K antagonism for prevention of stroke and Embolism Trial in Atrial Fibrillation: Rationale and Design of the ROCKET AF study $P
+HDUW-H
)DYDORUR(-DQG/LSSL*Laboratory Testing in the Era of Direct or Non-Vitamin K Antagonist Oral Anticoagulants: A Practical Guide to Measuring
Their Activity and Avoiding Diagnostic Errors 6HPLQ7KURPE+DHPRVW
)DYDORUR(-Welcome to Seminars in Thrombosis & Hemostasis 2012. 6HPLQ7KURPE+HPRVW  
)DZROH$HWDOPratical management of bleeding due to the anticoagulants dabigatran, rivaroxaban, and apixaban. &OHYHODQG&OLQLF-RXUQDORI0HGLFLQH
  
)UDQFDUW6-HWDOPerformance of coagulation tests in patients on therapeutic doses of rivaroxaban. 7KURPE+DHPRVW LQFOXGLQJ
6XSSOHPHQWDO0DWHULDOV 
)UH\EXUJHU*HWDOCoagulation parameters in patients receiving dabigatran etexilate or rivaroxaban: Two observational studies in patients undergoing
total hip or total knee replacement 7KURPE5HV
)URVW&HWDOA randomized direct comparison of the pharmacokinetics and pharmacodynamics of apixaban and rivaroxaban &OLQLFDO3KDUPDFRORJ\
$GYDQFHVDQG$SSOLFDWLRQV  
*HURW]LDIDV*7HWDOIn vitro inhibition of thrombin generation, after tissue factor pathway activation, by the oral, direct factor Xa inhibitor rivaroxaban -
7KURPE+DHPRVW
*HURW]LDIDV*7HWDOTowards a standardization of thrombin generation assessments: The influence of tissue factor, platelets and phospholipids
concentration on the normal values of Thrombogram-Thrombinoscope assay 7KURPERVLV-RXUQDO
*LRUJL0$HWDORivaroxaban in atrial fibrillation. 9DVFXODU+HDOWKDQG5LVN0DQDJHPHQW  




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*LUJLV,*HWDOPopulation Pharmacokinetics and Pharmacodynamics of Rivaroxaban in Patients with Non-valvular Atrial Fibrillation: Results from
ROCKET AF -&OLQ3KDUPDFRO  
*RPHV7HWDORates of hemorrhage during warfarin therapy for atrial fibrillation. &0$-  
*RQJ,<DQG.LP5%Importance of Pharmacokinetic Profile and Variability as Determinants of Dose and Response to Dabigatran, Rivaroxaban, and
Apixaban. &DQDGLDQ-RXUQDORI&DUGLRORJ\66
*RUVW5DVPXVVHQ$HWDORivaroxaban versus warfarin and dabigatran in atrial fibrillation: comparative effectiveness and safety in Danish routine care 
3KDUPDFRHSLGHPLRORJ\DQG'UXJ6DIHW\
*RVVHOLQ5HWDOComparison of the effect of the anti-Xa direct oral anticoagulants apixaban, edoxaban, and rivaroxaban on coagulation assays. ,QWO-QO
/DE+HP
*UDII-HWDOEffects of the Oral, Direct Factor Xa Inhibitor Rivaroxaban on Platelet-Induced Thrombin Generation and Prothrombase Activity -&OLQ
3KDUPDFRO LQFOXGLQJ(UUDWXP 
*UDQJHU&%HWDONewer Oral Anticoagulants Should be Used as First-Line Agents to Prevent Thromboembolism in Patients with Atrial Fibrillation and
Risk Factors for Stroke and Thromboembolism. &LUFXODWLRQ-RXUQDORIWKH$PHULFDQ+HDUW$VVRFLDWLRQ  
+DQNH\*-HWDORivaroxaban compared with warfarin in patients with atrial fibrillation and previous stroke or transient ischemic attack: a subgroup
analysis of ROCKET AF. /DQFHW1HXURORJ\  
+DUGHU6Pharmacokinetic and pharmacodynamic evaluation of rivaroxaban: considerations for the treatment of venous thromboembolism 7KURPERVLV
-RXUQDO
+DUHO=HWDOComparisons between Novel Oral Anticoagulants and Vitamin K Antagonists in Patients with CKD. -$61  
+DUHQEHUJ-HWDOClinical trials with new direct oral anticoagulants: Additive value of indirect comparisons also named network meta-analyses.
3KOHERORJLH  
+DUHQEHUJ-HWDODetermination of an international sensitivity index of thromboplastin reagents using a WHO thromboplastin as calibrator for plasma
spiked with rivaroxaban. %ORRG&RDJXODWLRQDQG)LEULQRO\VLV
+DUW5*HWDOIntracranial Hemorrhage in Atrial Fibrillation Patients During Anticoagulation With Warfarin or Dabigatran: The RE-LY Trial. 6WURNH
+HUDXOW-3HWDOComparative Effects of Two Direct and Indirect Factor Xa Inhibitors on Free and Clot-Bound Prothrombinase -RXQUDORI3KDUPDFRORJ\

+LMD]L=HWDOEfficacy and Safety of Dabigatran Compared with Warfarin in Relation to Baseline Renal Function in Patients with Atrial Fibrillation: A RE-
LY Trial Analysis. &LUFXODWLRQ-RXUQDORIWKH$PHULFDQ+HDOWK$VVRFLDWLRQ  
+LOODUS$HWDOEffects of the oral, direct factor Xa inhibitor rivaroxaban on commonly used coagulation assays. -7KURPE+DHPRVW
+ROVWHU,/HWDONew Oral Anticoagulants Increase Risk for Gastrointestinal Bleeding: A Systemic Review and Meta-analysis. *DVWURHQWHURORJ\  

+RUL0HWDORivaroxaban vs. Warfarin in Japanese Patients With Atrial Fibrillation: The J-ROCKET Study &LUF-
,LQR0HWDOCharacterization of the binding of factor Xa to fibrinogen/fibrin derivatives and localization of the factor Xa binding site on fibrinogen (XU-
%LRFKHP
,NHGD.DQG7DFKLEDQD+Clinical implication of monitoring rivaroxaban and apixaban by using anti-factor Xa assay in patients with non-valvular atrial
fibrillation -RXUQDORI$UUK\WKPLD
-RXUGL*HWDOAssociation rate constants rationalise the pharmacodynamics of apixaban and rivaroxaban 7KURPE+DHPRVW




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.DNNDU$.HWDOExtended duration rivaroxaban versus short-term enoxaparin for the prevention of venous thromboembolism after total hip arthroplasty:
a double-blind, randomised controlled trial. 7KH/DQFHW  
.DQHNR0HWDOConfirmation of Model-based Dose Selection for a Japanese Phase III Study of Rivaroxaban in Non-valvular Atrial Fibrillation Patients 
'UXJ0HWDE3KDUPDFRNLQHW  
.RPRFVL$HWDOUse of New-Generation Oral Anticoagulant Agents in Patients Receiving Antiplatelet Therapy After an Acute Coronary Syndrome:
Systematic Review and Meta-analysis of Randomized Controlled Trials. $0$  
.RQLJVEUXJJH2HWDOAnti-coagulation assessment with prothrombin time and anti-Xa assays in real-world patients on treatment with rivaroxaban $QQ
+HPDWRO
.UHPHUV50:HWDOComment on the use of computational models to study the effect of apixaban and rivaroxaban on thrombin generation. 7KURPE
+DHPRVW
.UHPHUV50:HWDOThe balance of pro- and anticoagulant processes underlying thrombin generation -7KURPE+DHPRVW
.UHXW]5Pharmacokinetics and Pharmacodynamics of Rivaroxaban – An Oral, Direct Factor Xa Inhibitor. &XUUHQW&OLQLFDO3KDUPDFRORJ\
.XELW]D'HWDOBody Weight Has Limited Influence on the Safety, Tolerability, Pharmacokinetics, or Pharmacodynamics of Rivaroxaban (BAY 59-7939) in
Healthy Subjects -&OLQ3KDUPDFRO LQFOXGLQJ(UUDWD 
.XELW]D'HWDOEffects of renal impairment on the pharmacokinetics, pharmacodynamics and safety of rivaroxaban, an oral direct Factor Xa inhibitor %U-
&OLQ3KDUPDFRO  
.XELW]D'HWDOEvidence-Based Development and Rationale for Once-Daily Rivaroxaban Dosing Regimens Across Multiple Indications &OLQLFDODQG
$SSOLHG7KURPERVLV+HPRVWDVLV  
.XELW]D'HWDOSafety, pharmacodynamics, and pharmacokinetics of BAY 59-7939 – an oral, direct Factor Xa inhibitor – after multiple dosing in healthy
male subjects (XU-&OLQ3KDUPDFRO
/DQH'$DQG/LS*<+Patient’s values and preferences for stroke prevention in atrial fibrillation: balancing stroke and bleeding risk with oral
anticoagulation 7KURPE+DHPRVW
/DVVHQ05HWDORivaroxaban versus Enoxaparin for Thromboprophylaxis after Total Knee Arthroplasty 1(QJO-0HG
/HLO7$HWDOQuantification of Apixaban’s Therapeutic Utility in Prevention of Venous Thromboembolism: Selection of Phase III Trial Dose &OLQLFDO
3KDUPDFRORJ\ 7KHUDSHXWLFV  
/LS*<+HWDOIndirect Comparisons of New Oral Anticoagulant Drugs for Efficacy and Safety When Used for Stroke Prevention in Atrial Fibrillation.
-RXUQDORIWKH$PHULFDQ&ROOHJHRI&DUGLRORJ\  
/LSSL*DQG)DYDORUR(-Recent guidelines and recommendations for laboratory assessment of the direct oral anticoagulants (DOACs): is there
consensus? &OLQ&KHP/DE0HG  
/LSSL*HWDOUrgent monitoring of direct oral anticoagulants in patients with atrial fibrillation: a tentative approach based on routine laboratory tests -
7KURPE7KURPERO\VLV
/RZ6HWDOCorrelation between rivaroxaban (Xarelto) plasma activity, patient clinical variables and outcomes in a South African centre 6$IU0HG-
  
0DDQ$HWDONewer Anticoagulants in Cardiovascular Disease: A Systemic Review of the Literature. &DUGLRORJ\LQ5HYLHZ  
0DGOHQHU.DQG+DPP&New anticoagulants: Is monitoring possible and needed? +HU]
0DMHHG$HWDOBleeding events with dabigatran or warfarin in patients with venous thromboembolism 7KURPE+DHPRVW




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0DQGHPD-:HWDOTherapeutic Index of Anticoagulants for Prevention of Venous Thromboembolism Following Orthopedic Surgery: A Dose-Response
Meta-Analysis &OLQLFDO3KDUPDFRORJ\ 7KHUDSHXWLFV  
0DQWKD6HWDOAn indirect comparison of dabigatran, rivaroxaban and apixaban for atrial fibrillation. 7KURPERVLVDQG+DHPRVWDVLV  
0DULMRQ(HWDONew antithrombotic drugs and European approval processes. 7KH/DQFHW  
0DUOX5HWDOEffect of non-specific reversal agents on anticoagulant activity of dabigatran and rivaroxaban: A randomized crossover ex vivo study in
health volunteers. 7KURPERVLVDQG+DHPRVWDVLV  
0D[ZHOO:HWDOWill Newer Anticoagulants Improve Therapy Persistence? $UFK,QWHUQ0HG  
0HJD-/HWDORivaroxaban in Patients with a Recent Acute Coronary Syndrome 1(QJO-0HG
0LOOHU&6HWDOMeta-Analysis of Efficacy and Safety of New Oral Anticoagulants (Dabigatran, Rivaroxaban, Apixaban) Versus Warfarin in Patients With
Atrial Fibrillation. $PHULFDQ-RXUQDORI&DUGLRORJ\  
0LVPHWWL3DQG/DSRUWH6New oral antithrombotics: a need for laboratory monitoring -7KURPE+DHPRVW
0L\DUHV0$HWDONewer oral anticoagulants: A review of laboratory monitoring options and reversal agents in the hemorrhagic patient. $P-+HDOWK
6\VW3KDUP  
0RUDOHV9LGDO6HWDODirect thrombin inhibitors and factor Xa inhibitors in patients with cerebrovascular disease. ([SHUW5HYLHZV/WG  
0XHFN:HWDOClinical Pharmacokinetic and Pharmacodynamic Profile of Rivaroxaban &OLQ3KDUPDFRNLQHW  
0XHFN:HWDOPopulation Pharmacokinetic Analyses in Patients Treated for Acute Deep-Vein Thrombosis and Exposure Simulations in Patients with
Atrial Fibrillation Treated for Stroke Prevention &OLQ3KDUPDFRNLQHW  
0XHFN:HWDOPopulation Pharmacokinetics and Pharmacodyanmics of Rivaroxaban – an Oral, Direct Factor Xa Inhibitor – in Patients Undergoing
Major Orthopedic Surgery &OLQ3KDUPDFRNLQHW  
0XHFN:HWDOPopulation pharmacokinetics and pharmacodynamics of once- and twice-daily rivaroxaban for the prevention of venous thromboembolism
in patients undergoing total hip replacement 7KURPE+DHPRVW
1DNDQR<HWDOClinical usefulness of measuring prothrombin time and soluble fibrin levels in Japanese patients with atrial fibrillation receiving
rivaroxaban -RXUQDORI&DUGLRORJ\
2¶5LRUGDQ0No profound difference between oral anticoagulants, comparison suggests. 7KHKHDUWRUJ  
2OHVHQ-%HWDONon-vitamin K antagonist oral anticoagulation agents in anticoagulant naïve atrial fibrillation patients: Danish nationwide descriptive
data 2011-2013 (XURSDFH
3DWHO05HWDORivaroxaban versus Warfarin in Nonvalvular Atrial Fibrillation 1(QJO-0HGLQFOXGLQJWKH6XSSOHPHQWDU\$SSHQGL[
3HU]ERUQ(HWDOArteriosclerosis, Thrombosis, and Vascular Biology. -RXUQDORIWKH$PHULFDQ+HDUW$VVRFLDWLRQ  
3HU]ERUQ(HWDO,QYLWURand LQYLYRstudies of the novel antithrombotic agent BAY 59-7939 – an oral, direct Factor Xa inhibitor -7KURPE+DHPRVW
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3HU]ERUQ(HWDORivaroxaban: A New Oral Factor Xa Inhibitor $UWHULRVFOHU7KURPE9DVF%LRO
3HU]ERUQ(HWDOThe discovery and development of rivaroxaban, an oral, direct factor Xa inhibitor 1DWXUH5HYLHZV
3LNH*1HWDOSample conditions determine the ability of thrombin generation parameters to identify bleeding phenotype in FXI deficiency %/22'
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3ROODFN&9HWDONew oral anticoagulants in the ED setting: a review. $-(0  
3ROODFN-U&9Coagulation assessment with the new generation of oral anticoagulants (PHUJ0HG-
3RVQHU-Optimizing the dose of dabigatran etexilate %U-&OLQ3KDUPDFRO  




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3RZHOO-5Are New Oral Anticoagulant Dosing Recommendations Optimal for All Patients? -$0$  
5DWKEXQ6HWDOComparison of Methods to Determine Rivaroxaban anti-factor Xa activity 7KURPE5HV
5REHUW$DQG&KD]RXLOOHUHV2Prothrombin Time in Liver Failure: Time, Ratio, Activity, Percentage, or International Normalized Ratio? +HSDWRORJ\

5RKGH*Determination of rivaroxaban – a novel, oral, direct Factor Xa inhibitor – in human plasma by high-performance liquid chromatography-tandem
mass spectrometry -&KURPDWRJU%
5RKOD-HWDOStroke and recurrent left atrial appendage thrombus in a patient with atrial fibrillation under old and new oral anticoagulants: A case report.
7KURPERVLVDQG+DHPRVWDVLV  
5RPXDOGL(HWDOOral rivaroxaban after symptomatic venous thromboembolism: the contined treatment study (EINSTEIN-Extension study). ([SHUW5HY
&DUGLRYDVF7KHU  
5XII&7HWDOComparison of the efficacy and safety of new oral anticoagulants with warfarin in patients with atrial fibrillation: a meta-analysis of
randomised trials. 7KH/DQFHW  
6DOD]DU'(HWDOModelling and simulation of edoxaban exposure and response relationships in patients with atrial fibrillation 7KURPE+DHPRVW

6DPDPD00The mechanism of action of rivaroxaban – an oral, direct Factor Xa inhibitor – compared with other anticoagulants 7KURPE5HV

6DPDPD00HWDOAssessment of laboratory assays to measure rivaroxaban – an oral, direct factor Xa inhibitor 7KURPE+DHPRVW
6DPDPD00HWDODo new oral anticoagulants require laboratory monitoring? The clinician point of view 7KURPE5HV66
6DPDPD00HWDOEvaluation of the Prothrombin Time for Measuring Rivaroxaban Plasma Concentrations Using Calibrators and Controls: Results of a
Multicenter Field Trial &OLQLFDODQG$SSOLHG7KURPERVLV+HPRVWDVLV  
6DPDPD00HWDOLaboratory assessment of rivaroxaban: a review 7KURPERVLV-RXUQDO
6DPDPD00HWDOMeasurement of dabigatran and rivaroxaban in primary prevention of venous thromboembolism in 106 patients, who have undergone
major orthopedic surgery: an observational study. -7KURPE7KURPERO\VLV
6DQVRP/Review of Anticoagulation Therapies in Atrial Fibrillation. $XVWUDOLDQ*RYHUQPHQW'HSWRI+HDOWKDQG$JHLQJ  
6FKHOOLQJV0:0HWODDetermination of dabigatran and rivaroxaban by ultra-performance liquid chromatography-tandem mass spectrometry and
coagulation assays after major orthopaedic surgery 7KURPE5HV
6FKPLW](0+HWDODetermination of dabigatran, rivaroxaban and apixaban by ultra-performance liquid chromatography – tandem mass spectrometry
(UPLC-MS/MS) and coagulation assays for therapy monitoring of novel direct oral anticoagulants -7KURPE+DHPRVW
6FKQHHZHLVV6HWDOComparative Efficacy and Safety of New Oral Anticoagulants in Patients With Atrial Fibrillation. &LUFXODWLRQ  
6FKXOPDQ6Advantages and limitations of the new anticoagulants. -,QWHUQ0HG
6FKXOPDQ6New oral anticoagulant agents – general features and outcomes in subsets of patients. 7KURPE+DHPRVW
6FKXOPDQ6HWDOHow I anticoagulated in 2012, new and old anticoagulant agents, and when and how to switch. %ORRG  
6FKZDUE+DQG7VDNLULV'$New Direct Oral Anticoagulants (DOAC) and Their Use Today 'HQW-
6HPLQDUVLQ7KURPERVLVDQG+DHPRVWDVLV,VVXH9RO  
6LQJHU'(HWDOImpact of Global Geographic Region on Time in Therapeutic Range on Warfarin Anticoagulant Therapy: Data From The ROCKET AF
Clinical Trial. -$+$  
6LQQDHYH35HWDOStroke prevention in elderly patients with atrial fibrillation: challenges for anticoagulation. -RXUQDORI,QWHUQDO0HGLFLQH  




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6P\WKH0$HWDORivaroxaban: Practical Considerations for Ensuring Safety and Efficacy 3KDUPDFRWKHUDS\  
6SURQJ+0+HWDOPleiotropic effects of factor Xa and thrombin: what to expect from novel anticoagulants &DUGLRYDVFXODU5HVHDUFK
7DQLJDZD7HWDOModel-based Dose Selection for Phase III Rivaroxaban Study in Japanese Patients with Non-valvular Atrial Fibrillation 'UXJ0HWDE
3KDUPDFRNLQHW  
7HOORU.%HWDOEvaluation of the appropriateness of dosing, indication and safety of rivaroxaban in a community hospital -RXUQDORI&OLQLFDO3KDUPDF\
DQG7KHUDSHXWLFV
WHQ&DWH+New oral anticoagulants: discussion on monitoring and adherence should start now! 7KURPERVLV-RXUQDO  
7HVWD/HWDOAdjusted indirect comparison of new oral anticoagulants for stroke prevention in atrial fibrillation. 4-0  
7HVWD6HWDOPlasma levels of direct oral anticoagulants in real life patients with atrial fibrillation: Results observed in four anticoagulation clinics 
7KURPE5HV
7KDOLJL1.HWDOA rapid pro-hemostatic approach to overcome direct oral anticoagulants 1DWXUH0HGLFLQH
7KRPRSRXORV&HWDOThe New Anticoagulant Drugs: Are They Really Superior to Warfarin? [Letter to the Editor] 7KH-RXUQDORI&OLQLFDO+\SHUWHQVLRQ
7ULSRGL$Which test to use to measure the anticoagulant effect of rivaroxaban: the prothrombin time test -7KURPE+DHPRVW
7ULSRGL$HWDOThe International Normalized Ratio calibrated for rivaroxaban has the potential to normalize prothrombin time results for rivaroxaban-
treated patients: results of an LQYLWURstudy -7KURPE+DHPRVW
7ULSRGL$HWDOWhich test to use to measure the anticoagulant effect of rivaroxaban: the prothrombin time test -7KURPE+DHPRVW
7UXMLOOR7DQG'REHVK33Clinical Use of Rivaroxaban: Pharmacokinetic and Pharmacodynamic Rationale for Dosing Regimens in Different Indications 
'UXJV
7XUSLH$**Advances in oral anticoagulation treatment: the safety and efficacy of rivaroxaban in the prevention and treatment of thromboembolism. 7KHU
$GY+HUPDWRO  
7XUSLH**HWDOBAY 59-7939: an oral, direct Factor Xa inhibitor for the prevention of venous thromboembolism in patients after total knee replacement.
A phase II dose-ranging study -7KURPE+DHPRVW
YDQGHQ%HVVHODDU$0+3HWDOGuidelines on preparation, certification, and use of certified plasmas for ISI calibration and INR determination -7KURPE
+DHPRVW
YDQ(V1HWDODirect oral anticoagulants compared with vitamin K antagonists for acute venous thromboembolism: evidence from phase 3 trials %ORRG
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9HHQ--HWDONormal prothrombin time in the presence of therapeutic levels of rivaroxaban %ULWLVK-RXUQDORI+HPDWRORJ\
:DVVHUODXI*HWDOMeta-Analysis of 5LYDUR[DEDQ and Bleeding Risk $P-&DUGLRO
:HLW]-,HWDORandomised, parallel-group, multicenter, multinational phase 2 study comparing edoxaban, an oral factor Xa inhibitor, with warfarin for
stroke prevention in patients with atrial fibrillation 7KURPE+DHPRVW
:HLW]-,HWDOTwo doses of rivaroxaban versus aspirin for prevention of recurrent venous thromboembolism 7KURPE+DHPRVW
 LQFOXGLQJ6XSSOHPHQWDU\0DWHULDOV 
:HOOV36HWDOInfluence of statin use on the incidence of recurrent venous thromboembolism and major bleeding in patients receiving rivaroxaban or
standard anticoagulant therapy 7KURPE-
:LWWNRZVN\$.Novel Oral Anticoagulants and Their Role in Clinical Practice. 3KDUPDFRWKHUDS\  
:RQJ3&HWDOInhibitory Effect of Apixaban Compared With Rivaroxaban and Dabigatran on Thrombin Generation Assay +RVSLWDO3UDFWLFH
<DVDND0J-ROCKET AF Trial Increased Expectation of Lower-Dose Rivaroxaban Made for Japan &LUF-




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<RX--HWDOAntithrombotic Therapy for Atrial Fibrillation: Antithrombotic Therapy and Prevention of Thrombosis, 9 ed: American College of Chest
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Physicians Evidence-Based Clinical Practice Guidelines. &+(67  
=KDQJ<HWDOLaboratory monitoring of rivaroxaban and assessment of its bleeding risk %ULWLVK-RXUQDORI%LRPHGLFDO6FLHQFH

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0DKDIIH\.:DQG)R[.$$5LYDUR[DEDQ2QFHGDLO\RUDOGLUHFWIDFWRU;DLQKLELWLRQ&RPSDUHGZLWK9LWDPLQ.DQWDJRQLVPIRUSUHYHQWLRQRIVWURNHDQG
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7HFKQRFORQHLQIRUPDWLRQVKHHWUHJDUGLQJ7(&+129,(:5LYDUR[DEDQFDOLEUDWRUVDQG7(&+12&+520DQWL;D




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                                APPENDIX B




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                              APPENDIX B - CURRICULUM VITAE
 NAME:       Jan Rosing

 ADDRESS: Home:                                     Work:




 DATE AND PLACE OF BIRTH:                           Egmond aan den Hoef, The Netherlands

 UNDERGRADUATE EDUCATION:
 1964-1967 University of Amsterdam, The Netherlands
           Major: Chemistry
           Degree: BsC, September, 1967
 1967-1970    University of Amsterdam, The Netherlands
              Major: Biochemistry; Minor: Microbiology
              Major Advisor: Prof. Dr. E.C. Slater
              Degree: MsC, October 1970

 GRADUATE EDUCATION:
 1970-1974 B.C.P. Jansen Institute, Laboratory of Biochemistry,
           University of Amsterdam, Amsterdam, The Netherlands.
           Degree: Ph.D. Thesis Director: Prof. Dr. E.C. Slater
           Title of Dissertation: Studies on thermodynamics and mechanism of oxidative
           phosphorylation

 PROFESSIONAL POSITIONS:
 1969-1970    Research Assistant in the Laboratory of Biochemistry,
              University of Amsterdam, The Netherlands.
              Studies on: Determination of the ∆Go of ATP hydrolysis.
 1970-1974    Research Assistant, Laboratory of Biochemistry,
              University of Amsterdam, The Netherlands.
              Studies on: Thermodynamics and mechanism of oxidative
              phosphorylation, which resulted in a Ph.D. Thesis, October 1974.
 1974-1975    Post-doctoral Research Fellow at the Department of Chemistry,
              University of California, Los Angeles, with Prof. Dr. P.D. Boyer
              Research project: Kinetics and mechanism of mitochondrial ATP synthesis.
 1976         Post-doctoral Research Fellow at the Laboratory of Biochemistry,
              University of Amsterdam, The Netherlands
              Research project: Studies on binding of aurovertin to the mitochondrial ATPase F1


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 1977-1997    Assistant Professor at the Department of Biochemistry,
              Maastricht University, Maastricht, The Netherlands
              Research Interest: Kinetics and mechanism of reactions involved in blood coagulation.
 1997-2001    Professor of Enzymology of Thrombosis and Haemostasis at the Department of
              Biochemistry, Maastricht University, Maastricht, The Netherlands
              Research Interest: Mechanisms of regulation of thrombin formation in model systems
              and plasma
 1995-2010    Chairman of the Department of Biochemistry, Maastricht University of Limburg,
              Maastricht, The Netherlands
 2001-2011    Professor of Biochemistry, Department of Biochemistry, Maastricht University,
              Maastricht, The Netherlands
              Research Interest: Mechanisms of regulation of thrombin formation in model systems
              and plasma
 2011-present Emeritus Pofessor Maastricht University, Maastricht, The Netherlands
              Research Interest: Mechanisms of regulation of thrombin formation in model systems
              and plasma

 TEACHING EXPERIENCE
 1969-1973   Chemistry and biochemistry laboratory sections for medical students at University of
             Amsterdam
 1973,1976   Lecturing and exam design at the Dental Faculty, University of Amsterdam
 1971-1974   Supervisor of research programs of graduate students at the University of Amsterdam
 1973-1974   Graduate biochemistry course, University of Amsterdam
             Member of the commission for design of new programs for education in biochemistry
             for undergraduate students of the Faculty of Medicine, Dentistry and Chemistry and
             graduate students in biochemistry, University of Amsterdam
 1977-2011   Involved in all aspects of biochemistry education of medical students at the Medical
             Faculty of the University of Limburg, Maastricht, The Netherlands
 1993-1999   Curriculum coordinator year 1, Medical Faculty, Maastricht University, Maastricht,
             The Netherlands
 2000-2001   Member of the committee preparing the curriculum renewal at the Medical Faculty of
             Maastricht University

 MANAGEMENT:
 1977-1978  Member of the University Council Rijksuniversiteit Limburg, Maastricht
            Member of several committees of the University Council
 1979-1980  Member of the committee “Privacy”
 1979-1984  Member of the committee “Safety and environment”
 1983-1984  Member of the committee “Personal Affairs” (committee Philipsen)
 2000-2001  Member of the UHD committee
 2001-2002  Vice-Dean and member of the Board of the Faculty of Medicine, Maastricht
            University
 2003, 2005 Acting Scientific Director of the Cardiovascular Research Institute Maastricht
 1978-2011  Member of the Daily Board of the Department of Biochemistry
 1995-2010  Chairman of the Department of Biochemistry
 1999-2009  Program coordinator of Main Theme I (Thrombosis and Haemostasis) of the
            Cardiovascular Research Institiute Maastricht
 2000-2009  Member of the Daily Board of the Cardiovascular Research Institute Maastricht



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 AWARDS/GRANTS
 1974-1975 NATO Science Fellowship awarded by the Netherlands Organization for the
           Advancement of Pure Research (Z.W.O.)
 1978      Z.W.O. Travel Fellowship for a 3 week visit to the laboratory of Dr. M.P. Esnouf,
           Oxford, England
 1982      Z.W.O. Travel Fellowship for a 4 month visit to the laboratory of Dr. J.H. Griffin, La
           Jolla, Ca. United States
 1981-1984 FUNGO Projectgrant 13-30-39 "Mechanism of prothrombin activation"
 1983-1990       Participant in the NWO Program Grant "The function of the platelet plasma membrane
                 in blood coagulation" (applicant Prof. Dr. R.F.A. Zwaal)
 1989-1992       Dutch Heart Foundation (Nederlandse Hartstichting, NHS) Grant 88.238
                 "Investigations on the molecular mechanisms of the anticoagulant action of activated
                 protein C”
 1990            NUFFIC travel grant to visit the Soviet Union (Tallinn, Tashkent)
 1992-1995       NWO grant in the program "Cooperation Eastern Europe”
 1992-2000       Participant in the NWO Program Grant "Thrombin generation at macroscopic surfaces
                 in flowing plasma" (applicant Prof. Dr. H.C. Hemker)
 1997-1998        Dutch Thrombosis Foundation (Trombose Stichting Nederland, TSN) research grant
                 “The mechanism of acquired APC resistance in women using oral contraceptives”
 2000-2001       Dutch Thrombosis Foundation (Trombose Stichting Nederland, TSN) research grant
                 “The molecular basis of APC resistance during oral contraceptive use and pregnancy”
 2000-2004       Dutch Heart Foundation (Nederlandse Hartstichting, NHS) The molecular basis of
                 venous and arterial thrombosis associated with mutations in blood coagulation factor V

 EDITORSHIPS AND MEMBERSHIPS PROFESSIONAL COMMITTEES AND CONGRESS
 ORGANISATIONS:
 Editor of "Pathophysiology of Haemostasis and Thrombosis" till 2011
 Editorial Board Journal of Thrombosis and Haemostasis till 2012
 Member of the Executive Council of the International Society of Thrombosis and Haemostasis (2001-
 2006)
 Member of the Organising Committee of the Conference on Exogenous Factors affecting Thrombosis
 and Haemostasis (EFTH), Paris 12-13/07/2001
 Vice-president of the Organising Committee of the First North Sea Conference and the SSC-ISTH
 Meeting in Maastricht (12-16/6/2000)
 Member of the Scientific Division “Standardisation of Coagulation Tests” of the International
 Federation of Clinical Chemistry and Laboratory Medicine (IFCC) 1998-2000
 Chairman of the Organising Committee of the 5th Conference on Exogenous Factors Affecting
 Thrombosis and Haemostasis (EFATH), Amsterdam 5-6/7/2013
 Chairman of the Scientific Advisory Board of the Dutch Thrombosis Foundation (2006-2015)




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 PATENTS
 US Serial No 08/520,725
 Anticoagulant factor Va derivatives
 RU Limburg/Immuno AG, Vienna
 US Serial No 08/555,423
 Evaluation of substances for altering and for increasing APC response
 RU Limburg/Immuno AG, Vienna

 PUBLICATIONS
 Dr. J. Rosing is (co)-author of more than 200 publications (Appendix I)

 INVITATIONS
 Dr. J. Rosing has received several invitations to attend congresses, to give lectures and to perform
 research in other laboratories (Appendix II).

 SUPERVISION PhD STUDENTS
 Prof. Dr. J. Rosing supervised the research of 23 PhD students (Appendix III)




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 Appendix I: Publications Prof. Dr. J. Rosing
 1.   Rosing, J., and Slater, E.C. The Value of ∆Go for The Hydrolysis of ATP. Biochim. Biophys. Acta 267:
      275-290, 1972.
 2.   Slater, E.C., Rosing, J. and Mol, A. The Phosphorylation Potential Generated by Respiring Mitochondria.
      Biochim.Biophys.Acta 292: 534-553, 1973.
 3.   Souverijn, J.H.M., Huisman, L.A., Rosing, J. and Kemp Jr., A. A Comparison of ADP and ATP as
      Substrates for The Adenine Nucleotide Translocator in Rat-Liver Mitochondria. Biochim.Biophys.Acta
      305: 185-198, 1973.
 4.   Harris, D.A., Rosing, J., Stadt van de, R.J. and Slater, E.C. Tight binding of adenine nucleotides to beef
      heart mitochondrial ATPase. Biochim.Biophys.Acta 314: 149-153, 1973.
 5.   Leenders, H.J., Kemp, A., Koninkx, J.F.J. and Rosing, J. Changes in cellular ATP, ADP and AMP levels
      following treatments affecting cellular separation and activity of certain nuclear genes in Drosophila
      salivary glands. Exptl.Cell.Res. 86: 25-30, 1974.
 6.   Harris, D.A., Rosing, J., and Slater, E.C. Specific spin-labelling of the energy-coupling system of
      mitochondria. FEBS Letters 47: 236-241, 1974.
 7.   Rosing, J., Harris, D.A., Kemp Jr., A., and Slater, E.C. Subunit interactions in mitochondrial adenosine
      triphosphatase. Biochem.Soc.Trans. London 2, 502-505, 1974.
 8.   Harris, D.A., Rosing, J. and Slater, E.C. Interaction of ox heart mitochondrial adenosine triphosphatase with
      nucleotides. Biochem.Soc.Trans.London.2, 86-87, 1974.
 9.   Rosing, J., Harris, D.A., Kemp Jr., A. and Slater, E.C. Nucleotide binding properties of native and cold-
      treated mitochondrial ATPase. Biochim.Biophys.Acta 376: 13-26, 1975.
 10. Rosing, J., Harris, D.A., Slater, E.C. and Kemp Jr., A. The possible role of tightly bound adenine
     nucleotides in oxidative and photosynthetic phosphorylation. J.Supramol.Struct. 3: 284-296, 1975.
 11. Rosing, J., Smith, D.J., Kayalar, C. and Boyer, P.D. Medium ADP and not ADP already tightly bound to
     thylakoid membranes forms the initial ATP in chloroplast phosphorylation. Biochem.Biophys.Res.Comm.
     72: 1-8, 1976.
 12. Kayalar, C., Rosing, J. and Boyer,P.D. 2.4-dinitrophenol causes a marked increase in the apparent Km of Pi
     and ADP for oxidative phosphorylation. Biochem. Biophys. Res. Comm. 72: 1153-1159, 1976.
 13. Rosing, J., Kayalar, C. and Boyer, P.D. Evidence for energy dependent change in phosphate binding for
     mitochondrial oxidative phosphorylation based on measurements of medium and intermediate phosphate-
     water exchanges. J.Biol.Chem. 252: 2478-2485, 1977.
 14. Kayalar, C., Rosing, J. and Boyer, P.D. An alternating site sequence for oxidative phosphorylation
     suggested by measurement of substrate binding pattern and exchange reaction inhibitions. J.Biol.Chem.
     252: 2486-2491, 1977.
 15. Muller, J.L.M., Rosing, J. and Slater, E.C. The binding of aurovertin to isolated F1 (Mitochondrial
     ATPase). Biochim.Biophys.Acta 462: 422-437, 1977.
 16. Rosing, J., Tans, G., Govers-Riemslag, J.W P., Zwaal, R.F.A. and Hemker, H.C. The Role of
     Phospholipids and Factor Va in the Prothrombinase Complex. J.Biol.Chem., 255(1): 274-283, 1980.
 17. Dieijen-van, G., Tans, G., Rosing, J. and Hemker, H.C. The role of Phospholipid and Factor VIIIa in the
     Activation of Bovine Factor X. J.Biol.Chem., 256: 3433-3442, 1981.
 18. Dieijen-van, G., Tans, G., Rijn-van, J., Zwaal, R.F.A. and Rosing, J. Simple and Rapid Method To
     Determine the Binding of Blood Clotting Factor X to Phospholipid Vesicles. Biochem., 20: 7096-7101,
     1981.
 19. Lindhout, T., Govers-Riemslag, J.W.P., Waart-van-de, P.,Hemker, H.C. and Rosing, J. Factor Va- Factor
     Xa Interaction. Effects of Phospholipid Vesicles of Varying Composition. Biochem., 21: 5494-5502, 1982.


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 Appendix II: Invitations

 1971   Pugnochiuso, Italy. Workshop Energy Transduction in Respiration and Photosynthesis
 1974   Bressanone, Italy. Workshop Membrane Proteins in Transport and Phosphorylation
 1976   Paris, France. Katchalsky Conference on Thermodynamics and Bioenergetics
 1977   Amsterdam, The Netherlands. Workshop on Structure and Function of Energy-Transducing
        Membranes
 1982   La Jolla, United States. Visiting investigator Scripps Clinic and Research Foundation. Research
        on contact activation (4 months)
 1983   La Jolla, United States. Visiting investigator Scripps Clinic and Research Foundation. Research
        on contact activation ( 4 month, continuation research 1982)
 1985   La Jolla, United States. Visiting investigator Scripps Clinic and Research Foundation. Research
        on prekallikrein activation (3 months)
 1988   La Jolla, United States. Visiting investigator Scripps Clinic and Research Foundation. Research
        on factor Va inactivation by activated protein C (3 months).
 1990   Tallinn, Estland. Ninth European Symposium on Animal, Plant and Microbial Toxins
 1993   Tashkent, Uzbekistan, Uzbek Academy of Sciences. Report on progress of cooperative
        research.

 INVITED LECTURES:
 1975 Squaw Valley, United States. ICN-UCLA Winter Symposium on Electron Transport and
       Oxidative Phosphorylation (The possible role of tightly bound adenine nucleotides in oxidative
       and photosynthetic phosphorylation)
 1976 Hamburg, Germany (25-31/7/1976) 10th International Congress of Biochemistry organized by
       the IUB (Nature of energy input in ATP synthesis)
 1976 Venice (Italy) Combined Meeting of British, Italian and Dutch Biochemical Societies
 1979 London, England (15-20/7/1979). VIIth International Congress on Thrombosis and
       Haemostasis organized by the ISTH (The role of phospholipids and factor Va in mechanism of
       prothrombin activation)
 1980 Maastricht, The Netherlands (24-28/11/1980). FEBS Advanced Course No. 70 on
       "Biochemistry of Blood Coagulation (Structure and function of the prothrombinase complex)
 1980 Amsterdam, The Netherlands (1-3/12/1980). Workshop on Biochemical Reactions at Lipid-
       Water Interfaces (The role of phospholipids in prothrombin and factor X activation)
 1981 Paris, France (4-5/11/81). ETRO Meeting on platelet membranes (Mechanisms for the
       development of platelet coagulant activity)
 1982 Milan, Italy (4-5/11/82). Vitamin K brainstorm (The role of accessory components in the
       activation of vitamin K dependent clotting factors)
 1983 Woudschoten, The Netherlands (11-12/4/83). ETRO workshop on activation of fibrinolysis
       kallikrein-kinin-system (Autoactivation of human factor XII)
 1983 Interlaken Switzerland (18-22/4/83). Advanced teaching Course on Thrombosis organized by
       the ETRO (Mechanism of activation of Vitamin K dependent coagulation factors)
 1983 London, England (11-12/7/83). International Symposium Atheroma and Thrombosis (Platelet
       and coagulation factors interaction)
 1984 Istanbul, Turkey (4-7/6/1984). VIII International Congress on Thrombosis. (Mechanisms of
       prothrombin activation by snake venoms)


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 1985   San Diego, USA (13-14/7/1985). ICTH Meeting on Biochemical and Clinical Aspects of
        Platelet Procoagulant Activity (Mechanism of generation
 1985   San Diego, USA (20-21/7/1985). ISTH satellite Symposium on Animal Venoms and
        Haemostasis (Purification and properties of prothrombin activators from the venom of Notechis
        scutatus and Oxyuranus scutellatus)
 1986   Maastricht, The Netherlands (20-26/7/1986). 2nd ETRO Advanced Teaching Course on
        Thrombosis and Haemostasis (The role of phospholipids (platelets) and protein cofactors in
        coagulation)
 1986   Giessen, Germany (29/8/1986) Max Planck Gesellschaft zur Forderung der Wissenschaften
        (Snake venom prothrombin activators as tools in studies on the mechanism of blood
        coagulation).
 1987   Madison, USA (21-25/6/1987) Seventeenth Steenbock Symposium: Current Advances in
        Vitamin K Research (The effect of the surface charge of phospholipid vesicles on their activity
        in prothrombin activation)
 1988   La Jolla, USA (26/10/1988) Scripps Institute (The effect of phospholipids and protein S on
        APC-catalyzed factor Va inactivation)
 1990   Barcelona, Spain (20-22/6/1990) ISTH Subcommittee Meetings (An inventory of snake venom
        prothrombin activators)
 1990   Tashkent, Soviet Union (3/10/1990) Uzbek Academy of Sciences (Snake venom prothrombin
        activators as tools in blood coagulation research)
 1990   Lunteren, The Netherlands (2/11/1990) Dutch Haematological Society (Introduction to the use
        of chromogenic substrates)
 1991   Amsterdam, The Netherlands (30/6-6/7/1991) XIIIth International Congress of the International
        Society on Thrombosis and Haemostasis (Meizothrombin, formation and function)
 1992   Maastricht, The Netherlands (22/10/1992) Symposium of the Dutch Biochemical Society
        (Structural and functional properties of the prothrombin-activating enzyme complex)
 1992   Maastricht, The Netherlands (27/11/1992) 6th National Calcium (Calcium-dependent
        interactions in blood coagulation)
 1994   Vienna, Austria (07/04/94) Immuno AG, Wien (Molecular mechanisms of prothrombin
        activation)
 1994   Leuven, Belgium (15/09/94) Sixth International Symposium on Phospholipid Antibodies
        (Interaction of clotting factors with phospholipids)
 1995   Vienna, Austria (24/02/95) ETRO Working Party on Familial Thrombosis (The thrombin
        potential in APC resistance)
 1996   Barcelona, Spain (08/07/96) 24th FEBS Congress (Teaching biochemistry at a medical faculty
        with a problem-based learning system)
 1996   Sardegna, Italy (29/09/96) Immuno Convention ‘96 (Regulation of prothrombin activation)
 1997   Maastricht, The Netherlands (15/01/96) European Symposium on Hereditary and Acquired
        Thrombophilia (Pathophysiology and molecular biology of APC resistance)
 1997   Antwerpen, Belgium (21-03-97)
 1997   Florence, Italy (10-07-97) XVIth International Congress of the International Society on
        Thrombosis and Haemostasis (Plenary lecture: Factor V, an old star sines again)




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 1997 Amsterdam, The Netherlands (20/06/97), 25-jarig lustrum THON/NVTH (Stollingssysteem
      1972-1997)
 1997 Copenhagen, Danmark (04/09/97), Meeting Danish Society for Thrombosis and Haemostasis on
      Oral contraceptives and thrombosis (Activated protein C resistence induced by oral
      contraceptives)
 1997 Lunteren, The Netherlands (02/10/97), Nederlandse Vereniging voor Haematologie. (Pil en
      Trombose. Nieuwe inzichten in biochemische aspecten.)
 1997 London, England (20/10/97), Royal College of Physicians, Hormone replacement therapy, the
      pill and thrombosis (Activated protein C resistance and thrombosis (Risk of second and third
      generation pills)
 1997 Montreal, Canada (7-9/11/97) Consensus Conference on Oral Contraceptives and Smoking
      (Possible Mechanism for Thrombotic Effects of OCs)
 1997 Geneve, Switzerland (20/06/97), WHO Scientific Group “Cardiovascular disease and steroid
      hormone contraception
 1998 Ljubljana, Slovenia (22-26/6/1998) 14th International congress on Fibrinolysis and
      Thrombolysis (
 1999 Washington, United States (Differences between levonorgestrel- and desogestrel-containing
      oral contraceptives on plasma thrombin generation in the presence of activated protein C
 2000 Zaltbommel, The Netherlands (24-25/5/2000) First Roche Haemostasis Round Table
      (Automation of thrombin generation tests)
 2000 Maastricht, The Netherlands (12-14/06/2000) First North Sea Conference (Isoforms of factor V)
 2000 s’Gravenhage, The Netherlands (16/06/2000) Third Wim Schellekens Symposium (Clotting and
      clotting factors)
 2000 Parijs, France (18-22/09/2000) Internaional Society of Toxinology (Effects of snake venom
      proteins on blood coagulation)
 2000 London, UK (13/10/2000-16/10/2000) International Menopause Society Expert Workshop (Sex
      steroids and blood coagulation)
 2001 Antwerp, Belgium (22/03/2001) Diagnostics in Thrombosis: State of the Art (
 2001 Montpellier, France (9/05/2001-12/05/2001) XIVth International Symposium on Technological
      Innovations in Laboratory Hematology organised by the International Society for Laboratory
      Hematology (The clinical value of thrombin generation assays)
 2001 Köln, Germany (23/05/2001-26/05/2001) 14th Congress of the International Union of
      Angiology (Oral contraceptives and hormone replacement therapy: effects on coagulation and
      fibrinolysis)
 2001 Paris, France (12/07/2001-13/7/2001) International Conference on Exogenous Factors Affecting
      Thrombosis and Haemostasis (Factor V Activation and Inactivation by Venom Proteases)Paris,
      France
 2003 Amsterdam, The Netherlands (26/03/2003-29/03/2003) Royal Dutch Academy of Arts and
      Sciences (KNAW) Colloquium "Thrombin generation in vitro and in vivo” (Hormonal
      influence on coagulability)
 2003 Birmingham, UK (12/07/2003-18/07/2003) XIX Congress of the International Society on
      Thrombosis and Haemostasis (APC resistance, new perspectives)
 2004 Geldrop, The Netherlands (19/04/2004) Course general practitioners and specialists (The
      biological basis of pill thrombosis)
 2005 Budapest, Hungary (04/02/2005-06/02/2005) International Symposium on Women's Health
      Issues in Thrombosis and Hemostasis (Mechanisms of OC related thrombosis)




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 2005 San Francisco, US (11/05/2005-14/05/2005) XVIIIth International Symposium on
      Technological Innovations in Laboratory Hematology (Thrombin Generation Assays –
      Research or Routine?)
 2005 Padova, Italy (06/10/2005-08/10/2005) 1st Italian Congress of Thrombosis and Haemostasis in
      women and children (The coagulation system during hormonal treatment)
 2007 Vienna, Austria (02/02/2007-04/02/2007) 2nd International Symposium on Women's Health
      Issues in Thrombosis and Haemostasis (Mechanism of Hormonal Therapy Related
      Thrombosis").
 2007 Bath, UK (26/09/2007-28/09/2007) Annual Meeting British Society for Haemostasis and
      Thrombosis (An update on the biochemistry of the protein C and S system)
 2008 Chapel Hill, North Carolina, US (3/04/2008-5/04/2008) 4th Symposium on Hemostasis with
      Special Focus on Factor VIIa and Tissue Factor (Protein S is a cofactor for tissue factor
      pathway inhibitor)
 2008 Padova, Italy (22/05/2008-25/05/2008) 2nd Italian Congress on Thrombosis and Hemostasis in
      Women and Children (New contraceptives and coagulation).
 2009 Vienna, Austria (04/02/2009-07/02/2009) 53th Jahrestagung der Gesellschaft für Thrombose
      und Hamostaseforschung e.v.. Plenary Lecture (Players of the Inhibitory System)
 2009 Boston, Massachusetts, US (17/07/2009-19/07/2009) 4th International Conference on
      Exogenous Factors Affecting Thrombosis and Haemostasis (Snake venom prothrombin
      activators)
 2011 Padova, Italy (25/05/2011-28/05/2011) 3rd Italian Congress on Thrombosis and Hemostasis in
      Women and Children (Hypercoagulable state and pregnancy complications)
 2012 Koudekerke, The Netherlands (25/04/2012) Nederlandse Vereniging voor Trombose en
      Hemostase. Van Creveld Lecture (35 years of clotting from a biochemist's perspective).
 2012 Leiden, The Netherlands (7/11/2012-9/11/2012) 8th ECAT Participants Meeting. Haverkate
      Lecture (Global haemostasis assays: what will be the future?)
 2015 Prague, Czech Republic (21/10/2015-24/10/2015) 11th Congress of the European Society of
      Gynecology (Hormonal contraceptives and venous thrombosis. What’s new.)
 2016 Maastricht, The Netherlands (16/06/2016-17/06/2016) Third Maastricht Thrombin Summer
      School (Anticoagulant factors and thrombin generation).
 2016 Prague, Czech Republic (28/09/2016-01/10/2016) 15th World Congress of Menopause (Can the
      menopause cause thrombosis?).




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 Appendix III: PhD students
 1994-2000      L. Hoekema. Properties of factor V in the pro- and anticoagulant pathways of blood
                coagulation
 1997-2001      A.M. Craciun. Potential effects of vitamin K supplementation on bone metabolism
 1996-2001      J. Curvers. The protein C pathway, oral contraceptives and venous thrombosis
 1998-2002      L.J. Schurgers. Studies on the role of vitamin K1 and K2 in bone metabolism and
                cardiovascular disease
 1998-2002      A.J.L.M. Braam. Effects of high Vitamin K intake on bone and vascular health
 1999-2004      J.F. Keuren. Platelet procoagulant activity and thrombus formation
 1999-2005      R.R. Koenen. The regulation of blood coagulation by protein S in the absence of
                activated protein C: from test tube to plasma
 1999-2005      H. Kenis. Cell membrane biology during apoptosis. The role of annexin A5.
 2001-2006      M.J.E. Kuijpers. Platelet receptors and procoagulant activity in thrombus formation.
 2001-2006      J.M. Brugge. The molecular basis of APC resistance: role of coagulation factor
                abnormalities
 1999-2006      K.M. Sere. Regulation of thrombin generation by protein S. Novel aspects of a
                cofactor protein.
 2001-2007      I.C. Munnix. Platelet signalling to procoagulant activity and heterogeneity in
                thrombus formation. An in vivo and ex vivo approach.
 2003-2007      S. Cauwenberghs. Platelet responsiveness and function during storage. Implications
                for platelet transfusion therapy
 2001-2007      H.O. van Genderen. Dynamics of the phosphatidylserine-expressing cell surface
                during endocytosis of annexin A5
 2003-2008      P.E.J. van der Meijden. Interaction mechanisms of platelets and coagulation. Focus
                on P2Y12 receptor and factor XII. (03-12-2008)
 2004-2008      K. Segers. Structure and function of human coagulation factor V. A multidisciplinary
                approach combining bioinformatics and molecular biology.
                (08-12-2008)
 2003-2009      J.M.E.M. Cosemans. Dynamic regualtion of thrombus stability. Focus on platelet
                receptors and downstream signalling (29-01-2009)
 2004-2009      L.F. Maurissen. Characterization of anticoagulant functions of protein S
                (18-02-2009)
 2004-2009      J.L.N. Wolfs. Generation of procoagulant activity in blood cells. Studies on the
                proces of lipid scrambling. (10-09-2009)
 2005-2009      S. N. Tchaikovski. Hormone-induced changes in the coagulation system (16-12-
                2009)
 2005-2011      E.C.M Cranenburg Circulating Matrix Gla-protein: A biomarker for vascular disease
                (17-03-2011)
 2005-2011      C. Duckers. Modulators of bleeding tendency in severe factor V deficiency. (24-03-
                2011)
 2009-2015      S. Peraramelli. The role of the different Kunitz domains of TFPI in the down-
                regulation of the extrinsic coagulation pathway. (24-09-2015)




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                                APPENDIX C




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                                       Prior Testimony




   In Re: Yasmin and YAZ (Drospirenone) Marketing, Sales Practices and Products
   Liability Litigation (MDL 2100), S.D.IL., Sept. 27, 2011 deposition testimony.


   In Re: Yasmin and YAZ (Drospirenone) Marketing, Sales Practices and Products
   Liability Litigation (MDL 2100), S.D.IL., Dec. 9, 2011, trial preservation testimony.




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                                          Fee Schedule




   My fee for professional services in this matter is $425 (U.S.) per hour.




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